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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEBRASKA
                                                                         )
In re:                                                                   ) Chapter 11
                                                                         )
SPECIALTY RETAIL SHOPS HOLDING CORP., et                                 ) Case No. 19-80064-TLS
al., 1                                                                   )
                                                                         )
                           Debtors.                                      ) (Joint Administration Requested)
                                                                         )

                   DEBTORS’ MOTION FOR ENTRY OF INTERIM
              AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO
               OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING
            THE DEBTORS TO USE CASH COLLATERAL, (III) GRANTING
             LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
           EXPENSE STATUS, (IV) GRANTING ADEQUATE PROTECTION TO
        THE PREPETITION LENDERS, (V) MODIFYING THE AUTOMATIC STAY,
    (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

         Specialty Retail Shops Holding Corp. and its debtor affiliates, as debtors and debtors in

possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) respectfully state

as follows in support of this motion (this “Motion”):

                                                Relief Requested 2

         1.       The Debtors seek entry of an interim order and final order (the “Interim Order” and

the “Final Order,” and collectively, the “DIP Orders”):

                           a.       authorizing the Debtors to obtain senior secured postpetition
                                    financing on a superpriority basis consisting of (i), a senior secured
                                    superpriority revolving credit facility up to the aggregate principal
                                    amount of up to $400,000,000 (the “DIP Revolving A Loan” or

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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
     Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
     R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
     Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
     LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
     (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
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     Capitalized terms used but not defined in this section have the meanings ascribed to such terms further below in
     this Motion or in the Interim Order, as applicable.



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                                    “DIP Revolving Loans A Limit,” as applicable), (ii), a senior
                                    secured first-in-last-out revolving credit facility of up to
                                    $30,000,000 (the “DIP Revolving A-1 Loan” or “DIP Revolving
                                    Loans A-1 Limit,” as applicable, and the DIP Revolving A-1 Loan
                                    together with the DIP Revolving A Loan, the “DIP ABL Loans”),
                                    and (iii) a senior secured term loan of up to $49,055,312.50 (the
                                    “DIP Term Loan B” or the “DIP Term Loan B Limit,” as applicable)
                                    (collectively, the DIP ABL Loans and DIP Term Loan B, the “DIP
                                    Facility”), substantially in the form of Exhibit A. 3

                          b.        authorizing the Debtors to execute and deliver the Ratification
                                    Agreement and any other agreements, instruments, pledge
                                    agreements, guarantees, control agreements and other Financing
                                    Agreements (as defined in the Loan Agreement) and documents
                                    related thereto (including any security agreements, intellectual
                                    property security agreements, control agreements, or notes) (as
                                    amended, restated, supplemented, waived, and/or modified from
                                    time to time, and collectively, with the Ratification Agreement, the
                                    “Financing Agreements”) and to perform such other acts as may be
                                    necessary or desirable in connection with the Financing
                                    Agreements;

                          c.        granting the DIP Facility and all obligations owing thereunder and
                                    under, or secured by, the Financing Agreements to the Agent, and
                                    Lenders (collectively, and including all “Post-Petition Obligations”
                                    as described in the Ratification Agreement, the “Post-Petition
                                    Obligations”) allowed superpriority administrative expense claim
                                    status in each of the Cases and any Successor Cases;

                          d.        granting to the Agent, for the benefit of itself and the Lenders (as
                                    defined in the Loan Agreement), and the other Secured Parties
                                    under the applicable Financing Agreements, automatically perfected
                                    security interests in and liens on all of the Collateral (as defined
                                    herein), including all property constituting “cash collateral” as
                                    defined in section 363(a) of the Bankruptcy Code (“Cash
                                    Collateral”), which liens shall be subject to the priorities set forth in
                                    the Interim Order;

                          e.        authorizing and directing the Debtors to pay the principal, interest,
                                    fees, expenses and other amounts payable under the Financing
                                    Agreements as such become earned, due and payable, including,
                                    letter of credit fees (including issuance and other related charges),

3   Upon entry of the Interim Order, all Pre-Petition ABL Obligations (as defined in the Interim Order) and all accrued
    and unpaid interest thereon and fees and expenses shall begin to be rolled into the DIP Facility and upon entry of
    the Final Order, will be fully “rolled up” along with the Pre-Petition Term Loan B Obligations into the DIP
    Facility and constitute Post-Petition Obligations thereunder.

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                               continuing commitment fees, closing fees, audit fees, appraisal fees,
                               valuation fees, liquidator fees, structuring fees, administrative
                               agent’s fees, the reasonable fees and disbursements of the Agents’
                               attorneys, advisors, accountants and other consultants, all to the
                               extent provided in, and in accordance with, the Financing
                               Agreements;

                      f.       authorizing the Debtors to use the Pre-Petition Collateral (as defined
                               herein), including the Cash Collateral of the Prepetition Secured
                               Parties under the Pre-Petition Loan Agreement, and providing
                               adequate protection to the Prepetition Secured Parties for any
                               diminution in value resulting from the imposition of the automatic
                               stay, the Debtors’ use, sale, or lease of the Pre-Petition Collateral,
                               including Cash Collateral, the priming of their respective interests
                               in the Pre-Petition Collateral, including by the Carve Out,
                               (“Diminution in Value”) of their respective interests in the Pre-
                               Petition Collateral, including the Cash Collateral in accordance with
                               the Interim Order;

                      g.       vacating and modifying the automatic stay imposed by section 362
                               of the Bankruptcy Code to the extent necessary to implement and
                               effectuate the terms and provisions of the Financing Agreements
                               and the Interim Order;

                      h.       scheduling a final hearing (the “Final Hearing”) within 30 days of
                               the Petition Date to consider the relief requested in this Motion and
                               approving the form of notice with respect to the Final Hearing; and

                      i.       granting related relief.

       2.      In support of this Motion, the Debtors respectfully submit: (a) the Declaration of

Russell L. Steinhorst, Chief Executive Officer of Specialty Retail Shops Holding Corp., in Support

of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), (b) the Declaration

of Stephen Spencer in Support of the Debtors’ Motion for Entry of Interim and Final Orders

(I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use

Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense Status,

(IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay,

(VI) Scheduling a Final Hearing, and (VII) Granting Related Relief (the “Spencer Declaration”),

filed contemporaneously herewith.

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                                      Jurisdiction and Venue

       3.        The United States Bankruptcy Court for the District of Nebraska (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and Nebraska General Rule 1.5

of the United States District Court for the District of Nebraska. The Debtors confirm their consent,

pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

the entry of a final order by the Court in connection with this motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       4.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.        The bases for the relief requested herein are sections 105, 361, 362, 363, 364, 503,

and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101—1532 (the “Bankruptcy Code”),

Bankruptcy Rules 2002 and 4001, and 9014, and Rule 9013-1 of the Nebraska Rules of Bankruptcy

Procedure (the “Local Rules”).

                                            Background

       6.        The Debtors are engaged in the sale of general merchandise including clothing,

accessories, electronics, and home furnishings, as well as company operated pharmacy and optical

services departments. The Debtors are headquartered in Green Bay, Wisconsin, and operate

approximately 367 stores in 25 states throughout the United States, as well as e-commerce

operations. The Debtors and their non-Debtor subsidiaries generated approximately $2.6 billion

in revenue in fiscal year 2017 and currently employ approximately 14,000 people throughout the

United States.

       7.        On the date hereof (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their business

and manage their properties as debtors and debtors in possession pursuant to sections 1107(a) and

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1108 of the Bankruptcy Code. Concurrently with the filing of this motion, the Debtors have

requested procedural consolidation and joint administration of these chapter 11 cases pursuant to

Bankruptcy Rule 1015(b) No party has requested the appointment of a trustee or examiner in these

chapter 11 cases, and no committees have been appointed or designated.

       8.      A description of the Debtors’ businesses is more fully set forth in the Declaration

of Russell L. Steinhorst, Chief Executive Officer of Specialty Retail Shops Holding Corp., in

Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed

contemporaneously herewith.

                                    Basis for Emergency Relief

       9.      As set forth in the Spencer Declaration and the First Day Declaration, this Motion

is brought on an emergency basis in light of the immediate and irreparable harm that would be

suffered by the Debtors’ bankruptcy estates if the Debtors were denied the financing needed to

sustain on-going business operations during the critical first weeks of these cases. Several

extraordinary circumstances justify the relief requested here:

               a.      The Debtors’ Estates will Suffer Immediate and Irreparable Harm if
                       the Requested Relief Is not Granted:

                              (1)      As set forth herein and in the Spencer Declaration, the
                                       Debtors are entering chapter 11 with limited cash on hand,
                                       and the Debtors require immediate access to the liquidity
                                       provided by the DIP Facility to operate their businesses
                                       postpetition.

                              (2)      As set forth herein and in the Spencer Declaration, the DIP
                                       Facility represent the most favorable and executable
                                       transaction available to the Debtors. Because the Debtors
                                       have no other viable source of available third-party
                                       debtor-in-possession financing, absent the funds provided by
                                       the DIP Facility, on the terms negotiated, the Debtors would
                                       run out of cash and would have no alternative but to convert
                                       these cases to cases under chapter 7. Under such a forced
                                       liquidation, stakeholders would receive lesser recoveries
                                       than they would in a chapter 11 reorganization, and all

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                                      parties in interest, including thousands of employees, would
                                      suffer in the process.

                             (3)      The requested relief is necessary to avoid the immediate and
                                      irreparable harm that would otherwise result if the Debtors
                                      are denied the liquidity that would be provided through their
                                      proposed interim borrowings, on the terms and conditions
                                      set forth in the Financing Agreements and the Interim Order
                                      and Final Order.

                    b.       The Proposed DIP Facility Is the Best and Only Available
                             Option For the Debtors

                             (1)      The Debtors, with assistance from experienced financial and
                                      legal advisors, sought to solicit offers from third parties to
                                      provide postpetition financing on more favorable terms than
                                      the Lenders.

                             (2)      Negotiations with potential and interested financing parties,
                                      including the Lenders, were conducted in good faith and at
                                      arms’ length. Notwithstanding the marketing efforts of the
                                      Debtors’ advisors, the DIP Facility remain the best and only
                                      workable option.

                             (3)      The DIP Facility provides the Debtors with reasonable
                                      restructuring milestones and covenants, and represents the
                                      only source of financing available to the Debtors that
                                      provides a reasonable prospect of a successful balance sheet
                                      restructuring, thereby maximizing value for all stakeholders.

                    c.       The Proposed DIP Facility Will Send a Positive Signal to the
                             Market:

                             (1)      As described in the First Day Declaration, the Debtors
                                      operate in a highly competitive market, which has faced
                                      increasing headwinds in recent years.

                             (2)      The Debtors expect that their vendors, landlords, and other
                                      stakeholders will be focused on whether the chapter 11 cases
                                      are appropriately capitalized, such that the Debtors can
                                      continue operating as a going concern. If there is any
                                      significant doubt about the Debtors’ viability, vendors may
                                      not be willing to accept new purchase orders on anything
                                      other than cash-in-advance terms, especially purchase orders
                                      with long-lead times. By contrast, access to the DIP Facility
                                      will allow the Debtors to purchase fresh inventory, to
                                      maintain normalized trade credit terms with their vendors,
                                      and to negotiate credibly with their landlords.
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                             (3)      The Debtors’ industry is highly seasonal, and the proposed
                                      DIP Facility will provide the Debtors with the liquidity
                                      necessary to fund their operations. Any delay in the delivery
                                      of inventory would irreparably harm the Debtors’ estates.

                    d.       The Debtors’ Proposed Conversion of Certain of Their
                             Obligations Under the Pre-Petition Loan Agreement into Post-
                             Petition Obligations Will Benefit Stakeholders:

                             (1)      The conversion of the applicable obligations under the Pre-
                                      Petition Loan Agreement into Post-Petition Obligations will
                                      benefit the Debtors and their estates and was a necessary
                                      condition to the extension of the Post-Petition Obligations.

                                      (a)    The conversion of the applicable obligations under
                                             the Pre-Petition Loan Agreement into Post-Petition
                                             Obligations is expected to create availability under
                                             the DIP Facility over the pendency of the case,
                                             allowing the Debtors to purchase critical inventory at
                                             an interest rate under the DIP Facility that represents
                                             the best available market rate for the Debtors. The
                                             conversion of the applicable obligations under the
                                             Pre-Petition Loan Agreement into Post-Petition
                                             Obligations also allows the Debtors to borrow at
                                             increased advance rates against their inventory.

                                      (b)    As set forth more fully herein and in the Spencer
                                             Declaration, the Debtors believe that the applicable
                                             obligations outstanding under the Pre-Petition Loan
                                             Agreement are fully secured by perfected, first
                                             priority liens with respect to, among other things,
                                             inventory and receivables, with a value in excess of
                                             outstanding borrowings. The conversion merely
                                             accelerates the satisfaction of the Pre-Petition Loan
                                             Agreement obligations and converts such obligations
                                             into Post-Petition Obligations without affecting
                                             recovery to other creditors.

                                      (c)    The Debtors seek to use Cash Collateral.
                                             Nevertheless, as set forth herein, in the Spencer
                                             Declaration and in the First Day Declaration, the
                                             Cash Collateral alone is not sufficient to meet the
                                             Debtors’ liquidity needs during these chapter 11
                                             cases, and the use of Cash Collateral requires the
                                             consent or adequate protection of the Prepetition
                                             Lenders. Similarly, access to the proposed DIP
                                             Facility (i) would be insufficient to fund these

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                                               chapter 11 cases alone and (ii) is conditioned upon
                                               availability of commitments under the DIP Facility.

                                        (d)    The Debtors intend to convert certain of the
                                               obligations under the Pre-Petition Loan Agreement
                                               into Post-Petition Obligations following entry of the
                                               Interim Order, and to draw on the DIP Facility to
                                               fund their working capital needs during the pendency
                                               of these chapter 11 cases, in each case on a daily
                                               basis. Without the additional liquidity provided by
                                               the DIP Facility the Debtors would be forced to
                                               liquidate, to the detriment of all parties in interest.

                      e.       The Proposed Lenders Have Proceeded in “Good Faith”:

                               (1)      As further detailed herein and in the Spencer Declaration,
                                        the Debtors’ negotiations with their Lenders were vigorous,
                                        hard fought, and conducted at arms’ length with the
                                        assistance of the Debtors’ advisors.

                               (2)      Each alternative proposal was duly reviewed and analyzed
                                        by the Debtors and their experienced professionals.
                                        Ultimately, the Debtors selected the postpetition financing
                                        that was fully-committed with favorable terms, including
                                        substantial operational flexibility and appropriate case
                                        milestones. After exploring alternative proposals, no third
                                        party provided a proposal that could serve as a viable
                                        alternative for the Debtors. Therefore, the DIP Facility
                                        represent the best and only option available to provide the
                                        Debtors with access to liquidity to bridge the Debtors from
                                        the Petition Date through emergence from chapter 11.

       10.     The DIP Facility provides the Debtors with the funding needed to operate and

maintain their business, to pay necessary expenses during the pendency of their chapter 11 cases,

and to pursue what is currently the best and only path to the continuation of their business as a

going concern. Indeed, the proposed DIP Facility works in tandem with the Debtors’ proposed

chapter 11 plan (the “Plan”), and the related bidding procedures filed contemporaneously herewith,

as all are designed to facilitate a process that will maximize value, the likelihood of a going-

concern transaction for the benefit of stakeholders enterprise-wide, including thousands of jobs,

and the confirmation of the Plan. Indeed, if the Debtors are able to secure an acceptable Plan

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sponsor, certain of the Debtors’ first-out secured lenders, led by the Agent, have indicated that

they would be willing to provide an exit facility that will satisfy all remaining Post-Petition ABL

Obligations and Post-Petition Term Loan B Obligations.

       11.     Moreover, the Debtors are unable to obtain such financing as unsecured credit

pursuant to sections 364(a) or (b) of the Bankruptcy Code, allowable as an administrative expense

under section 503(b)(1) of the Bankruptcy Code, or as secured credit pursuant to section 364(c) of

the Bankruptcy Code on more favorable terms from other sources. Absent the DIP Facility, on the

terms negotiated, the Debtors would run out of cash and be forced to liquidate their business, with

all stakeholders receiving lesser recoveries than they would in a reorganization. Failure to obtain

the financing provided by the DIP Facility would also result in future harm to the Debtors’ vendors

(through loss of future orders), landlords (through loss of a stable tenant), and thousands of

employees (through loss of their employer).

       12.     The use of Cash Collateral alone would be insufficient to meet the Debtors’

postpetition liquidity needs. The Debtors therefore respectfully request approval of the DIP

Facility, which is consented to by each of the Lenders (pursuant to the Loan Agreement), and the

terms and conditions described herein and set forth in the Financing Agreements.




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                       Concise Statements Pursuant to Bankruptcy Rule 4001(b) 4

I.         Concise Statement Regarding the DIP Facility

           13.      The chart below contains a summary of the material terms of the proposed DIP

Facility, together with references to the applicable sections of the relevant source documents, as

required by Bankruptcy Rules 4001(b)(1)(B) and 4001(c)(1)(B).

          Bankruptcy Code                                              DIP Facility
    Borrower(s)                       ShopKo Properties, LLC
    Bankruptcy Rule 4001(c)(1)(B)     Penn-Daniels, LLC
                                      ShopKo Stores Operating Co., LLC
                                      ShopKo Holding Company, LLC
                                      ShopKo Optical Manufacturing, LLC
                                      Specialty Retail Shops Holding Corp.
                                      ShopKo Institutional Care Services Co., LLC
                                      Retained R/E SPE, LLC
                                      Pamida Stores Operating Co., LLC
                                      See Ratification Agreement Preamble
    Guarantor(s)                      ShopKo Finance, LLC
    Bankruptcy Rule 4001(c)(1)(B)     SVS Trucking, LLC
                                      Shopko Gift Card Co., LLC
                                      Pamida Transportation, LLC
                                      Place’s Associates’ Expansion, LLC
                                      See Ratification Agreement Preamble
    Lenders                           Wells Fargo Bank, National Association, successor by merger to Wachovia
    Bankruptcy Rule 4001(c)(1)(B)     Bank, National Association, a national banking association as Agent and Term
                                      Loan B Agent, Shopko Note Holding, LLC, successor to Spirit Realty L.P., as
                                      Term Loan B-1 Agent, and each lender from time to time party to the Loan
                                      Agreement.
                                      See Ratification Agreement Preamble.
    Reporting Information             Delivery of all reports and notices and other documents set forth under the
    Bankruptcy Rule 4001(c)(l)(B)     sections entitled “Collateral Reporting”, “Inventory Covenants”, “Equipment
                                      and Real Property Covenants”, “Prescription File Covenants”, and “Access to
                                      Premises”, in each case, when and as required under of the Loan Agreement.

                                      See Loan Agreement §§ 7.1, 7.3, 7.4, 7.5, 7.9
    Entities with Interests in        Agent and Lenders under the Pre-Petition Loan Documents
    Cash Collateral
                                      See Interim Order Preamble.
    Bankruptcy Rule
    4001(b)(l)(B)(i)

4
       The summaries contained in this Motion are qualified in their entirety by the provisions of the documents
       referenced, including the Loan Agreement and the Interim Order. To the extent anything in this Motion is
       inconsistent with such documents, the terms of the applicable documents shall control. Capitalized terms used in
       this summary chart but not otherwise defined have the meanings ascribed to them in the Financing Agreements
       or the Interim Order, as applicable.


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       Bankruptcy Code                                          DIP Facility
 Term                         Renewal Date-the earliest of: (a) the date that is three hundred and sixty-five
 Bankruptcy Rule              (365) days after the commencement of the Chapter 11 Case, (b) thirty (30) days
 4001(b)(l)(B)(iii),          after the entry of the Interim Financing Order if the Permanent Financing Order
 4001(c)(1)(B)                has not been entered prior to the expiration of such thirty (30) day period, (c)
                              the substantial consummation (as defined in Section 1101 of the Bankruptcy
                              Code and which for purposes hereof shall be no later than the “effective date”)
                              of the Plan of Reorganization, or (d) the date of confirmation of a plan of
                              liquidation for Borrowers or Guarantors in the Chapter 11 Cases.

                              See Loan Agreement § 14.1.
 Adequate Protection          Replacement Liens. As adequate protection for the diminution in value of their
 Bankruptcy Rules             interests in the Collateral (including Cash Collateral) on account of the
 4001(b)(l)(B)(iv),           Borrowers’ use of such Collateral (including Cash Collateral), the imposition of
 4001(c)(1)(B)(ii)            the automatic stay and the subordination to the Carve-Out on a dollar-for dollar
                              basis (collectively, the “Diminution in Value”), the Agent, for the benefit of
                              itself and the Lenders, is hereby granted pursuant to §§ 361 and 363 of the
                              Bankruptcy Code, and solely to the extent of the Diminution in Value, valid,
                              binding, enforceable and perfected replacement liens upon and security interests
                              in all Collateral (the “Pre-Petition Replacement Lien”). The Pre-Petition
                              Replacement Lien shall be junior and subordinate only to (A) the Carve-Out,
                              (B) the Permitted Liens, and (C) Agent’s and Lenders’ liens on the Collateral to
                              secure the Post-Petition Obligations, and shall otherwise be senior to all other
                              security interests in, liens on, or claims against any of the Collateral.
                              Section 507(b) Priority Claims. As adequate protection for the Diminution in
                              Value, the Agent, for the benefit of itself and Lenders, is hereby granted as and
                              to the extent provided by section 507(b) of the Bankruptcy Code, and solely to
                              the extent of the Diminution in Value, an allowed superpriority administrative
                              expense claim in each of the Cases and any successor bankruptcy cases (the
                              “Pre-Petition Adequate Protection Superpriority Claim”). The Pre-Petition
                              Adequate Protection Superpriority Claim shall be junior only to (A) the Carve-
                              Out, and (B) the Post-Petition Superpriority Claim, and shall otherwise have
                              priority over all administrative expense claims and unsecured claims against
                              Debtors and their Estates now existing or hereafter arising, of any kind or nature
                              whatsoever.
                              Adequate Protection Payments and Protections. As further adequate protection
                              (the “Adequate Protection Payments”) for the Diminution in Value, the Debtors
                              are authorized and directed to provide adequate protection to the Agent and
                              Lenders in the form of payment in cash (i) upon entry of the Interim Order of
                              the reasonable fees, expenses, and disbursements (including, without limitation,
                              the reasonable and documented fees, expenses, and disbursements of counsel
                              and third-party consultants and other vendors, including, without limitation,
                              financial advisors and auditors) incurred by the Agent arising prior to the
                              Petition Date, and (ii) the reasonable fees, expenses, and disbursements
                              (including, without limitation, the fees, expenses, and disbursements of counsel
                              and third-party consultants and other vendors, including, without limitation,
                              financial advisors and auditors) incurred by the Agent arising subsequent to the
                              Petition Date.


                              See Interim Order ¶ 2.6(b), (c), and (d).
 Waiver/Modification of the   Modification of Automatic Stay. The automatic stay provisions of section 362
 Automatic Stay               of the Bankruptcy Code and any other restriction imposed by an order of the


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       Bankruptcy Code                                           DIP Facility
 Bankruptcy Rule             Court or applicable law are hereby modified without further notice, application
 4001(c)(1)(B)(iv)           or order of the Court to the extent necessary to permit Agent and each Lender to
                             perform any act authorized or permitted under or by virtue of this Interim Order
                             or the Financing Agreements, as applicable, including, without limitation, (a) to
                             implement the post-petition financing arrangements authorized by this Interim
                             Order and pursuant to the terms of the Financing Agreements, (b) to take any
                             act to create, validate, evidence, attach or perfect any lien, security interest, right
                             or claim in the Collateral, (c) to assess, charge, collect, advance, deduct and
                             receive payments with respect to the Pre-Petition Obligations or the Post-
                             Petition Obligations, as applicable, including, without limitation, all interests,
                             fees, costs and expenses permitted under the Financing Agreements (subject to
                             Section 5.12 of this Interim Order) and apply such payments to the Pre-Petition
                             Obligation or Post-Petition Obligations pursuant to the Financing Agreements
                             and/or this Interim Order, as applicable, and upon an Event of Default, (d)
                             declare a termination, reduction or restriction on the ability of the Debtors to use
                             Cash Collateral and (e) to take any other action and exercise all other rights and
                             remedies provided to it by this Interim Order, the Financing Agreements or
                             applicable law other than those rights and remedies against the Collateral upon
                             the expiration of the Default Notice Period (as defined below). In addition, and
                             without limiting the foregoing, upon the occurrence of an Event of Default and
                             after providing five (5) business days (the “Default Notice Period”) prior written
                             notice (the “Enforcement Notice”) to (i) counsel for the Debtors, (ii) counsel for
                             the Committee (if appointed), and (iii) the U.S. Trustee, the Agent, acting on
                             behalf of itself and the Lenders, without further notice, application or order of
                             the Court, shall be entitled to take any action and exercise all rights and remedies
                             provided to it by this Interim Order, the Financing Agreements or applicable law
                             that Agent may deem appropriate in its sole discretion to proceed against and
                             realize upon the Collateral or any other assets or properties of Debtors’ Estates
                             upon which the Agent, for the benefit of itself and the applicable Lenders, has
                             been or may hereafter be granted liens or security interests to obtain the full and
                             indefeasible repayment of all Obligations. Notwithstanding anything to the
                             contrary, any action that Agent is otherwise permitted to take pursuant to this
                             Interim Order to (i) terminate the commitments under the Financing
                             Agreements, (ii) accelerate the Loans, (iii) send blocking notices or activation
                             notices pursuant to the terms of any Deposit Account Control Agreement, (iv)
                             repay any amounts owing in respect of the Obligations (including, without
                             limitation, fees, indemnities and expense reimbursements) and (v) cash
                             collateralize Letters of Credit and/or Bank Products issued pursuant to the
                             Financing Agreements, in each case, shall not require any advance notice to the
                             Debtors. During the Default Notice Period, the Debtors and the Committee (if
                             appointed) shall be entitled to seek an emergency hearing, and the Agent, and
                             Lenders shall consent to such emergency hearing, within the Default Notice
                             Period with the Court; provided that the sole issue that may be raised by the
                             Debtors are whether an Event of Default has occurred and/or is continuing and
                             the Debtors hereby waive their right to and shall not be entitled to seek relief,
                             including under section 105 of the Bankruptcy Code, to the extent that such
                             relief would in any way impair or restrict the rights and remedies of the Agents
                             or the Lenders set forth in the Interim Order or the Financing Agreements.
                             See Interim Order ¶ 3.4.
 Carve Out                   Carve-Out.
 Bankruptcy Rule
                             (a)       Carve-Out. As used in this Interim Order, the “Carve Out” means the
 4001(c)(1)(B);
                             sum of (i) all fees required to be paid to the Clerk of the Court and to the Office
                             of the United States Trustee under section 1930(a) of title 28 of the United States

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                           Code plus interest at the statutory rate; (ii) all reasonable fees and expenses up
                           to $50,000 incurred by a trustee under section 726(b) of the Bankruptcy Code
                           (the “Chapter 7 Trustee Carve-Out”); (iii) to the extent allowed at any time,
                           whether by interim order, procedural order, or otherwise (and, in the case of the
                           Committee Professionals (as defined below), subject to the Budget), all unpaid
                           fees and expenses (the “Allowed Professional Fees”) incurred by persons or
                           firms retained by the Debtors pursuant to section 327, 328, or 363 of the
                           Bankruptcy Code (the “Debtor Professionals”) and, (subject to the Budget) the
                           Creditors’ Committee pursuant to section 328 or 1103 of the Bankruptcy Code
                           (the “Committee Professionals” and, together with the Debtor Professionals, the
                           “Professional Persons”) at any time before or on the first business day following
                           delivery by the Agent of a Carve Out Trigger Notice (as defined below), whether
                           allowed by the Court prior to or after delivery of a Carve Out Trigger Notice;
                           and (iv) Allowed Professional Fees of Professional Persons in an aggregate
                           amount not to exceed $2,500,000 incurred after the first business day following
                           delivery by the Agent of the Carve Out Trigger Notice, to the extent allowed at
                           any time, whether by interim order, procedural order, or otherwise (the amounts
                           set forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”). For
                           purposes of the foregoing, “Carve Out Trigger Notice” shall mean a written
                           notice delivered by email (or other electronic means) by the Agent to the
                           Debtors, their lead restructuring counsel, the U.S. Trustee, and counsel to the
                           Creditors’ Committee, which notice may be delivered following the occurrence
                           and during the continuation of an Event of Default and acceleration of the Post-
                           Petition Obligations under the Loan Agreement, respectively, stating that the
                           Post-Carve Out Trigger Notice Cap has been invoked.
                           (b)      Fee Estimates. Not later than 7:00 p.m. New York time on the third
                           business day of each week starting with the first full calendar week following
                           the Closing Date, each Professional Person shall deliver to the Debtors a
                           statement setting forth a good-faith estimate of the amount of fees and expenses
                           incurred during the preceding week by such Professional Person (through
                           Saturday of such week, the “Calculation Date”) (collectively, “Estimated Fees
                           and Expenses”), along with a good-faith estimate of the cumulative total amount
                           of unreimbursed fees and expenses incurred through the applicable Calculation
                           Date and a statement of the amount of such fees and expenses that have been
                           paid to date by the Debtors (each such statement, a “Weekly Statement”);
                           provided, that within one business day of the occurrence of the Termination
                           Declaration Date (as defined below), each Professional Person shall deliver one
                           additional statement (the “Final Statement”) setting forth a good-faith estimate
                           of the amount of fees and expenses incurred during the period commencing on
                           the calendar day after the most recent Calculation Date for which a Weekly
                           Statement has been delivered and concluding on the Termination Declaration
                           Date. If any Professional Person fails to deliver a Weekly Statement within
                           three calendar days after such Weekly Statement is due, such Professional
                           Person’s entitlement (if any) to any funds in the Carve Out Accounts (as defined
                           below) with respect to the aggregate unpaid amount of Allowed Professional
                           Fees for the applicable period(s) for which such Professional Person failed to
                           deliver a Weekly Statement covering such period shall be limited to the
                           aggregate unpaid amount of Allowed Professional Fees included in the Budget
                           (as defined in the Ratification Agreement, the “Budget”) for such period for such
                           Professional Person; provided, that such Professional Person shall be entitled to
                           be paid any unpaid amount of Allowed Professional Fees in excess of Allowed
                           Professional Fees included in the Budget for such period for such Professional
                           Person from a reserve to be funded by the Debtors from all cash on hand as of
                           such date and any available cash thereafter held by any Debtor pursuant to

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                           paragraph 2.3(c) below. Solely as it relates to the ABL Agent, the Prepetition
                           ABL Lenders, and ABL Lenders, any deemed draw and borrowing pursuant to
                           paragraph 2.3(c)(i)(x) for amounts under paragraph 2.3(a)(iii) above shall be
                           limited to the greater of (x) the sum of (I) the aggregate unpaid amount of
                           Estimated Fees and Expenses included in such Weekly Statements timely
                           received by the Debtors prior to the Termination Declaration Date plus, without
                           duplication, and (II) the aggregate unpaid amount of Estimated Fees and
                           Expenses included in the Final Statements timely received by the Debtors
                           pertaining to the period through and including the Termination Declaration
                           Date, and (y) the aggregate unpaid amount of Allowed Professional Fees
                           included in the Budget for the period prior to the Termination Declaration Date
                           (such amount, the “ABL Professional Fee Carve Out Cap”). For the avoidance
                           of doubt, the Agent shall be entitled to maintain at all times a reserve (the
                           “Carve-Out Reserve”) in an amount (the “Carve-Out Reserve Amount”) equal
                           to the sum of (i) the greater of (x) the aggregate unpaid amount of Estimated
                           Fees and Expenses included in all Weekly Statements timely received by the
                           Debtors, and (y) the aggregate amount of Allowed Professional Fees
                           contemplated to be unpaid in the Budget at the applicable time, plus (ii) the Post-
                           Carve Out Trigger Notice Cap, plus (iii) an amount equal to the amount of
                           Allowed Professional Fees set forth in the Budget for the following week
                           occurring after the most recent Calculation Date, plus (iv) the amounts
                           contemplated under paragraph 2.3(a)(i) and 2.3(a)(ii) above. Not later than 7:00
                           p.m. New York time on the fourth business day of each week starting with the
                           first full calendar week following the Closing Date, the Debtors shall deliver to
                           the ABL Agent or Term Loan B Agent a report setting forth the Carve-Out
                           Reserve Amount as of such time, and, in setting the Carve-Out Reserve, the
                           ABL Agent or Term Loan B Agent shall be entitled to rely upon such reports in
                           accordance with the Loan Agreement. Prior to the delivery of the first report
                           setting forth the Carve-Out Reserve Amount, the Agent shall calculate the
                           Carve-Out Reserve Amount by reference to the Budget for subsection (i) of the
                           Carve-Out Reserve Amount.
                           (c)       Carve Out Reserves. The delivery of each Weekly Statement shall be
                           (i) deemed a draw request and notice of borrowing by the Debtors for Revolving
                           Loans under the Loan Agreement in an amount equal to the difference between
                           (a) the current balance of the Pre-Carve Out Trigger Notice Reserve (as defined
                           below) and (b) the greater of (x) the aggregate unpaid amount of Estimated Fees
                           and Expenses included in all Weekly Statements timely received by the Debtors,
                           and (y) the aggregate amount of Allowed Professional Fees contemplated to be
                           unpaid in the Budget at the applicable time; and (ii) a direction from the Debtors
                           to Agent to immediately wire the proceeds of such draw request to the Pre-Carve
                           Out Trigger Notice Reserve (as defined below); provided that, upon the
                           foregoing funding, the Lenders shall have no further obligation to fund the Pre-
                           Carve Out Trigger Notice Reserve on account of any Allowed Professional Fees
                           incurred through the Calculation Date for the most recent Weekly Statement
                           delivered in accordance with Section 2.3(b) above. On the day on which a Carve
                           Out Trigger Notice is given by the Agent to the Debtors with a copy to counsel
                           to the Creditors’ Committee (the “Termination Declaration Date”), the Carve
                           Out Trigger Notice shall be deemed a draw request and notice of borrowing by
                           the Debtors for Revolving Loans under the Loan Agreement in an amount equal
                           to the sum of (x) the amounts set forth in paragraphs (a)(i) and (a)(ii), above,
                           and (y) the then unpaid amounts of the Allowed Professional Fees up to the ABL
                           Professional Fee Carve Out Cap (any such amounts actually advanced shall
                           constitute Revolving Loans), and shall also constitute a demand to the Debtors
                           to utilize all cash on hand as of such date and any available cash thereafter held

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                           by any Debtor to fund a reserve in an amount equal to the then unpaid amounts
                           of the Allowed Professional Fees (which cash amounts shall reduce, on a dollar
                           for dollar basis, the draw requests and applicable Revolving Loans pursuant to
                           the foregoing clause of this paragraph (c)). The Debtors shall deposit and hold
                           such amounts in a segregated account at the Agent in trust exclusively to pay
                           such unpaid Allowed Professional Fees (the “Pre-Carve Out Trigger Notice
                           Reserve”). On the Termination Declaration Date, the Carve Out Trigger Notice
                           shall also be deemed a request by the Debtors for (1) Revolving Loans under the
                           Loan Agreement in an amount equal to the Post Carve Out Trigger Notice Cap
                           (any such amounts actually advanced shall constitute Revolving Loans), and
                           shall also constitute a demand to the Debtors to utilize all cash on hand as of
                           such date and any available cash thereafter held by any Debtor to fund a reserve
                           in an amount equal to Post-Carve Out Trigger Notice Cap (which cash amounts
                           shall reduce, on a dollar for dollar basis, the draw requests and applicable
                           Revolving Loans pursuant to the foregoing clause of this paragraph (c)). The
                           Debtors shall deposit and hold such amounts in a segregated account at the
                           Agent in trust exclusively to pay such Allowed Professional Fees benefiting
                           from the Post-Carve Out Trigger Notice Cap (the “Post Carve Out Trigger
                           Notice Reserve” and, together with the Pre-Carve Out Trigger Notice Reserve,
                           the “Carve Out Reserves”). On the third business day following the Termination
                           Declaration Date and the deemed requests for the making of Revolving Loans
                           as provided in this paragraph (c), notwithstanding anything in the Loan
                           Agreement to the contrary, including with respect to (1) the existence of a
                           Default or Event of Default, (2) the failure of the Debtors to satisfy any or all of
                           the conditions precedent for the making of any Revolving Loans under the Loan
                           Agreement, (3) any termination of the Commitments following an Event of
                           Default, or (4) the occurrence of the Maturity Date, each Lender with an
                           outstanding Commitment shall make available to the Agent, as applicable, such
                           Lender’s pro rata share of such Loans, as applicable. For the avoidance of doubt,
                           the Carve Out Reserves shall constitute the primary source for payment of
                           Allowed Professional Fees entitled to benefit from the Carve Out, and any lien
                           priorities or superpriority claims granted pursuant to this Interim Order to secure
                           payment of the Carve Out shall be limited to any shortfall in funding as provided
                           below.
                           (d)       Application of Carve Out Reserves. (i) All funds in the Pre-Carve Out
                           Trigger Notice Reserve shall be used first to pay the obligations set forth in
                           subparagraphs (a)(i) through (a)(iii) of the definition of Carve Out set forth
                           above (the “Pre-Carve Out Amounts”), but not, for the avoidance of doubt, the
                           Post-Carve Out Trigger Notice Cap (other than amounts up to $500,000 to the
                           extent the Pre-Carve Out Amounts exceed the ABL Professional Fee Carve Out
                           Cap), until paid in full. If the Pre Carve Out Trigger Notice Reserve has not
                           been reduced to zero, subject to clause (iii), below, all remaining funds shall be
                           distributed first to the ABL Agent on account of the applicable Obligations until
                           indefeasibly paid in full, in cash, all Commitments have been terminated, and
                           all Letters of Credit have been cancelled (or all such Letters of Credit have been
                           fully cash collateralized or otherwise back-stopped, in each case to the
                           satisfaction of the applicable Issuing Bank), and thereafter to the Prepetition
                           ABL Lenders in accordance with their rights and priorities as of the Petition
                           Date.
                           (ii)     All funds in the Post-Carve Out Trigger Notice Reserve (other than up
                           to $500,000, which may be used to pay Pre-Carve Out Amounts to the extent
                           they exceed the ABL Professional Fee Carve Out Cap) shall be used first to pay
                           the obligations set forth in clause (iv) of the definition of Carve Out set forth


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                           above (the “Post-Carve Out Amounts”). If the Post Carve Out Trigger Notice
                           Reserve has not been reduced to zero, subject to clause (iii), below, all remaining
                           funds shall be distributed first to the ABL Agent on account of the applicable
                           Obligations until indefeasibly paid in full, in cash, all Commitments have been
                           terminated, and all Letters of Credit have been cancelled (or all such Letters of
                           Credit have been fully cash collateralized or otherwise back-stopped, in each
                           case to the satisfaction of the applicable Issuing Bank), and thereafter to the
                           Prepetition ABL Lenders in accordance with their rights and priorities as of the
                           Petition Date.
                           (iii)     Notwithstanding anything to the contrary in the Financing Agreements
                           or this Interim Order, if either of the Carve Out Reserves is not funded in full in
                           the amounts set forth in this paragraph (c), then, any excess funds in one of the
                           Carve Out Reserves following the payment of the Pre-Carve Out Amounts and
                           Post-Carve Out Amounts, respectively, shall be used to fund the other Carve
                           Out Reserve to the extent of any shortfall in funding prior to making any
                           payments to the ABL Agent or the Prepetition ABL Lenders, as applicable.
                           (iv)      Notwithstanding anything to the contrary in the Financing Agreements
                           or the Interim Order, following the third business day after delivery of a Carve
                           Out Trigger Notice, the ABL Agent, the Prepetition ABL Agent, the Term Loan
                           B Agent, and the Prepetition Term Loan Agent shall not sweep or foreclose on
                           cash (including cash received as a result of the sale or other disposition of any
                           assets) of the Debtors until the Carve Out Reserves have been fully funded, but
                           shall have a security interest in any residual interest in the Carve Out Reserves,
                           with any excess paid as provided in paragraphs (ii) and (iii) above.
                           (v)       Notwithstanding anything to the contrary in this Interim Order, (i) the
                           failure of the Carve Out Reserves to satisfy in full the Allowed Professional Fees
                           shall not affect the priority of the Carve Out with respect to any shortfall (as
                           described below), and (ii) subject to the limitations with respect to the ABL
                           Agent, ABL Lenders, Prepetition ABL Agent and Prepetition ABL Lenders set
                           forth in paragraph (b), above, in no way shall the Initial Budget, any Approved
                           Budget, Annual Operating Forecast, Carve Out, Post-Carve Out Trigger Notice
                           Cap or Carve Out Reserves be construed as a cap or limitation on the amount of
                           the Allowed Professional Fees due and payable by the Debtors. For the
                           avoidance of doubt and notwithstanding anything to the contrary herein or in the
                           Loan Agreement, the Carve Out shall be senior to all liens and claims securing
                           the Loan Agreement, the Adequate Protection Liens, and the Diminution in
                           Value claims, and any and all other forms of adequate protection, liens, or claims
                           securing the Post-Petition Obligations or the Pre-Petition Obligations.
                                    (d)      No Direct Obligation To Pay Allowed Professional Fees. The
                           Agent and the Lenders shall not be responsible for the payment or
                           reimbursement of any fees or disbursements of any Professional Person incurred
                           in connection with the Cases or any Successor Cases under any chapter of the
                           Bankruptcy Code. Nothing in this Final Order or otherwise shall be construed
                           to obligate the Agent or the Lenders, or any Issuing Bank, in any way, to pay
                           compensation to, or to reimburse expenses of, any Professional Person or to
                           guarantee that the Debtors have sufficient funds to pay such compensation or
                           reimbursement.
                                    (e)       Payment of Allowed Professional Fees Prior to the
                           Termination Declaration Date. Any payment or reimbursement made prior to
                           the occurrence of the Termination Declaration Date in respect of any Allowed
                           Professional Fees shall not reduce the Carve Out; provided that, upon the
                           funding in the first sentence of Section 2.3(c) above, and solely as it relates to

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                                 the ABL Agent, the Prepetition ABL Lenders, and ABL Lenders, such parties
                                 shall have no further obligation to fund the Pre-Carve Out Trigger Notice
                                 Reserve on account of any Allowed Professional Fees incurred through the
                                 Calculation Date for the most recent Weekly Statement delivered in accordance
                                 with Section 2.3(b) above.
                                          (f)      Payment of Carve Out On or After the Termination
                                 Declaration Date. Any payment or reimbursement made on or after the
                                 occurrence of the Termination Declaration Date in respect of any Allowed
                                 Professional Fees shall permanently reduce the Carve Out on a dollar-for-dollar
                                 basis. Any funding of the Carve Out shall be added to, and made a part of, the
                                 Obligations secured by the Post-Petition Collateral and shall be otherwise
                                 entitled to the protections granted under this Final Order, the Financing
                                 Agreements, the Bankruptcy Code, and applicable law.


                                 See Interim Order ¶ 2.3.
 506(c) Waiver                   Section 506(c) Claims. Subject to entry of the Final Order, no costs or expenses
 Bankruptcy Rule                 of administration which have or may be incurred in the Cases shall be charged
 4001(c)(l)(B)(x)                against Agent or any Lender, their respective claims or the Collateral pursuant
                                 to §§ 105 or 506(c) of the Bankruptcy Code or otherwise without the prior
                                 written consent of Agent, and no such consent shall be implied from any other
                                 action, inaction or acquiescence by Agent or any Lender.


                                 See Interim Order ¶ 4.3.
 Section 552(b)                  Marshalling. Subject to entry of the Final Order granting such relief, in no event
 Bankruptcy Rule 4001(c)(l)(B)   shall Agent or any Lender be subject to the equitable doctrine of “marshalling”
                                 or any similar doctrine with respect to the Collateral. Agent and Lender shall
                                 each be entitled to all of the rights and benefits of section 552(b) of the
                                 Bankruptcy Code, and, subject to entry of the Final Order, the “equities of the
                                 case” exception under section 552(b) of the Bankruptcy Code shall not apply to
                                 Agent or any Lender with respect to proceeds, products, offspring or profits of
                                 any of the Collateral, as applicable
                                 See Interim Order ¶ 5.9.
 Commitment                      Commitments. As of the Ratification Closing Date, the commitments total
 Bankruptcy Rule 4001(c)(1)(B)   $513,471,687.50.
                                 See Loan Agreement Exhibit D.
 Conditions of Borrowing         Conditions of Effectiveness of Ratification Agreement- Ratification Agreement
 Bankruptcy Rule 4001(c)(1)(B)   shall only become effective upon satisfaction (or waiver) of all of the following
                                 conditions precedent:

                                 •   as of the Petition Date, the Pre-Petition Financing Agreements shall not
                                     have been terminated;
                                 •   Borrowers and Guarantors shall have commenced a voluntary case under
                                     Chapter 11 of the Bankruptcy Code in the Bankruptcy Court having
                                     exclusive jurisdiction over the Chapter 11 Cases by no later than January
                                     16, 2019;
                                 •   Borrowers and Guarantors shall have complied in full with the notice and
                                     other requirements of the Bankruptcy Code in a manner acceptable to

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                                Agent and its counsel, with respect to the Interim Financing Order and
                                Agent shall have received such evidence thereof as it shall reasonably
                                require;
                           •    no trustee, or other disinterested person with expanded powers pursuant to
                                Section 1104(c) of the Bankruptcy Code, shall have been appointed or
                                designated with respect to any Borrower or Guarantor or their respective
                                business, properties or assets and no motion shall be pending seeking any
                                such relief;
                           •    all of the first day orders shall have been entered by the Bankruptcy Court
                                by the third (3rd) day following the Petition Date and shall be in form and
                                substance satisfactory to Agent;
                           •    a cash management order approving the cash management arrangements
                                of Borrowers and Guarantors consistent with the requirements under the
                                Financing Agreements shall have been entered, in form and substance
                                satisfactory to Agent, and shall be in full force and effect, and has not
                                been vacated, reversed or modified (except as consented to by Agent) and
                                is not subject to any pending appeal or stay;
                           •    the Interim Financing Order as entered by the Bankruptcy Court
                                authorizing the secured financing under the Financing Agreements and,
                                inter alia, modifying the automatic stay, authorizing and granting the
                                security interests and liens described herein, and granting a super-priority
                                administrative expense claim to Agent and other Secured Parties with
                                respect to all obligations to Agent and other Secured Parties, subject to no
                                priority claim or administrative expenses of the Chapter 11 Cases or any
                                other entity, and any future proceeding which may develop out of any
                                such cases, including liquidation in bankruptcy, shall have been entered
                                within three (3) days after the commencement of the Chapter 11 Cases and
                                be in full force and effect and not have been vacated, reversed, modified,
                                amended or stayed and not be subject to a pending appeal or motion or
                                motion for leave to appeal or other proceeding to set aside any such order
                                or the challenge to the relief provided for in it, except as consented to by
                                Agent;
                           •    receipt by Agent of a proposed Plan of Reorganization, on terms and
                                conditions reasonably satisfactory to Agent, which provides for, among
                                other things, either (i) the entry by Debtors into an exit financing facility
                                on terms and conditions acceptable to Agent or (ii) the indefeasible
                                payment in full of all [Pre-Petition Obligations] owing under the Pre-
                                Petition Financing Agreements and Post-Petition Obligations owing under
                                the Financing Agreements on or before the “effective date” of the Plan of
                                Reorganization (provided that nothing in this section shall constitute a
                                vote by Agent or any Lender in favor of the Plan of Reorganization or a
                                commitment by Agent or any Lender to vote in favor of the Plan of
                                Reorganization;
                           •    receipt by Agent, each in form and substance satisfactory to Agent, of (i)
                                the initial Budget, (ii) any updates or modifications to the projected
                                financial statements of Borrowers and Guarantors previously received by
                                Agent, in each case in form and substance satisfactory to Agent, and (iii)
                                copies of satisfactory interim unaudited financial statements for each
                                month ended since the last audited financial statements for which financial
                                statements are available;


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                           •    Agent’s completion of its due diligence, with results satisfactory to Agent,
                                which diligence may include receipt by Agent and Lenders of the
                                documentation and other information that is required by regulatory
                                authorities under applicable “know your customer” and anti-money-
                                laundering rules and regulations, including, without limitation, the Patriot
                                Act. Agent shall be satisfied with the corporate and capital structure and
                                management of Borrowers and Guarantors and with all legal, tax,
                                accounting and other matters relating to Borrowers and Guarantors.
                                Agent and its counsel will have had the opportunity to conduct customary
                                legal due diligence (the results of which shall be satisfactory to Agent and
                                its counsel);
                           •    no material adverse change in the business, operations, profits, assets or
                                prospects of Borrowers and Guarantors or the Collateral shall have
                                occurred as of the entry of the Interim Financing Order (it being
                                understood that the commencement of the Chapter 11 Cases, and any
                                defaults under agreements that have no effect under the terms of the
                                Bankruptcy Code as a result of the commencement thereof shall not be
                                deemed a material adverse change).
                           •    no defaults or events of default on the closing date under any of the
                                Financing Agreements or on any other debt or any material contract of
                                Borrowers or Guarantors shall exist (other than any defaults under
                                agreements that have no effect under the terms of the Bankruptcy Code as
                                a result of the commencement thereof);
                           •    Agent and Lenders shall have received the payment of all fees required to
                                be paid under the terms hereof or otherwise under the Financing
                                Agreements, including the DIP Fee Letter executed and delivered in
                                connection herewith;
                           •    there shall be no material misstatements in or omissions from the
                                materials previously furnished to Agent by Borrowers and Guarantors;
                           •    Agent shall not become aware of any material information or other matter
                                that is inconsistent in a material and adverse manner with any previous
                                due diligence, information or matter (including any financial information);
                           •    the receipt by Agent of this Ratification Agreement, executed and
                                delivered by Borrowers, Guarantors, Lenders and the other parties hereto;
                           •    the implementation of the terms of this Ratification Agreement and the
                                other Financing Agreements, as modified pursuant to this Ratification
                                Agreement, all of which contains provisions, representations, warranties,
                                covenants and Events of Default, as are satisfactory to Agent and its
                                counsel;
                           •    the receipt by Agent of the following documents, agreements, or other
                                information, in each case, in form and substance satisfactory to Agent and
                                executed and delivered by the parties thereto: (a) the Information
                                Certificate, (b) the DIP Fee Letter, (c) an update to the latest Borrowing
                                Base Certificate that Agent has received from Borrowers that reflects, on a
                                pro forma basis, the changes to the Financing Agreements evidenced by
                                this Ratification Agreement, (d) the Store Closing Liquidation Agreement,
                                (e) the Rx Bidding Procedures Order, and (f) [Store Closing GOB Sale
                                Order];



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                                 •   other than the voluntary commencement of the Chapter 11 Case, the Store
                                     Closing GOB Sales, and the Rx Sale, no material impairment of the
                                     priority of Agent’s security interests in the Collateral shall have occurred
                                     from the date of the latest field examinations of Agent to the Petition
                                     Date;
                                 •   Borrowers shall have (i) engaged the Financial Advisor in accordance
                                     with Section 5.8 of the Ratification Agreement, and (ii) have provided the
                                     Financial Advisor with such information as they may reasonably require;
                                 •   Agent, for the benefit of itself and the other Secured Parties, shall hold
                                     perfected, first priority security interests in and liens upon the Collateral
                                     (subject to the liens permitted under Section 9.8 of the Loan Agreement
                                     and the Carve-Out) and Agent shall have received such evidence thereof
                                     as it requires; and
                                 •   no Default or Event of Default shall have occurred or be existing under
                                     any of the Financing Agreements, as modified pursuant hereto, and
                                     assumed by Borrowers and Guarantors.


                                 Conditions Precedent to All Credit Extensions- the following are conditions to
                                 Agent’s and Lenders’ obligation to extend further loans, advances, or other
                                 financial accommodations to Borrowers:

                                 •   with respect to further credit after expiration of the Interim Financing
                                     Order, on or before the expiration of the Interim Financing Order, the
                                     Bankruptcy Court shall have entered the Permanent Financing Order.
                                     Neither Agent nor any Lender shall provide any Loans (or other financial
                                     accommodations) other than those authorized under the Interim Financing
                                     Order unless, on or before the expiration of the Interim Financing Order,
                                     the Permanent Financing Order shall have been entered, and there shall be
                                     no appeal or other contest with respect to either the Interim Financing
                                     Order or the Permanent Financing Order and the time to appeal to contest
                                     such order shall have expired;
                                 •   requests for further credit shall only be for purposes and in amounts in
                                     accordance with the Budget for the week in which such requests are made;
                                 •   subject to the Financing Order, all fees and expenses required to be paid to
                                     the Agent and the Lenders pursuant to the Ratification Agreement and the
                                     Loan Agreement, as amended thereby, shall have been paid or shall be
                                     paid concurrently with the making of the Loans after the Ratification
                                     Closing Date; and
                                 •   no Default or Event of Default shall have occurred or be existing under
                                     any of the Financing Agreements, as amended, supplemented or otherwise
                                     modified pursuant this Ratification Agreement and assumed by Borrowers
                                     and Guarantor.

                                 See Ratification Agreement §§ 9, 10.
 Interest Rates                  (a) Subject to clause (b) of this definition below:
 Bankruptcy Rule 4001(c)(1)(B)




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                                •   Revolving Loans A: a rate equal to the then Applicable Margin for
                                    Prime Rate Loans on a per annum basis plus the Prime Rate

                                •   Revolving Loans A-1: a rate equal to the then Applicable Margin for
                                    Prime Rate Loans on a per annum basis plus the Prime Rate

                                •   Term Loans B: a rate equal to the then Applicable Margin for Prime
                                    Rate Loans on a per annum basis plus the Prime Rate

                                •   Term Loans B-1: a rate equal to fourteen (14.00%) percent per annum

                           “Applicable Margin” shall mean, at any time, as to the Interest Rate for Prime
                           Rate Loans the applicable percentage (on a per annum basis) set forth below:

                                 Applicable                   Applicable                 Applicable
                            Prime Rate Margin for        Prime Rate Margin for      Prime Rate Margin for
                             Revolving Loans A           Revolving Loans A-1            Term Loans B
                                     2.75%                       4.00%                       9.50%



                           “Prime Rate” shall mean, on any date, the greatest of (a) the rate from time to
                           time publicly announced by Wells Fargo, or its successors, as its prime rate,
                           whether or not such announced rate is the best rate available at such bank (and,
                           if any such announced rate is below zero, the rate determined pursuant to this
                           clause (a) shall be deemed to be zero), (b) the Federal Funds Rate in effect on
                           such day plus one half (0.50%) percent and (c) the Adjusted Eurodollar Rate
                           for a six (6) month Interest Period on such date plus one (1.00%) percent.

                           (b) Notwithstanding anything to the contrary contained in clause (a) of this
                           definition, the Interest Rate shall mean the per annum rates set forth above plus
                           (in each case) two (2%) percent per annum, at Agent’s option or upon the
                           written request of Required Revolving Lenders A (in the case of Revolving
                           Loans A), Required Revolving Lenders A-1 (in the case of Revolving Loans
                           A-1), Required Term Lenders B (in the case of Term Loans B) or Required
                           Term Lenders B-1 (in the case of Term Loans B-1), without notice, (i) either
                           (A) for the period on and after the date of termination or non-renewal hereof
                           until such time as all of the Obligations are paid and satisfied in full in
                           immediately available funds, or (B) from and after the date of the occurrence
                           of any Event of Default, and for so long as such Event of Default is continuing
                           as determined by Agent in good faith, (ii) on the Revolving Loans A at any
                           time outstanding in excess of Borrowing Base A or the Revolving Loan A
                           Limit (whether or not such excess(es) arise or are made with or without
                           Agent’s or any Lender’s knowledge or consent and whether made before or
                           after an Event of Default) and (iii) on the Revolving Loans A-1 at any time
                           outstanding in excess of Borrowing Base A-1 or the Revolving Loan A-1
                           Limit (whether or not such excess(es) arise or are made with or without
                           Agent’s or any Lender’s knowledge or consent and whether made before or
                           after an Event of Default). Agent shall promptly notify Administrative
                           Borrower in writing if the Interest Rate specified in this clause (b) is in effect.

                           See Loan Agreement §§ 1.31, 1.114, 1.184, 3.1



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 Milestones                      Milestones.
 Bankruptcy Rule 4001(c)(1)(B)
                                 The Debtors must achieve each of the following milestones:
                                     •   On or prior to Petition Date, the Debtors shall have commenced going
                                         out of business sales at the 126 store locations identified on Schedule
                                         1, attached to the Ratification Agreement, on terms and conditions
                                         acceptable to Agent;
                                     •   On the Petition Date, the Debtors shall file motions, each in form and
                                         substance satisfactory to the Agent, requesting approval from the
                                         Bankruptcy Court:
                                               o to (A) conduct the Debtors’ going out of business sales in
                                                  accordance with Section 363 of the Bankruptcy Code at the
                                                  126 store locations identified in Loan Agreement (as may be
                                                  amended from time to time with the prior written consent of
                                                  Agent) on terms and conditions acceptable to Agent (the
                                                  “Store Closing GOB Sales”); and (B) to assume Debtors’
                                                  prepetition store closing liquidation agreement, entered into
                                                  between Debtors and Gordon Brothers Retail Partners, LLC
                                                  (the “Store Closing Liquidation Agreement”), in each case on
                                                  terms and conditions satisfactory to the Agent;
                                               o of bidding and auction procedures, in form and substance
                                                  satisfactory to Agent, in connection with the sale or sales of
                                                  all or substantially all of the Debtors’ Pharmacy Inventory and
                                                  Prescription Files and related assets (the “Rx Bidding
                                                  Procedures Motion”);
                                               o   of a Disclosure Statement and proposed plan of reorganization
                                                   pursuant to Chapter 11 of the Bankruptcy Code (the “Plan of
                                                   Reorganization”), each on terms and conditions satisfactory
                                                   to Agent (provided that nothing this clause shall constitute a
                                                   vote by Agent or any Lender to vote in favor of the Plan of
                                                   Reorganization); and
                                               o of the senior secured financing under the Financing
                                                  Agreements on the terms and conditions contemplated by the
                                                  Loan Agreement, granting to Agent the security interests and
                                                  liens and super-priority administrative expense claim status
                                                  described above, modifying the automatic stay and other
                                                  provisions required by the Agent and its counsel (the “DIP
                                                  Financing”)
                                     •   On or before the third (3rd) day following the Petition Date, the
                                         Bankruptcy Court shall have entered interim orders, each in form and
                                         substance satisfactory to Agent, authorizing (i) the Store Closing GOB
                                         Sales, and the assumption of the Store Closing Liquidation Agreement,
                                         and (ii) the bidding and auction procedures set forth in the Rx Bidding
                                         Procedures Motion (the “Rx Bidding Procedures Order”), and (iii) the
                                         DIP Financing, and scheduling a hearing to approve the Disclosure
                                         Statement;
                                     •   On or before the tenth (10th) day following the Petition Date, the
                                         Debtors shall have conducted an auction (the “Rx Auction”) for the
                                         sale or sales of all or substantially all of the Debtors’ Pharmacy
                                         Inventory, Prescription Files and related assets and properties and


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                                    selected the winning bid(s) (the “Rx Sale”) and is otherwise in form
                                    and substance reasonably satisfactory to Agent in connection with such
                                    Rx Sale;
                                •   On or before the thirteenth (13th) day following the Petition Date, the
                                    Bankruptcy Court shall have entered a (i) final Rx Bidding Procedures
                                    Order, and (ii) a final order approving the Rx Sale, which order shall
                                    be in form and substance acceptable to the Agent;
                                •   On or before the fourteenth (14th) day following the Petition Date, the
                                    Debtors shall have delivered an amendment to the Budget, in form and
                                    substance acceptable to Agent, solely to reflect adjustments directly
                                    arising from the Store Closing Liquidation Agreement.
                                •   On or before the thirtieth (30th) day following the Petition Date, the
                                    Bankruptcy Court shall have entered final orders, each in form and
                                    substance satisfactory to Agent authorizing (i) the Store Closing GOB
                                    Sales, (ii) the assumption of the Store Closing Liquidation Agreement,
                                    and (iii) the DIP Financing.
                                •   On or before March 1, 2019, the Debtors shall deliver to Agent a
                                    business plan for the Reorganized Debtors in form and substance
                                    acceptable to the Agent, including without limitation any financial
                                    projections, assumptions, and calculations reasonably requested by the
                                    Agent.
                                •   On or before the forty-fifth (45th) day following the Petition Date the
                                    Debtors shall have received court approval to extend the general time
                                    period to accept/reject leases from the permitted 120 day time period
                                    to not less than 210 days;
                                •   If the final Store Closing GOB Sales Order does not allow the Debtors
                                    to conduct going out of business sales for all or substantially all of the
                                    Debtors’ remaining assets and properties, then on or before March 6,
                                    2019, the Debtors shall have selected a “stalking horse” offer for the
                                    sale of all or substantially all of the Debtors’ assets and properties
                                    and/or liquidation of the Debtors’ assets, in form and substance
                                    acceptable to Agent;
                                •   If the final Store Closing GOB Sales Order does not allow the Debtors
                                    to conduct going out of business sales for all or substantially all of the
                                    Debtors’ remaining assets and properties, then on or before March 8,
                                    2019, the Debtors shall have filed in the Bankruptcy Court a motion
                                    (the “Sale Motion”) seeking entry of a final order (the “Bidding
                                    Procedures Order”) approving (A) the stalking horse sale agreement
                                    for all or substantially all of the Debtors’ remaining assets (“Stalking
                                    Horse APA”) and/or liquidation of the Debtors’ assets, and (B) bidding
                                    and auction procedures (if necessary) in connection with a sale of all
                                    or substantially all remaining assets of each Debtor, pursuant to Section
                                    363 of the Bankruptcy Code, which Sale Motion (including all
                                    deadlines contained therein) shall be reasonably satisfactory to the
                                    Agent (the “363 Sale”);
                                •   On or before the forty-fifth (45th) day following the Petition Date, the
                                    Debtors shall have consummated the Rx Sale, pursuant to one or more
                                    purchase agreements, in form and substance acceptable to Agent,
                                    entered into among the Debtors and the winning bidder(s) at the Rx
                                    Auction; provided that failure to comply with this milestone shall result

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                                    in the commencement of the Sale Milestones (as defined below) and
                                    not constitute an Event of Default;
                                •   The Debtors shall comply with the following milestones (“Plan
                                    Milestones”); provided that failure to comply with these milestones
                                    shall result in the commencement of the Sale Milestones (as defined
                                    below) and not constitute an Event of Default:
                                        o on or before March 14, 2019, Debtors shall deliver to Agent
                                           (A) a commitment letter in form and substance reasonably
                                           acceptable to Agent from one or more sponsors or other
                                           financial institutions reasonably acceptable to Agent (such
                                           sponsors or financial institutions referred to herein
                                           collectively as the “Sponsor”), reflecting, among other things,
                                           such Sponsor’s commitment and financial wherewithal to
                                           provide financing sufficient to support the feasibility and
                                           confirmation of the Plan, on terms and conditions acceptable
                                           to Agent (the “Commitment Letter”) (provided that nothing in
                                           this clause shall constitute a vote by Agent or any Lender in
                                           favor of the Plan of Reorganization or a commitment by Agent
                                           or any Lender to vote in favor of the Plan of Reorganization),
                                           or (B) such other financial information and commitments in
                                           form and substance acceptable to Agent sufficient to
                                           demonstrate that Debtors will have sufficient liquidity and are
                                           otherwise likely to consummate the Plan of Reorganization
                                           and reorganize, in each case as Agent may determine in its
                                           sole discretion;
                                        o on or before March 22, 2019, the Debtors shall obtain an order
                                           from the Bankruptcy Court approving the Disclosure
                                           Statement on terms and conditions reasonably satisfactory to
                                           the Agent, and such order is not thereafter vacated, reversed,
                                           modified or altered on appeal or by reconsideration without
                                           the prior written consent of the Agent;
                                        o on or before April 5, 2019, Debtors shall have received, in form
                                           and substance acceptable to Agent, a proposed order
                                           confirming the Plan of Reorganization pursuant to section
                                           1129 of the Bankruptcy Code in form and substance
                                           acceptable to Agent (the “Proposed Confirmation Order”),
                                           which plan shall include procedures for the orderly wind
                                           down and liquidation of the Debtors’ assets and properties in
                                           the event the conditions for reorganization are not satisfied
                                           (provided that nothing in this clause shall constitute a vote by
                                           Agent or any Lender in favor of the Plan of Reorganization or
                                           a commitment by Agent or any Lender to vote in favor of the
                                           Plan of Reorganization);
                                        o on or before April 12, 2019, the Debtors shall obtain an order
                                           from the Bankruptcy Court confirming the Plan of
                                           Reorganization pursuant to section 1129 of the Bankruptcy
                                           Code in form and substance acceptable to the Agent; and
                                        o on or before April 15, 2019, the Effective Date under (and as
                                           defined in) the Plan of Reorganization shall occur;




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                                •   If (i) the final Store Closing GOB Sales Order does not allow the
                                    Debtors to conduct going out of business sales for all or substantially
                                    all of the Debtors’ remaining assets and properties, and (ii) Debtors fail
                                    to satisfy the Plan Milestone listed above, then on or before March 15,
                                    2019, Debtors shall deliver to Agent the Bidding Procedures Order
                                    entered by the Bankruptcy Court in form and substance acceptable to
                                    Agent;
                                •   If (i) Debtors fail to satisfy the first Plan Milestone listed above, and
                                    (ii) the Debtors have filed the Sale Motion in accordance with
                                    paragraphs above, then on or before March 20, 2019, the Debtors shall
                                    have obtained an order from the Bankruptcy Court approving the 363
                                    Sale in form and substance acceptable to Agent, and providing for,
                                    among other things, the receipt by Agent of all cash proceeds from the
                                    363 Sale to be applied to the indefeasible payment in full of all
                                    Obligations in accordance with Section 6.4 of the Loan Agreement and
                                    Financing Orders (the “363 Sale Order”);
                                •   Notwithstanding anything to the contrary contained above, if at any
                                    time prior to expiration of the term of the Loan Agreement, (i) an Event
                                    of Default occurs and is continuing under the Loan Agreement without
                                    being waived in writing by Agent and to the extent required pursuant
                                    to the Loan Agreement, by the requisite number of Lenders, (ii) there
                                    is a negative variance in the actual proceeds received from Rx Sales
                                    from the projected proceeds from Rx Sales, as set forth in the line item
                                    of the Budget titled “Proceeds from Rx Asset Sales”, in any given
                                    Measurement Period of the Budget in excess of 15% or (iii) Debtors
                                    fail to comply with the Plan Milestones (each of the forgoing, a “Sale
                                    Trigger Event”), then Debtors shall comply with the following
                                    milestones (“Sale Milestones”):
                                        o (A) on or before the date that is seven days following the date
                                           on which the Sale Trigger Event occurs, Debtors shall deliver
                                           to Agent a new 13-week statement of availability, cash
                                           receipts and disbursements for the immediately following
                                           consecutive 13 weeks (“Sale Budget”) in form and substance
                                           acceptable to Agent, which upon Agent’s written acceptance
                                           shall be the Budget, and (B) on or before the date that is two
                                           days following the date on which the Sale Trigger Event
                                           occurs, the Debtors shall either (i) commence the sale of all or
                                           substantially all of the Debtors’ remaining assets and
                                           properties to the extent permitted by the final Store Closing
                                           GOB Sales Order and Store Closing Liquidation Agreement,
                                           or (ii) file the Sale Motion seeking entry of the Bidding
                                           Procedures Order in connection with a sale of all or
                                           substantially all remaining assets of each Debtor, pursuant to
                                           Section 363 of the Bankruptcy Code, which Sale Motion
                                           (including all deadlines contained therein) shall be
                                           satisfactory to the Agent; and
                                        o   if the final Store Closing GOB Sales Order does not allow the
                                             Debtors to conduct going out of business sales for all or
                                             substantially all of the Debtors’ remaining assets and
                                             properties, then:




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                                                             on or before the date that is five days following the
                                                             date on which the Sale Trigger Event occurs, the
                                                             Bankruptcy Court shall have entered the Bidding
                                                             Procedures Order;
                                                            on or before the date that is seven days following the
                                                             date on which the Sale Trigger Event occurs, the
                                                             Debtors shall have distributed Bid Packages (as
                                                             defined in the Bidding Procedures Order) to each
                                                             Person meeting the criteria for receipt of a Bid
                                                             Package as set forth in the Bidding Procedures
                                                             Order;
                                                             on or before the date that is ten days following the
                                                             date on which the Sale Trigger Event occurs, the
                                                             Debtors shall have received one or more qualified
                                                             bids in form and substance acceptable to Agent;
                                                            on or before the date that is twelve days following
                                                             the date on which the Sale Trigger Event occurs, the
                                                             Debtors shall have conducted an auction for the sale
                                                             or sales of all or substantially all of the Debtors’
                                                             assets and properties and selected the winning bid(s)
                                                             in connection with such 363 Sale;
                                                            on or before the date that is fourteen days following
                                                             the date on which Sale Trigger Event occurs, the
                                                             Bankruptcy Court shall have entered an order
                                                             approving the 363 Sale, which order shall be in form
                                                             and substance acceptable to the Agent and shall
                                                             provide for, among other things, the receipt by Agent
                                                             of all cash proceeds from the 363 Sale to be applied
                                                             to the indefeasible payment in full of all Obligations
                                                             in such manner as the Agent shall determine in
                                                             accordance with Section 6.4 of the Loan Agreement
                                                             and Financing Orders.
                                 See Ratification Agreement § 5.4.
 Challenge Period                Objections to Pre-Petition Obligations. Notwithstanding anything to the
 Bankruptcy Rule 4001(c)(l)(B)   contrary in this Interim Order, any action, claim, defense, complaint, motion or
                                 other written opposition (hereinafter, an “Objection”) that seeks to object to,
                                 challenge, contest or otherwise invalidate or reduce, whether by setoff,
                                 recoupment, counterclaim, deduction, disgorgement or claim of any kind: (a)
                                 the existence, validity or amount of the Pre-Petition Obligations as of the
                                 Petition Date, or (b) the extent, legality, validity, perfection or enforceability of
                                 Agent’s and Lenders’ pre-petition liens and security interests in the Pre-Petition
                                 Collateral shall be properly filed with the Court on or before the earlier of (x)
                                 sixty (60) calendar days from the date of appointment of the Committee by the
                                 U.S. Trustee, or (y) seventy-five (75) calendar days from the Petition Date;
                                 provided, however, that nothing herein shall permit any party to challenge the
                                 extent or validity of the Post-Petition Obligations for any disbursements in
                                 excess of the Pre-Petition Obligations. If any such Objection is timely and
                                 properly filed and a final, non-appealable order is entered by a court of
                                 competent jurisdiction sustaining and ordering some or all of the relief requested
                                 in such Objection, then nothing in this Interim Order shall prevent the Court
                                 from granting appropriate relief with respect to the Pre-Petition Obligations or

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                                   Agent’s or Lenders’ pre-petition liens on the Pre-Petition Collateral. If no
                                   Objection is timely and properly filed, or if an Objection is timely and properly
                                   filed but denied, (i) the Pre-Petition Obligations shall be deemed allowed in full,
                                   shall not be subject to any setoff, recoupment, counterclaim, deduction, or claim
                                   of any kind, and shall not be subject to any further objection or challenge by any
                                   party at any time, and Agent’s and Lenders’ pre-petition liens on and security
                                   interest in the Pre-Petition Collateral shall be deemed legal, valid, perfected,
                                   enforceable, and non-avoidable for all purposes and of first and senior priority,
                                   subject to only the Carve-Out and Permitted Liens, and (ii) the Agent and the
                                   Lenders, and each of their respective participants, agents, officers, directors,
                                   employees, attorneys, professionals, successors, and assigns (each in their
                                   respective capacities as such) shall be deemed released and discharged from any
                                   and all claims and causes of action related to or arising out of the Pre-Petition
                                   Loan Documents and shall not be subject to any further objection or challenge
                                   relating thereto or arising therefrom by any party at any time. Nothing contained
                                   in this Section 4.1(a) or otherwise shall or shall be deemed or construed to
                                   impair, prejudice or waive any rights, claims or protections afforded to Agent or
                                   any Lenders in connection with all post-petition Loans and Letters of Credit,
                                   and any other post-petition financial and credit accommodations provided by
                                   Agent and the Lenders to Debtors in reliance on section 364(e) of the
                                   Bankruptcy Code and in accordance with the terms and provisions of this
                                   Interim Order and the Financing Agreements.
                                   See Interim Order ¶ 4.1.
 Use of DIP Facility and Cash      All Loans and Letters of Credit provided by Agent or any Lender to Borrowers
 Collateral                        pursuant to the Financing Order, the Loan Agreement or otherwise, shall only
 Bankruptcy Rule                   be used by Debtors for the working capital and general corporate purposes of
 4001(b)(l)(B)(ii)                 Borrowers, including allowed administrative expenses incurred during the
                                   Chapter 11 Cases, all in accordance with the Budget. Except for claims of
                                   Professionals in an amount not to exceed the Carve Out (which, for the
                                   avoidance of doubt, may not be funded with the Revolving Loans or Letters of
                                   Credit for any purpose provided in paragraph 2.5 of the Interim Order), no
                                   portion of the administrative expenses or priority claims in the Chapter 11 Cases,
                                   other than those identified in the Budget to which Agent has specifically agreed
                                   in writing, shall be funded with the Revolving Loans or Letters of Credit and the
                                   percentages and categories of permitted allocations of such claims and expenses
                                   shall be subject to approval by Agent. Notwithstanding the foregoing, proceeds
                                   shall not be used by Borrowers or Guarantors to affirmatively commence or
                                   support, or to pay any professional fees incurred in connection with, any
                                   adversary proceeding, motion or other action that seeks to challenge, contest or
                                   otherwise seek to impair or object to the validity, extent, enforceability or
                                   priority of Agent’s liens, claims and rights.
                                   See Ratification Agreement § 5.2.
 Stipulations to Prepetition       Debtors’ Acknowledgments and Agreements. After consultation with their
 Liens and Claims                  attorneys and financial advisors, and without prejudice to the rights of any
 Bankruptcy Rule                   Committee appointed in these Cases or other parties-in-interest as and to the
 4001(c)(1)(B)(iii)                extent set forth in Section 4.1 of the Interim Order, the Debtors, on their behalf
                                   and on behalf of their estates, admit, stipulate, acknowledge and agree with
 Waiver/Modification of
                                   respect to the Prepetition Lenders and the liens, claims, and rights of the
 Applicability of
                                   Prepetition Lenders, as to the validity and extent of such liens, claims, and rights.
 Nonbankruptcy Law Relating
 to Perfection or                  See Interim Order ¶ F.
 Enforceability of Liens


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 Bankruptcy Rule
 4001(c)(1)(B)(vii)


 Repayment Features              Mandatory Prepayments.
                                 In the event that (i) the aggregate amount of the Loans and the Letter of Credit
                                 Obligations outstanding at any time exceeds the Maximum Credit, or (ii) except
                                 as otherwise provided in Section 12.11(a) hereof, the aggregate principal
                                 amount of the Revolving Loans A and Letter of Credit Obligations outstanding
                                 at any time exceeds Borrowing Base A or the Revolving Loan A Limit, or (iii)
                                 the aggregate principal amount of Revolving Loans A-1 outstanding at any time
                                 exceeds Borrowing Base A-1 or the Revolving Loan A-1 Limit, or (iv) the
                                 aggregate principal amount of the Revolving Loans and the Letter of Credit
                                 Obligations outstanding at any time based on Eligible Accounts consisting of
                                 Other Government Accounts, Medicaid Accounts and/or Medicare Accounts
                                 exceeds $20,000,000, such event shall not limit, waive or otherwise affect any
                                 rights of Agent or Lenders in such circumstances or on any future occasions and
                                 Borrowers shall, upon demand by Agent, which may be made at any time or
                                 from time to time, immediately repay to Agent the entire amount of any such
                                 excess(es) for which payment is demanded. In the event that Borrowers fail to
                                 meet the DIP Milestones (other than the Plan Milestones), Borrowers shall, upon
                                 demand by Agent, which may be made at any time or from time to time,
                                 immediately repay Loans and other Obligations to Agent in an amount equal to
                                 100% of the net cash proceeds from asset sales generating during the Chapter
                                 11 Cases, which shall be applied in accordance with Section 6.4 hereof.
                                 See Loan Agreement § 2.1(d).
 Fees                            Fee Letter- In consideration of Agents’ services under the DIP credit facilities,
 Bankruptcy Rule 4001(c)(1)(B)   Borrowers shall pay to Agents fees described in a separate fee letter.
                                 Loan Agreement Fees -
                                 (a) Borrowers shall pay to Agent, for the account of Revolving Loan A
                                 Lenders (excluding any Defaulting Lenders) monthly, an unused line fee in an
                                 amount equal to the Applicable Unused Line Fee Percentage times the amount
                                 by which the Revolving Loan A Limit (as reduced by the unfunded portion of
                                 the Revolving Loan A Commitment of each Defaulting Lender, if any)
                                 exceeds the Monthly Average Outstanding Revolving Loans A and Letters of
                                 Credit during the immediately preceding calendar month, which fee shall be
                                 payable on the first day of each month in arrears while this Agreement is in
                                 effect and for so long thereafter as any of the Obligations are outstanding.
                                 Borrowers shall pay to Agent, for the account of Revolving Loan A-1 Lenders
                                 (excluding any Defaulting Lenders) monthly, an unused line fee in an amount
                                 equal to (i) the Applicable Unused Line Fee Percentage times the amount by
                                 which the Revolving Loan A-1 Limit (as reduced by the unfunded portion of
                                 the Revolving Loan A-1 Commitment of each Defaulting Lender, if any)
                                 exceeds the Monthly Average Outstanding Revolving Loans A-1 during the
                                 immediately preceding calendar month, which fee shall be payable on the first
                                 day of each month in arrears while this Agreement is in effect and for so long
                                 thereafter as any of the Obligations are outstanding.

                                 (b) Borrowers shall pay to Agent, for the benefit of Revolving Loan A
                                 Lenders, monthly a letter of credit fee at a rate per annum equal to (i) the
                                 Applicable Margin for Revolving Loans A on the daily outstanding balance of
                                 the Standby Letters of Credit during the immediately preceding month (or part

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                           thereof) and (ii) the Applicable Margin for Revolving Loans A minus one half
                           (0.50%) percent on the daily outstanding balance of the Commercial Letters of
                           Credit during the immediately preceding month (or part thereof), in each case
                           payable in arrears as of the first day of each succeeding month; provided, that,
                           notwithstanding anything to the contrary contained herein, Agent may, and
                           upon the written direction of Required Revolving Lenders A shall, require
                           Borrowers to pay to Agent for the benefit of Revolving Loan A Lenders, such
                           letter of credit fee at a rate equal to two (2.00%) percent per annum on such
                           daily outstanding balance in excess of the rates set forth above: (i) for the
                           period (A) from and after the effective date of termination or non-renewal
                           hereof until such time as all of the Obligations are paid and satisfied in full in
                           immediately available funds and (B) from and after the date of the occurrence
                           of an Event of Default and for so long as such Event of Default is continuing
                           and (ii) on the Letters of Credit at any time outstanding in excess of the Letter
                           of Credit Limit (whether or not such excess(es) arise or are issued with or
                           without the knowledge or consent of Agent or any Lender and whether issued
                           before or after an Event of Default). Such letter of credit fees shall be
                           calculated on the basis of a three hundred sixty (360) day year and actual days
                           elapsed and the obligation of Borrowers to pay such fee shall survive the
                           termination or non-renewal of this Agreement. In addition to the letter of credit
                           fees provided above, Borrowers shall pay to Issuing Bank for its own account
                           (without sharing with Lenders) a letter of credit fronting and negotiation fee
                           with respect to each Letter of Credit at the rate per annum of one-eighth
                           (0.125%) percent of the daily outstanding balance of Letters of Credit during
                           the immediately preceding month (or part thereof), payable in arrears as of the
                           first day of each succeeding month, and the customary charges from time to
                           time of Issuing Bank with respect to the issuance, amendment, transfer,
                           administration, cancellation and conversion of, and drawings under, such
                           Letters of Credit.

                           (c) Borrowers shall pay to Agent the other fees and amounts set forth in the
                           Fee Letter in the amounts and at the times specified therein. To the extent
                           payment in full of the applicable fee is received by Agent from Borrowers on
                           or about the date hereof, Agent shall pay to each Lender its share of such fees
                           in accordance with the terms of the arrangements of Agent with such Lender.

                           (d) In view of the impracticality and extreme difficulty of ascertaining actual
                           damages and by mutual agreement of the parties as to a reasonable calculation
                           of each Term Loan B Lender’s lost profits as a result thereof, if for any reason
                           any outstanding principal amount of the Term Loans B is repaid or prepaid
                           (other than with respect to payments made pursuant to Sections 2.1A(b)
                           hereof) or purchased pursuant to Section 14.12 hereof (i) prior to January 10,
                           2019, on the date of any such repayment or prepayment Borrowers shall pay to
                           Agent, for the benefit of the Term Loan B Lenders, a fee equal to two (2%)
                           percent of the principal amount so repaid or prepaid and (ii) on or after January
                           10, 2019 and prior to January 10, 2020, on the date of any such repayment or
                           prepayment Borrowers shall pay to Agent, for the benefit of the Term Loan B
                           Lenders, a fee equal to one (1%) percent of the principal amount so repaid or
                           prepaid. Such fee shall be presumed to be the amount of damages sustained by
                           Term Loan B Lenders as a result of such repayment or prepayment and
                           Borrowers and Guarantors agree that it is reasonable under the circumstances.
                           In addition, Agent (for the benefit of the Term Loan B Lenders) shall be
                           entitled to such fee (a) upon any acceleration (whether automatic or otherwise)
                           of the Obligations upon the occurrence of any Event of Default (including, but


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                           not limited to, any Event of Default described in Sections 10.1(g) and (h)
                           hereof), whether or not any such Event of Default is caused intentionally by a
                           Borrower or Guarantor and (b) upon the occurrence of any Event of Default
                           described in Sections 10.1(g) and (h) hereof even if Agent and Lenders do not
                           exercise their right to terminate this Agreement, but elect, at their option, to
                           provide financing to Borrowers or permit the use of cash collateral under the
                           United States Bankruptcy Code. Notwithstanding anything to the contrary
                           contained in Section 3.2 (d) above, in the event of the termination of the
                           Commitments by Borrowers prior to January 10, 2020 and the full and final
                           repayment of all of the Obligations (other than unasserted contingent
                           indemnification obligations) and the receipt by Agent of cash collateral all as
                           provided in Section 14.1(a) hereof (or a letter of credit, at Agent’s option, as
                           provided therein) with the proceeds of the sale of all or substantially all of the
                           assets of the Borrowers or the Voting Stock of Parent or of one or more of the
                           Borrowers that would result in a Change of Control under one or more of the
                           clauses of the definition thereof or with the proceeds of a Qualifying IPO,
                           Borrowers shall not be required to pay the fee provided for in Section 3.2(d)
                           above .

                           (e) In view of the impracticality and extreme difficulty of ascertaining actual
                           damages and by mutual agreement of the parties as to a reasonable calculation
                           of each Term Loan B-1 Lender’s lost profits as a result thereof, if for any
                           reason any outstanding principal amount of the Term Loans B-1 is repaid or
                           prepaid (other than with respect to payments made pursuant to Sections
                           2.1B(b) of the Loan Agreement) (i) prior to January 10, 2019, on the date of
                           any such repayment or prepayment Borrowers shall pay to Agent, for the
                           benefit of the Term Loan B-1 Lenders, a fee equal to two (2%) percent of the
                           principal amount so repaid or prepaid and (ii) on or after to January 10, 2019
                           and prior to January 10, 2020, on the date of any such repayment or
                           prepayment Borrowers shall pay to Agent, for the benefit of the Term Loan B-
                           1 Lenders, a fee equal to one (1%) percent of the principal amount so repaid or
                           prepaid. Such fee shall be presumed to be the amount of damages sustained by
                           Term Loan B-1 Lenders as a result of such repayment or prepayment and
                           Borrowers and Guarantors agree that it is reasonable under the circumstances.
                           In addition, Agent (for the benefit of the Term Loan B-1 Lenders) shall be
                           entitled to such fee (a) upon any acceleration (whether automatic or otherwise)
                           of the Obligations upon the occurrence of any Event of Default (including, but
                           not limited to, any Event of Default described in Sections 10.1(g) and (h)
                           hereof), whether or not any such Event of Default is caused intentionally by a
                           Borrower or Guarantor and (b) upon the occurrence of any Event of Default
                           described in Sections 10.1(g) and (h) hereof even if Agent and Lenders do not
                           exercise their right to terminate this Agreement, but elect, at their option, to
                           provide financing to Borrowers or permit the use of cash collateral under the
                           United States Bankruptcy Code. Notwithstanding anything to the contrary
                           contained in Section 3.2(e) above, in the event of the termination of the
                           Commitments by Borrowers prior to January 10, 2020 and the full and final
                           repayment of all of the Obligations (other than unasserted contingent
                           indemnification obligations) and the receipt by Agent of cash collateral all as
                           provided in Section 14.1(a) hereof (or a letter of credit, at Agent’s option, as
                           provided therein) with the proceeds of the sale of all or substantially all of the
                           assets of the Borrowers or the Voting Stock of Parent or of one or more of the
                           Borrowers that would result in a Change of Control under one or more of the
                           clauses of the definition thereof or with the proceeds of a Qualifying IPO,



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                                 Borrowers shall not be required to pay the fee provided for in Section 3.2(e)
                                 above.

                                 See Loan Agreement § 3.2.
 Budget                          Borrowers shall deliver to Agent, in form and substance satisfactory to Agent,
 Bankruptcy Rule 4001            the following:
 (c)(1)(B)
                                 (i)       on the Petition Date, a 13-week statement of availability, cash receipts
                                 and disbursements for the immediately following consecutive 13 weeks (the
                                 “Initial Budget Period”), set forth on a weekly basis, including the anticipated
                                 uses of the Financing Agreements for such period (the “Budget”, as may be
                                 updated, amended or modified from time to time with the written consent of the
                                 Agent); and on or before April 5, 2019 an amendment to the Budget, in form
                                 and substance acceptable to the Agent, updating the Budget to include the 13-
                                 week period immediately following the Initial Budget Period. Subsequent
                                 amendments shall be delivered to the Agent, in form and substance satisfactory
                                 to the Agent, two weeks prior to the final day of the Budget then in effect,
                                 updating the Budget to include the subsequent thirteen (13) week period. Upon
                                 approval by the Agent, such budget shall be deemed to be the Budget for the
                                 next thirteen (13) week period;
                                 (ii)      commencing on the Wednesday following the second full week
                                 following the Petition Date, a weekly variance/reconciliation report on the
                                 Wednesday of each week setting forth on a weekly basis for the prior week and
                                 on a cumulative basis from the Petition Date through the fourth (4th) full week
                                 after the Petition Date and then on a rolling four (4) week basis at all times
                                 thereafter (each of the forgoing, a “Measurement Period”), (i) a comparison of
                                 the actual results to the projected amounts set forth in the Budget during such
                                 periods for the following line items: (A) total cash receipts, and (B) total
                                 disbursements, noting therein variances from amounts set forth for such periods
                                 in the Budget; and (ii) an explanation for all material variances, in form
                                 satisfactory to the Agent and certified by the chief financial officer of the
                                 Company (“DIP Variance Report”); provided that prior to the entry of an interim
                                 order approving the Store Closing Liquidation Agreement, the total cash receipts
                                 line item shall be tested without regard to the proceeds from Store Closing GOB
                                 Sales. The DIP Variance Report shall also note any variances with values set
                                 forth in the Budget as of the day of such report/reconciliation; and
                                 (iii)   a monthly update of financial projections on the 15th day of each
                                 month, setting forth updated projections for each line item of the Budget.
                                 See Ratification Agreement §5.3.
 Variance Covenant               Each Debtor acknowledges, confirms and agrees that the following covenants
 Bankruptcy Rule 4001(c)(l)(B)   shall be tested pursuant to the DIP Variance Report for the applicable
                                 Measurement Period ending as of each Saturday, with such testing commencing
                                 on the Wednesday following the first full two (2) weeks ending after the Petition
                                 Date: (i) the actual total cash receipts shall not be less than eighty five percent
                                 (85%) of the projected total cash receipts set forth in the Budget as set forth in
                                 line item of the Budget titled “Total Receipts” in respect of such Measurement
                                 Period, and (ii) the actual total cash disbursements shall not be more than fifteen
                                 percent (15%) of the projected total cash disbursements as set forth in line item
                                 of the Budget titled “Total Disbursements” in respect of such Measurement
                                 Period.
                                 See Ratification Agreement § 5.3(b).


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       Bankruptcy Code                                              DIP Facility
 Liens and Priorities            Lien Priority in Collateral. The liens and security interests of Agent and Lenders
 Bankruptcy Rule                 granted under the Financing Agreements and the Interim Order in the Collateral
 4001(c)(l)(B)(i)                securing all Post-Petition Obligations (as defined in the Loan Agreement) shall
                                 be first and senior in priority to all other interests and liens of every kind, nature
                                 and description, whether created consensually, by an order of the Court or
                                 otherwise, including, without limitation, liens or interests granted in favor of
                                 third parties in conjunction with §§ 363, 364, or any other section of the
                                 Bankruptcy Code or other applicable law; provided, however, that Agent’s and
                                 Lenders’ liens on and security interests in the Collateral shall be subject only to
                                 (a) Permitted Liens, and (b) the Carve-Out (as defined below).
                                 See Interim Order ¶ 2.1(b)
 Events of Default               Usual and customary for financings of this type, including non-payment of
 Bankruptcy Rule 4001(c)(l)(B)   obligations, failure to observe a covenant, intentional breach of a covenant,
                                 breach of representations and warranties, judgment defaults, dissolution or
                                 suspension of a Borrower or Guarantor which is a partnership, limited liability
                                 company, limited liability partnership, or corporation, any default in respect of
                                 any Indebtedness in an amount in excess of $15,000,000, any default under an
                                 Material Contract which has a Material Adverse Effect, suspension of payments
                                 from a Credit Card Issuer or Credit Card Processor to any Borrower to Guarantor
                                 (other than due to certain bankruptcy events), failure of a bank at which any
                                 deposit account is maintained to comply with material terms of any Deposit
                                 Account Control Agreement, any material provision of the Financing
                                 Agreements ceasing to be valid or any party (other than Agent) shall challenge
                                 the enforceability of such terms in writing, failure to comply with ERISA rules
                                 and regulations resulting in liability in excess of $15,000,000, change in control,
                                 indictment or threatened indictment by any government authority, termination
                                 of one or more real property leases, an event of default under any of the other
                                 Financing Agreements; event of default under the Financing Order; termination
                                 or non-renewal of the Financing Agreements as provided for in any Financing
                                 Order; Borrower or Guarantor suspension of business; act occurring after
                                 Petition Date reasonably expected to have a Material Adverse Effect; conversion
                                 from Chapter 11 Cases to Chapter 7; dismissal of the Chapter 11 Cases; grant of
                                 certain liens superior in priority other than permitted under Loan Agreement;
                                 failure of Borrower or Guarantor to comply with any Financing Order; any
                                 Financing Order is revoked/remanded/etc; failure of Borrowers to comply with
                                 certain DIP Milestones; appointment of trustee for Borrowers or Guarantors in
                                 the Chapter 11 Cases; any administrative expense claim with higher priority or
                                 in parity to rights of Agent; plan of reorganization confired without Agent’s
                                 consent; tested items in Budget adversely deviate more than 15%; and material
                                 adverse change in business of Borrowers or Guarantors.


                                 See Ratification Agreement § 11.5; Loan Agreement § 10.1.
 Indemnification                 Each Borrower and Guarantor shall, jointly and severally, indemnify and hold
 Bankruptcy Rule                 Collateral Agent, Agent, each Lender and Issuing Bank, and their respective
 4001(c)(1)(B)(ix)               officers, directors, agents, employees, advisors and counsel and their
                                 respective Affiliates (each such person being an “Indemnitee”), harmless from
                                 and against any and all losses, claims, damages, liabilities, costs or expenses
                                 (including attorneys’ fees and expenses) imposed on, incurred by or asserted
                                 against any of them in connection with any litigation, investigation, claim or
                                 proceeding commenced or threatened related to the negotiation, preparation,
                                 execution, delivery, enforcement, performance or administration of this
                                 Agreement, any other Financing Agreements, or any undertaking or

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                           proceeding related to any of the transactions contemplated hereby or any act,
                           omission, event or transaction related or attendant thereto, including amounts
                           paid in settlement, court costs, and the fees and expenses of counsel except that
                           Borrowers and Guarantors shall not have any obligation under this Section
                           11.5 to indemnify an Indemnitee with respect to a matter covered hereby
                           resulting from the gross negligence or willful misconduct of such Indemnitee
                           as determined pursuant to a final, non-appealable order of a court of competent
                           jurisdiction (but without limiting the obligations of Borrowers or Guarantors as
                           to any other Indemnitee (other than any officers, directors, agents or
                           employees of the Indemnitee whose gross negligence or willful misconduct
                           resulted in such losses, claims, damages, liabilities, costs or expenses)). To the
                           extent that the undertaking to indemnify, pay and hold harmless set forth in
                           this Section may be unenforceable because it violates any law or public policy,
                           Borrowers and Guarantors shall pay the maximum portion which it is
                           permitted to pay under applicable law to Collateral Agent, Agent and Lenders
                           in satisfaction of indemnified matters under this Section. To the extent
                           permitted by applicable law, no Borrower or Guarantor shall assert, and each
                           Borrower and Guarantor hereby waives, any claim against any Indemnitee, on
                           any theory of liability for special, indirect, consequential or punitive damages
                           (as opposed to direct or actual damages) arising out of, in connection with, or
                           as a result of, this Agreement, any of the other Financing Agreements or any
                           undertaking or transaction contemplated hereby. No Indemnitee referred to
                           above shall be liable for any damages arising from the use by unintended
                           recipients of any information or other materials distributed by it through
                           telecommunications, electronic or other information transmission systems in
                           connection with this Agreement or any of the other Financing Agreements or
                           the transaction contemplated hereby or thereby, except for damages resulting
                           from the gross negligence or willful misconduct of such Indemnitee as
                           determined pursuant to a final, non-appealable order of a court of competent
                           jurisdiction (but without limiting the exculpation as to any other Indemnitee
                           (other than any officers, directors, agents or employees of the Indemnitee
                           whose gross negligence or willful misconduct resulted in such
                           damages)). All amounts due under this Section shall be payable upon demand.
                           The foregoing indemnity shall survive the payment of the Obligations and the
                           termination or non-renewal of this Agreement.

                           See Loan Agreement § 11.5




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                                         Prepetition Capital Structure 5

          14.      As of the Petition Date, the Debtors have approximately $403 million in total

funded debt obligations, consisting of approximately $289 million and $30 million in two senior

secured asset-based revolving loans (the “Revolving Loans A” and “Revolving Loans A-1,”

respectively), $49 million outstanding under an asset-based term loan (the “Term Loan B”), and

$34.4 million outstanding under another asset-based term loan (the “Term Loan B-1,” and,

together with the Revolving Loans, Revolving A-1 Loans, and the Term Loan, B, the “Pre-Petition

Loan Agreement”). The following table depicts the Debtors’ prepetition capital structure:

                                                                              Outstanding Principal
                     Funded Debt                          Maturity
                                                                                    Amount
                 Revolving Loans A                       June 2020               $289,228,220
                Revolving Loans A-1                      June 2020                $30,000,000
                   Term Loan B                           June 2020                $49,055,312
                  Term Loan B-1                          June 2020                $34,416,375
                 Total Funded Debt:                                    $402,699,907

II.       Pre-Petition Loan Agreement

          15.      The Debtors, as borrowers and guarantors, the revolving loan lenders party thereto

(the “Prepetition ABL Lenders”), the term loan lenders party thereto (the “Prepetition Term Loan

B Lenders,” or “Prepetition Term Loan B-1 Lenders,” as applicable, and together with Prepetition

ABL Lenders, the “Prepetition Lenders”), Wells Fargo Bank, N.A., as administrative agent and

collateral agent for the Revolving Loans A, Revolving Loans A-1, and Term Loan B, Spirit Realty

L.P. (“Spirit”), as the administrative agent and collateral agent for the Term Loan B-1 (Wells Fargo

Bank, N.A. and Spirit collectively, in such capacities, the “Credit Agreement Agents” and together



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      The following summary is qualified in its entirety by reference to the operative documents, agreements, schedules,
      and exhibits. In the event of inconsistency between this summary (including the defined terms therein) and such
      documents, the source documents shall control and govern.


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with the Prepetition Lenders, the “Prepetition Secured Parties”), are parties to that certain Third

Amended and Restated Credit Agreement, dated as of February 7, 2012 (as further amended,

restated, supplemented, or otherwise modified from time to time, the “Pre-Petition Loan

Agreement”) governing the Pre-Petition Loan Agreement.

       A.      Revolving Loans

       16.     The Pre-Petition Loan Agreement provides for a senior secured revolving credit

facility: (i) Revolving Loans A, with a maximum availability of $700 million, and (ii) a senior

secured term loan, Revolving Loans A-1, with a maximum availability of $30 million (the

Revolving Loans A and Revolving Loans A-1, together, the “Prepetition ABL Loans” and such

obligations owing thereunder the “Prepetition ABL Obligations”). The Prepetition ABL Loans

mature in June 2020. As of the Petition Date, the aggregate principal amount outstanding under

the Prepetition ABL Loans was not less than $315 million. Each of the Debtors have guaranteed

the Prepetition ABL Obligations. The Prepetition ABL Obligations are secured by a first priority

lien on substantially all of the Debtors’ assets that are not Term Loan Priority Collateral (as defined

in the Pre-Petition Loan Agreement), including accounts receivable, inventory, cash and cash

equivalents and by a second priority lien on the Debtors’ capital stock and other personal property,

including the Debtors’ intellectual property and investment contracts (all together, the “Prepetition

ABL Collateral”).

       B.      Term Loans

       17.     The Pre-Petition Loan Agreement also provides for term loans: (a) Term Loan B,

with a maximum availability of $72.5 million; and (b) Term Loan B-1, with a maximum

availability of $35 million (the Term Loan B and Term Loan B-1, together, the “Prepetition Term

Loans” and such obligations owing thereunder, the “Prepetition Term Loan Obligations”). The

Prepetition Term Loans mature in June 2020. As of the Petition Date, the aggregate principal

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amount outstanding under the Prepetition Term Loans was approximately $83.4 million. Each of

the Debtors are either borrowers of or have guaranteed the Prepetition Term Loan Obligations.

The Prepetition Term Loan Obligations are secured by first-priority liens on the Term Loan

Priority Collateral, including the Debtors’ intellectual property, equipment, and intangibles and

books and records related to the Debtors’ intellectual property and equipment (together with the

Prepetition ABL Collateral, the “Prepetition Collateral”).

                         The Debtors’ Liquidity Need and Marketing Efforts

I.       The Debtors Cannot Prudently Operate Their Business With Cash Collateral Alone

         18.      The Debtors, in consultation with their proposed restructuring advisor, Berkeley

Research Group, LLC (“BRG”), reviewed and analyzed the Debtors’ projected cash needs and

prepared a projection (as updated from time to time in accordance with the terms of the Loan

Agreement, the “Budget”) 6 outlining the Debtors’ postpetition cash needs in the initial 13 weeks

of the chapter 11 cases. The Debtors believe that the Budget and their projections provide an

accurate reflection of their funding requirements over the identified period and are reasonable and

appropriate under the circumstances.

         19.      The Debtors relied on these forecasts to determine the amount of postpetition

financing required to administer these chapter 11 cases. The DIP Facility is critical to the Debtors’

ability to operate smoothly postpetition, including by providing sufficient liquidity to fund

payments to the Debtors’ vendors and other participants in the Debtors’ supply chain to ensure the

uninterrupted flow of inventory to the Debtors’ stores and distribution centers. The Debtors

believe that the DIP Facility provides the Debtors with sufficient liquidity to stabilize their

operations and fund the administration of these chapter 11 cases as the Debtors seek to implement



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     A copy of the Budget is attached to the Interim Order as Schedule 1.

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the restructuring contemplated by the Debtors chapter 11 plan filed contemporaneously herewith

and are therefore essential to the preservation of their estates during the pendency of these cases.

See First Day Declaration, ¶ 61, 62; Spencer Declaration, ¶ 14.

       20.     The Debtors enter chapter 11 with liquidity insufficient to operate their enterprise

and continue paying their debts as they come due. See Spencer Declaration ¶ 6. The costs

associated with administering these chapter 11 cases will also impose demands on the Debtors’

liquidity. Spencer Declaration ¶ 7. Immediate access to the DIP Facility and Cash Collateral is

necessary to provide liquidity to ensure the Debtors’ businesses are stabilized and value is

maximized for the benefit of all parties in interest. See Spencer Declaration ¶ 14.

       21.     Due to minimal cash on hand, the Debtors require interim approval of the DIP

Facility to preserve and maximize the value of their estates and to position their estates to

reorganize as a going concern. Absent the immediate relief requested by this Motion, the Debtors

face a material risk of irreparable harm. Without the infusion of funds available from the DIP

Facility, access to cash collateral, and the cooperation of key business partners at this critical early

stage, the Debtors could face a value-destructive interruption to their businesses and lose support

from important stakeholders on whom the Debtors’ businesses depend—which, in turn, would

hinder the Debtors’ ability to maximize the value of their estates—and be forced to curtail their

operations significantly and to the detriment of the Debtors, their estates, and their stakeholders.

Spencer Declaration, ¶ 22.

II.    The Debtors Negotiated Their Proposed Financing in Good Faith

       22.     The Debtors retained investment banker, Houlihan Lokey Capital, Inc. (“Houlihan

Lokey”) to begin exploring balance sheet restructuring alternatives with the Debtors. With

Houlihan Lokey’s assistance, in December 2018, the Debtors approached the Prepetition Lenders

to seek additional sources of liquidity and explore restructuring options. Spencer Declaration ¶ 10.

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From that time forward, the Debtors and their advisors engaged in numerous meetings with the

Prepetition Lenders and the advisors to the Agent (the “DIP Agent Advisors”) regarding

restructuring alternatives that would strengthen the Debtors’ balance sheet and provide for the

Debtors’ swift exit from chapter 11. Spencer Declaration ¶ 8.

       23.     After a series of significant, arms’-length and good faith negotiations, the Debtors’

Prepetition Lenders agreed to provide the postpetition financing required to support the Debtors’

estates during the chapter 11 cases. Specifically, the Prepetition Lenders agreed to provide an

approximately $480 million DIP Facility on terms similar to those provided under the Pre-Petition

Loan Agreement. Additionally, upon entry of the Interim Order, certain Pre-Petition Obligations

under the Pre-Petition Loan Agreement will be “rolled-up” on a “creeping” basis and converted

into Post-Petition Obligations as the DIP Facility is drawn down. Spencer Declaration ¶ 10.

       24.     Upon entry of the Final Order, any remaining applicable Pre-Petition Obligations,

other than with respect to the Term Loans B-1, not already “rolled-up” will be converted into Post-

Petition Obligations. The roll-up of certain of the obligations under the Pre-Petition Loan

Agreement into Post-Petition Obligations was a prerequisite to the Lenders agreeing to provide

the financing necessary to support a reorganization of the Debtors’ estates. Spencer Declaration

¶¶ 10, 11.

       25.     Additionally, the Debtors’ most recent appraisal report indicated that the

Prepetition ABL Lenders and Prepetition Term Loan B Lenders were oversecured. As a result, no

parties will be harmed by the “roll-up” contemplated by this Motion, the Interim Order, the Final

Order, and the Loan Agreement. Spencer Declaration ¶¶ 11




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III.   The Proposed DIP Facility Represents the Best Available Financing Option for these
       Chapter 11 Cases

       26.     In light of the Debtors’ liquidity constraints, and contemporaneously with

negotiating the DIP Facility with the Debtors’ existing debtholders, the Debtors with the assistance

of Houlihan Lokey, ran a marketing process for alternative debtor-in-possession financing.

Spencer Declaration ¶ 15. Houlihan Lokey reached out to 17 third-party lenders, including many

well-known financing institutions, to see if any third-party would be willing to offer debtor-in-

possession financing.    See Spencer Declaration ¶ 15.      From that group, 3 parties executed

confidentiality agreements and received access to non-public information.             See Spencer

Declaration ¶ 16. Ultimately, no third-party offered a workable proposal such that it could serve

as a viable alternative to the proposed DIP Facility. See Spencer Declaration ¶ 17. Therefore, the

Debtors were unable to develop an alternative source of financing with terms as favorable as those

of the DIP Facility. Spencer Declaration ¶ 18.

       27.      The Prepetition Secured Parties assert that all of the Debtors’ material assets are

encumbered under their existing capital structure, which, along with the Debtors’ uncertain

financial condition and overall weakness in the retail industry, restricts the availability of, and

options for, postpetition financing. See Spencer Declaration ¶16. Given the collateral coverage

of the Prepetition Lenders, providing postpetition financing was not economical for many third-

party lenders. See Spencer Declaration ¶ 16-17. The Debtors did not receive any viable offers for

any such third-party DIP financing despite their marketing efforts. See Spencer Declaration ¶ 16.

At this time, the DIP Facility is the best postpetition financing option to the Debtors. See Spencer

Declaration ¶ 12.

       28.     Additionally, with any third-party proposal, the Debtors would incur execution risk

associated with a new lender transaction, including material timing and due diligence constraints,


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necessarily involving the payment of additional professional fees. In contrast, the proposed

DIP Facility offered by the Lenders allow the Debtors to avoid the need to engage in a costly and

time-consuming priming fight at the outset of these chapter 11 cases. For all of these reasons, the

DIP Facility is reasonable, appropriate, and provide the best terms presently available. Spencer

Declaration ¶ 17.

                                          Basis for Relief

I.     The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
       Financing Agreements

       A.      Entry into the Financing Agreements is an Exercise of the Debtors’ Sound
               Business Judgment

       29.     The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the Financing Agreements, obtain access to the DIP Facility, and continue

using the Cash Collateral. Section 364 of the Bankruptcy Code authorizes a debtor to obtain

secured or superpriority financing under certain circumstances that are present in these cases, as

discussed herein. Courts grant a debtor-in-possession considerable deference when acting in

accordance with its business judgment in obtaining postpetition secured credit, so long as the

agreement to obtain such credit does not run afoul of the provisions of, and policies underlying,

the Bankruptcy Code. See, e.g., In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo.

2003) (“Business judgments should be left to the board room and not to this Court”); In re Trans

World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition loan and

receivables facility because such facility “reflect[ed] sound and prudent business judgment”); In re

L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer

to the business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc.,

115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion

under section 364 is to be utilized on grounds that permit reasonable business judgment to be

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exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

process and powers or its purpose is not so much to benefit the estate as it is to benefit a party-in-

interest”).

        30.    Courts emphasize that the business judgment rule is not an onerous standard and

may be satisfied “‘as long as the proposed action appears to enhance the debtor’s estate.’”

Crystalin, LLC v. Selma Props. Inc. (In re Crystalin, LLC), 293 B.R. 455, 463–64 (B.A.P. 8th Cir.

2003) (citation omitted) (emphasis in original, text modifications removed); see also In re

AbitibiBowater, 418 B.R. 815, 831 (Bankr. D. Del. 2009) (the business judgment standard is “not

a difficult standard to satisfy”). Specifically, to determine whether the business judgment standard

is met, a court need only “examine whether a reasonable business person would make a similar

decision under similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del.

2006); see also In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting

that courts should not second guess a debtor’s business decision when that decision involves “a

business judgment made in good faith, upon a reasonable basis, and within the scope of [the

debtor’s] authority under the [Bankruptcy] Code”).

        31.    Furthermore, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003)

(while many of the terms favored the DIP lenders, “taken in context, and considering the relative

circumstances of the parties,” the court found them to be reasonable); see also Unsecured

Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. of Escanaba (In re Elingsen

McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have

to enter into “hard” bargains to acquire funds for its reorganization). The Court may also



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appropriately take into consideration non-economic benefits to the Debtors offered by a proposed

postpetition facility. For example, in In re ION Media Networks Inc., the bankruptcy court for the

Southern District of New York held that:

               Although all parties, including the Debtors and the Committee, are
               naturally motivated to obtain financing on the best possible terms, a
               business decision to obtain credit from a particular lender is almost
               never based purely on economic terms. Relevant features of the
               financing must be evaluated, including non-economic elements such
               as the timing and certainty of closing, the impact on creditor
               constituencies and the likelihood of a successful reorganization.
               This is particularly true in a bankruptcy setting where cooperation
               and establishing alliances with creditor groups can be a vital part of
               building support for a restructuring that ultimately may lead to a
               confirmable reorganization plan. That which helps foster consensus
               may be preferable to a notionally better transaction that carries the
               risk of promoting unwanted conflict.

No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009) (emphasis added).

       32.     The Debtors’ decision to move forward with the DIP Facility following an

arms’-length marketing and negotiation process is well within the Debtors’ sound business

judgment. Specifically, and in the face of insufficient cash on hand, the Debtors and their advisors

determined that the Debtors would require significant postpetition financing to support their

operational and chapter 11 activities. The Debtors negotiated the Ratification Agreement and other

Financing Agreements with the Lenders in good faith, at arms’-length, and with the assistance of

their respective advisors, and the Debtors believe that they have obtained the best financing

available. Accordingly, the Court should authorize the Debtors’ entry into the Financing

Agreements, as it is a reasonable exercise of the Debtors’ business judgment.

       B.      The Debtors Should Be Authorized to Grant Liens and Superpriority Claims

       33.     The Debtors propose to obtain financing under the DIP Facility by providing

security interests, liens, and superpriority claims as set forth in the Financing Agreements pursuant

to sections 364(c) and 364(d) of the Bankruptcy Code. Specifically, the Debtors propose to

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provide to the Lenders continuing, valid, binding, enforceable, non-avoidable, and automatically

and properly perfected postpetition security interests in and liens on the Collateral, which includes

substantially all of the Debtors’ assets.

        34.      Pursuant to sections 364(c) and 364(d) of the Bankruptcy Code, the Lenders will

receive the following security interests: 7

                          a.       The liens securing the Post-Petition Obligations (the “DIP Liens”)
                                   will be senior in priority and superior to any security, mortgage,
                                   collateral interest, lien, or claim to any of the Collateral, except that
                                   the DIP Liens shall be subject to the Carve Out in all respects and
                                   shall otherwise be junior only to the Permitted Liens.

        35.      The statutory requirement for obtaining postpetition credit under section 364(c) is

a finding, made after notice and hearing, that a debtor is “unable to obtain unsecured credit

allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C. § 364(c). See In re

Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit under section 364(c)

of the Bankruptcy Code is authorized, after notice and hearing, upon showing that unsecured credit

cannot be obtained). Courts have articulated a three-part test to determine whether a debtor is

entitled to financing under section 364(c) of the Bankruptcy Code. Specifically, courts look to

whether:

                 a.       the debtor is unable to obtain unsecured credit under section 364(b) of the
                          Bankruptcy Code, i.e., by allowing a lender only an administrative claim;

                 b.       the credit transaction is necessary to preserve the assets of the estate; and

                 c.       the terms of the transaction are fair, reasonable, and adequate, given the
                          circumstances of the debtor-borrower and proposed lenders.




7
    See Interim Order ¶ 2.1(b).


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See, e.g., In re Aqua Assocs., 123 B.R. 192, 195–96 (Bankr. E.D. Pa. 1991); In re Ames Dep’t

Stores, 115 B.R. at 37-40; see also In re St. Mary Hosp., 86 B.R. 393, 401-02 (Bankr. E.D. Pa.

1988); Crouse Grp., 71 B.R. at 549.

        36.     As described above and as set forth in the Spencer Declaration, the Debtors are in

need of an immediate capital infusion, yet substantially all of the Debtors’ existing assets are

encumbered under their existing capital structure. In light of the foregoing and following

discussions with potential lenders regarding potential postpetition financing, the Debtors, in

consultation with their advisors, concluded that the best financing option would be one that was

provided by the Debtors’ existing lenders. See Spencer Decl. ¶¶ 16, 17, 18, 19. Without

postpetition financing, the Debtors lack sufficient funds to operate their enterprise, continue paying

their debts as they come due, and cover the projected costs of these chapter 11 cases. See Spencer

Decl. ¶ 6. Absent the DIP Facility, which will provide certainty that the Debtors will have

sufficient liquidity to administer these chapter 11 cases, the value of the Debtors’ estates would be

significantly impaired to the detriment of all stakeholders. Given the Debtors’ circumstances, the

Debtors believe that the terms of the DIP Facility, as set forth in the Financing Agreements, are

fair, reasonable, and adequate, all as more fully set forth below. For all these reasons, the Debtors

submit that they have met the standard for obtaining postpetition financing.

        37.     In the event that a debtor is unable to obtain unsecured credit allowable as an

administrative expense under section 503(b)(1) of the Bankruptcy Code, section 364(c) provides

that a court “may authorize the obtaining of credit or the incurring of debt (a) with priority over

any or all administrative expenses of the kind specified in section 503(b) or 507(b) of the

Bankruptcy Code; (b) secured by a lien on property of the estate that is not otherwise subject to a

lien; or (c) secured by a junior lien on property of the estate that is subject to a lien.” As described



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above, the Debtors are unable to obtain unsecured credit. Therefore, approving superpriority

claims in favor of the Lenders is also reasonable and appropriate.

       38.     Further, section 364(d) of the Bankruptcy Code provides that a debtor may obtain

credit secured by a senior or equal lien on property of the estate already subject to a lien, after

notice and a hearing, where the debtor is “unable to obtain such credit otherwise” and “there is

adequate protection of the interest of the holder of the lien on the property of the estate on which

such senior or equal lien is proposed to be granted.” 11 U.S.C. § 364(d)(1). Consent by secured

creditors to priming obviates the need to show adequate protection. See Anchor Savs. Bank FSB

v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989) (“[B]y tacitly consenting to the superpriority

lien, those [undersecured] creditors relieved the debtor of having to demonstrate that they were

adequately protected”). Accordingly, the Debtors may incur “priming” liens under the DIP

Facility if either (a) the Prepetition Secured Parties have consented or (b) Prepetition Secured

Parties’ interests in collateral are adequately protected.

       39.     Here, the Prepetition Secured Parties have consented to the DIP Facility and, as

described herein and in the Spencer Declaration, the interest of the Prepetition Secured Parties are

adequately protected. Under Section 12.9 of the Loan Agreement, the Prepetition Secured Parties

have agreed that actions taken by the Agent that are required by the Loan Agreement are binding

on all Prepetition Lenders. Furthermore, the DIP Facility maintains the status quo with respect to

payment priority among the Prepetition Lenders. Under Section 6.4 of the Loan Agreement, the

Term Loan B-1 Agent receives payment only after the Prepetition ABL Agent and the Prepetition

Term Loan B Agent. The DIP Facility keeps such priority in place. Therefore, the relief requested

pursuant to section 364(d)(1) of the Bankruptcy Code is appropriate.




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       C.      No Comparable Alternative to the DIP Facility Is Reasonably Available

       40.     A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections afforded to potential lenders by sections 364(c) and (d) of the Bankruptcy

Code. In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber

Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Moreover, in circumstances where only

a few lenders likely can or will extend the necessary credit to a debtor, “it would be unrealistic and

unnecessary to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky

Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank FSB v.

Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Snowshoe Co., 789 F.2d at

1088 (demonstrating that credit was unavailable absent the senior lien by establishment of

unsuccessful contact with other financial institutions in the geographic area); In re Stanley Hotel,

Inc., 15 B.R. 660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two national banks refused

to grant unsecured loans was sufficient to support conclusion that section 364 requirement was

met); In re Ames Dep’t Stores, 115 B.R. at 37–39 (debtor must show that it made reasonable efforts

to seek other sources of financing under section 364(a) and (b)).

       41.     As noted above and as borne out by the marketing process, the Debtors do not

believe that any alternative sources of financing exist or are reasonably available given the realities

imposed by the Debtors’ existing capital structure and the Debtors’ unsuccessful solicitation of

alternative financing proposals. The Prepetition Lenders assert that substantially all of the

Debtors’ existing assets are encumbered under their existing capital structure. See Spencer Decl.

9. Thus, the Debtors have determined that the DIP Facility provides the most favorable terms

available to the Debtors under the circumstances to fund these chapter 11 cases. See Spencer

Declaration ¶ 18. Therefore, the Debtors submit that the requirement of section 364 of the



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Bankruptcy Code that alternative credit on more favorable terms be unavailable to the Debtors is

satisfied.

II.     The Debtors Should Be Authorized to Use Cash Collateral

        42.    Section 363 of the Bankruptcy Code generally governs the use of estate property.

Section 363(c)(2)(A) permits a debtor in possession to use cash collateral with the consent of the

secured party. Here, the Prepetition Secured Parties consent to the Debtors’ use of the Cash

Collateral (as well as the other Pre-Petition Collateral), subject to the terms and limitations set

forth in the Interim Order.

        43.    Section 363(e) provides for adequate protection against diminution in value of

interests in property when a debtor uses cash collateral.       Further, section 362(d)(1) of the

Bankruptcy Code provides for adequate protection of interests in property due to the imposition

of the automatic stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While

section 361 of the Bankruptcy Code provides examples of forms of adequate protection, such as

granting replacement liens and administrative claims, courts decide what constitutes sufficient

adequate protection on a case-by-case basis. In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564

(3d Cir. 1994); In re Rocco, 319 B.R. 411 (Bankr. W.D. Pa. 2005); In re Satcon Tech. Corp.,

No. 12-12869 (KG), 2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7, 2012); see also In re Dynaco

Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (citing 2 Collier on Bankruptcy ¶ 361.01[1] at

361–66 (15th ed. 1993) (explaining that adequate protection can take many forms and “must be

determined based upon equitable considerations arising from the particular facts of each

proceeding”)). It was the intent of Congress in Section 361 to give courts flexibility to fashion

relief in light of each case in general equitable principals. In re Wilson, 30 B.R. 371 (Bankr. E.D.

Pa. 1983).



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        44.     As set forth in the Interim Order, the Debtors propose to provide the Prepetition

Secured Parties with a variety of forms of adequate protection to protect against the postpetition

diminution in value of the Cash Collateral (as well as the Pre-Petition Collateral) resulting from

the use of the Cash Collateral (and other Pre-Petition Collateral) by the Debtors and the imposition

of the automatic stay collectively, the “Adequate Protection Obligations”), including:

                        a.       continuing, valid, binding, enforceable, non-avoidable, and
                                 perfected postpetition security interests in and liens on the
                                 Collateral;

                        b.       superpriority administrative claims under section 507(b) of the
                                 Bankruptcy Code;

                        c.       the professional fees and expenses incurred by the Agent; and

                        d.       with respect to the Prepetition ABL Lenders and Prepetition Term
                                 Loan B Lenders, payment of interest, fees, and principal due under
                                 the Prepetition ABL Loans and Prepetition Term Loan B.

        45.     The Debtors submit that the proposed Adequate Protection Obligations are

sufficient to protect the Prepetition Secured Parties from any diminution in value of the Cash

Collateral and the other Pre-Petition Collateral. In light of the foregoing, the Debtors further

submit that the proposed Adequate Protection Obligations to be provided for the benefit of the

Prepetition Secured Parties are adequate and appropriate. The Debtors’ provision of the Adequate

Protection Obligations is not only necessary to protect against any diminution in value but is fair

and appropriate under the circumstances of these chapter 11 cases to ensure the Debtors are able

to continue using the Cash Collateral, subject to the terms and limitations set forth in the Interim

Order, for the benefit of all parties in interest and their estates.

III.    The Debtors Should Be Authorized to Pay the Fees and Payments Required by the
        Agents and the Lenders Under the Financing Agreements

        46.     Under the Financing Agreements, the Debtors have agreed, subject to Court

approval, to pay certain fees and payments to the Agents and the Lenders.

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       47.     It is understood and agreed by all parties, that these fees are an integral component

of the overall terms of the DIP Facility, and were required by the Agent and the Lenders as

consideration for the extension of postpetition financing and are reasonable, customary, and

appropriate under the circumstances. See Spencer Declaration ¶ 21. Accordingly, the Court

should authorize the Debtors to pay the fees provided under the Financing Agreement in

connection with entering into those agreements.

IV.    The Repayment Feature Is Appropriate

       48.     Section 363(b) of the Bankruptcy Code permits a debtor to use, sell, or lease

property, other than in the ordinary course of business, with court approval. It is well settled that

such transactions should be approved when they are supported by a sound business purpose. See,

e.g., In re Abbots Dairies, Inc., 788 F.2d 143 (3d Cir. 1986) (holding that a debtor’s use of assets

outside the ordinary course of business under section 363(b) of the Bankruptcy Code should be

approved if the debtor can demonstrate a sound business justification for the proposed transaction).

Furthermore, conversions of prepetition claims into postpetition claims, or “roll-ups,” as well as

similar refinancings of prepetition claims with postpetition credit, may be authorized under section

363(b) of the Bankruptcy Code. See In re Capmark Fin. Grp. Inc., 438 B.R. 471, 510-11 (Bankr.

D. Del. 2010) (“Post-petition refinancing of uneconomical secured debt through a DIP loan may

be authorized by section 363(b) of the Bankruptcy Code as a use of estate property outside the

ordinary course of business . . . similarly, prepetition secured claims can be paid off through a

roll-up.”); In re Energy Future Holding Corp., 527 B.R. 157, 167 (D. Del. 2015). As the United

States District Court for the District of Delaware recently observed:

               [P]repetition secured claims can be paid off through a “roll-up.”
               Most simply, a [roll-up] is the payment of a pre-petition debt with
               the proceeds of a post-petition loan. Roll-ups most commonly arise
               where a pre-petition secured creditor is also providing a post-
               petition DIP loan under section 364(c) and/or (d) of the Bankruptcy

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                Code. The proceeds of the DIP loan are used to pay off or replace
                the pre-petition debt, resulting in a post-petition debt equal to the
                pre-petition debt plus any new money being lent to the debtor. As a
                result, the entirety of the prepetition and post-petition debt enjoys
                the post-petition protection of section 364(c) and/or (d) as well as
                the terms of the DIP order. In both a refinancing and a rollup, the
                pre-petition secured claim is paid through the issuance of new debt
                rather than from unencumbered cash.

Del. Trust Co. v. Energy Future Intermediate Holdings, LLC (In re Energy Future Holding Corp.),

2015 U.S. Dist. LEXIS 19684, 20-21 (D. Del. Feb. 9, 2015) (quoting In re Capmark Fin. Grp.,

Inc., 438 B.R. 471, 511 (Bankr. D. Del. 2010)).

        49.     Courts consider a number of factors when determining whether to authorize roll-

ups of prepetition debt into postpetition financing facilities, including whether: (a) the proposed

financing is an exercise of sound and reasonable business judgment; (b) no alternative financing

is available on any other basis; (c) the financing is in the best interests of the estate and its creditors;

(d) no better offers, bids, or timely proposals are before the court; (e) the credit transaction is

necessary to preserve the assets of the estate; (f) the terms of the transaction are fair, reasonable,

and adequate, given the circumstances of the debtor and proposed lender(s); (g) the financing is

necessary, essential, and appropriate for the continued operating of the Debtors’ business and the

preservation of their estates; and (h) the financing agreement was negotiated in good faith and at

arms’-length between the Debtors and the proposed lenders. See In re Farmland Indus., Inc., 294

B.R. at 879–80 (surveying opinions authorizing roll-ups and listing relevant factors considered by

courts in those cases).

        50.     Recognizing exigent circumstances like those described above, courts in this

Circuit and others have approved repayments funded by debtor-in-possession financing proceeds

in recent chapter 11 cases, including on the first day of the case. See, e.g., In re Payless Holdings

LLC, Case No. 17-42267 (Bankr. E.D.Mo. May 17, 2017) (authorizing $385 million DIP facility


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and a roll-up of approximately $187 million, pursuant to a final order); In re ATD Corp., No. 18-

12221 (KJC) (Bankr. D. Del. Oct. 26, 2018) (authorizing $1.23 billion DIP and a roll-up of

approximately $639 million, pursuant to interim and final orders); In re VER Technologies Holdco

LLC., et al., No. 18-10834 (KG) (Bankr. D. Del. Apr. 6, 2018) (authorizing a $364.7 million DIP

and a roll-up of $314.7 million pursuant to interim and final order); In re Remington Outdoor Co.,

Inc., No. 18-10684 (BLS) (Bankr. D. Del. Mar. 28, 2018) (authorizing approximately $338 million

DIP and a roll-up of approximately $150 million, including a full ABL roll-up of $114 million,

pursuant to interim order); In re Bon-Ton Stores, Inc., No. 18-10248 (MFW) (Bankr. D. Del. Feb.

6, 2018) (authorizing full roll-up of all $489 million outstanding prepetition revolving obligations

pursuant to interim order); In re Real Indus. Inc., No. 17-12464 (KJC) (Bankr. D. Del. Nov. 20,

2017) (authorizing approximately $365 million DIP that included a creeping roll-up pursuant to

interim order and a full roll-up pursuant to final order of approximately $266 million prepetition

debt); In re Charming Charlie, LLC, No. 17-12906 (CSS) (Bankr. D. Del. Dec. 12, 2017)

(authorizing approximately $90 million DIP that included a full ABL roll-up of approximately $22

million prepetition debt pursuant to interim order); In re Radioshack Corp., No. 15-10197 (BLS)

(Bankr. D. Del. Feb. 5, 2015) (authorizing approximately $285 million DIP and a roll-up of

approximately $250 million prepetition debt, including a full ABL roll-up of $215 million,

pursuant to interim order); In re MACH Gen, LLC, No. 14-10461 (MFW) (Bankr. D. Del. Mar. 5,

2014) (authorizing approximately $200 million DIP that included a full roll-up of approximately

$144 million prepetition debt pursuant to interim order); In re BCBG Max Azria Global Holdings

LLC, No. 17-10466 (Bankr. S.D.N.Y. Mar. 2, 2017) (authorizing a $157 million DIP and a roll-up

of $117 million, including a full ABL roll-up of $82 million pursuant to final order following a

creeping roll-up pursuant to the interim order); In re Cenveo, Inc., No. 18-22178 (Bankr. S.D.N.Y.



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Feb. 2, 2018) (authorizing a $290 million DIP, including a full ABL roll-up of $190 million,

pursuant to interim order); In re Gymboree Corporation, No. 17-32986 (Bankr. E.D. Va. June 12,

2017) (authorizing a $378 million DIP and $247 million roll-up, including a full ABL roll-up of

$177 million); In re Toys “R” US, Inc., No. 17-34665 (Bankr. E.D. Va. Sept. 20, 2017)

(authorizing a $2.3 billion DIP and a full roll-up of approximately $948 million in the prepetition

ABL and FILO facilities). 8

        51.      As set forth above, the DIP Facility includes a roll-up of certain Pre-Petition

Obligations. Under the terms of the Loan Agreement, upon entry of the Interim Order, the

Prepetition ABL Obligations will begin to roll-up into the DIP Facility. Upon entry of the Final

Order, any remaining Prepetition ABL Obligations and the Prepetition Term Loan B Obligations

will be fully converted into Post-Petition Obligations. The conversion of the Prepetition ABL

Obligations and Prepetition Term Loan B Obligations into Post-Petition Obligations will create

availability under the DIP Facility, allowing the Debtors to continue operating in the ordinary

course during these chapter 11 cases.

        52.      The repayment of the Prepetition Facility is a sound exercise of the Debtors’

business judgment, is a material component of the structure of the DIP Facility, and was required

by the Lenders as a condition to their commitment to provide postpetition financing. See Spencer

Decl. ¶¶ 11, 12. The Debtors were unable to obtain debtor-in-possession financing on similar

terms. See Spencer Decl. ¶ 16. The roll-up of the Prepetition Obligations is a condition to the DIP

Facility, without which, the Lenders would not have agreed to provide the DIP Facility. See

Spencer Decl. ¶ 11. Absent funds available from the DIP Facility, access to cash collateral, and



8
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request of the Debtors’ proposed counsel.


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the cooperation of key business partners at this critical early stage, the Debtors could face a value-

destructive interruption to their businesses and lose support from important stakeholders on whom

the Debtors’ businesses depend—which, in turn, would hinder the Debtors’ ability to maximize

the value of their estates—and be forced to curtail their operations significantly and to the

detriment of the Debtors, their estates, and their creditors. See Spencer Decl. ¶ 22. Preserving the

ability to continue as a going concern is of immense benefit to the Debtors’ estates and

stakeholders.

       53.      The Debtors and their advisors reviewed an analysis of the Debtors’ assets from a

reputable appraisal firm, which indicated that the Prepetition ABL Lenders and Prepetition Term

Loan B Lenders are oversecured. The Debtors agreed to roll-up the Prepetition ABL Obligations

because, among other things, it (a) will not prejudice the Debtors’ stakeholders and (ii) provides

significant benefits to the Debtors’ estates. A prepetition ABL facility that is oversecured and

which is being rolled up into another ABL facility—in other words, an ABL-to-ABL roll-up—

does not harm the Debtors’ stakeholders—including the general unsecured creditors—because the

only variable is timing, not certainty, of repayment. Courts in place particular importance on

whether a prepetition secured creditor is oversecured in determining whether to approve a roll-up.

See, e.g., In re Real Industry, Inc., No. 17-12464 (KJC) (Bankr. D. Del. Nov. 20, 2017), Hr’g Tr.

39:9-19 (“So, let’s talk about the roll-up. I had the same issue on Friday and I did something that,

as you might imagine, a Court would be reluctant to do, and I approved the roll-up on the first day,

and I did it in those circumstances in which there didn’t seem to be any dispute over whether that

lender that was the beneficiary of the roll-up was oversecured.”); In re Velocity Holding Company,

Inc., No. 17-12442 (KJC) (Bankr. D. Del. Nov. 17, 2017), Hr’g Tr. 38:1-2 (court remarking that

whether a secured creditor is oversecured “directly affects whether they should have a roll-up”);



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In re Pacific Sunwear of California, Inc., No. 16- 10882 (LSS) (Bankr. D. Del. April 8, 2016),

Hr.’g Tr. 65:7-17 (“[A]s noted in the colloquia of counsel, Wells Fargo has the first [lien] on all

the current assets and they are, it has been represented to me, over-secured. So in that event I don’t

see the harm in letting this [roll-up of prepetition obligations] go out on first day.”). Furthermore,

the roll-up of the Prepetition Obligations is subject to review and challenge—and potentially to

being unwound—by a creditors’ committee, if appointed, or another party-in-interest with

requisite standing if a committee is not appointed. The DIP Facility, in addition to providing

critical access to funding throughout the chapter 11 cases, also provides the Debtors with other

important benefits. Significantly, certain of the Lenders have indicated they would be willing to

convert their Post-Petition Obligations into an exit facility under the Debtors’ Plan. Having an

interested partner early in the chapter 11 cases sends a strong and positive message to the Debtors’

constituencies that they are already beginning to lay the groundwork to emerge with sufficient

liquidity to implement their reorganization strategy.

       54.     The simple economic reality is that a peaceful, going concern transition into chapter

11 comes at a price, which in this case the Debtors believe to be reasonable. The Prepetition

Lenders are unlikely to continue to lend postpetition without some assurance regarding their

prepetition claims. Absent the Prepetition Lenders’ support, the first month of the Debtors’ chapter

11 cases would likely devolve into a costly priming fight, severely jeopardizing the Debtors’ ability

to seek a plan sponsor and emerge as a going concern.

       55.     Thus, after careful consideration of all available alternatives, the Debtors have

determined that conversion of the applicable Pre-Petition Obligations into Post-Petition

Obligations is necessary to obtain access to the liquidity necessary to preserve the value of their

business for the benefit of all stakeholders.



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V.     The Lenders Should Be Deemed Good-Faith Lenders Under Section 364(e)

       56.     Section 364(e) of the Bankruptcy Code protects a good-faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt,
               or of a grant under this section of a priority or a lien, does not affect
               the validity of any debt so incurred, or any priority or lien so granted,
               to an entity that extended such credit in good faith, whether or not
               such entity knew of the pendency of the appeal, unless such
               authorization and the incurring of such debt, or the granting of such
               priority or lien, were stayed pending appeal.

       57.     As explained herein, and in the Spencer Declaration, the Financing Agreement are

the result of extensive good-faith, arms’-length negotiations between the Debtors, the Agents and

the Lenders. Spencer Declaration, ¶ 10. The terms and conditions of the Financing Agreements

are reasonable and appropriate under the circumstances, and the proceeds of the DIP Facility will

be used only for purposes that are permissible under the Bankruptcy Code.                  Further, no

consideration is being provided to any party to the Financing Agreements other than as described

herein. Accordingly, the Court should find that the Lenders are “good-faith” lenders within the

meaning of section 364(e) of the Bankruptcy Code and are entitled to all of the protections afforded

by that section.

VI.    The Automatic Stay Should Be Modified on a Limited Basis

       58.     The proposed Interim Order provides that the automatic stay provisions of

section 362 of the Bankruptcy Code will be modified to allow the Lenders to file any financing

statements, security agreements, notices of liens, and other similar instruments and documents in

order to validate and perfect the liens and security interests granted to them under the Interim


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Order. The proposed Interim Order further provides that the automatic stay is modified as

necessary to permit the Debtors to grant the DIP Liens to the Lenders and to incur all liabilities

and obligations set forth in the Interim Order. Finally, the proposed Interim Order provides that,

following the occurrence of an Event of Default, the automatic stay shall be vacated and modified

to the extent necessary to permit the Agent to exercise all rights and remedies in accordance with

the Financing Agreements, or applicable law.

          59.   Stay modifications of this kind are ordinary and standard features of debtor-in-

possession financing arrangements and cash collateral orders and, in the Debtors’ business

judgment, are reasonable and fair under the circumstances of these chapter 11 cases. See, e.g., In

re Gordmans Stores Inc., Case No. 17-80304 (Bankr. D. Neb. March 17, 2017) (modifying the

automatic stay as necessary to effectuate the terms of the order); In re Payless Holdings LLC, Case

No. 17-42267 (Bankr. E.D.Mo. May 17, 2017) (same); In re Charming Charlie, LLC, No. 17-

12906 (CSS) (Bankr. D. Del. Dec. 12, 2017) (same); In re Magnum Hunter Res. Corp., No. 15-

12533 (KG) (Bankr. D. Del. Dec. 15, 2015) (terminating automatic stay after event of default); In

re Peak Broad., LLC, No. 12-10183 (PJW) (Bankr. D. Del. Feb. 2, 2012) (terminating automatic

stay after occurrence of termination event); In re TMP Directional Mktg., LLC, No. 11-13835

(MFW) (Bankr. D. Del. Jan. 17, 2012) (modifying automatic stay as necessary to effectuate the

terms of the order); In re Broadway 401 LLC, No. 10-10070 (KJC) (Bankr. D. Del. Feb. 16, 2010)

(same); In re Haights Cross Commc’ns, Inc., No. 10-10062 (BLS) (Bankr. D. Del. Feb. 8, 2010)

(same).

VII.      Failure to Obtain Immediate Interim Access to the DIP Facility and Cash Collateral
          Would Cause Immediate and Irreparable Harm

          60.   Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

obtain credit pursuant to section 364 of the Bankruptcy Code or to use cash collateral pursuant to


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section 363 of the Bankruptcy Code may not be commenced earlier than 14 days after the service

of such motion. Upon request, however, the Court may conduct a preliminary, expedited hearing

on the motion and authorize the obtaining of credit and use of cash collateral to the extent necessary

to avoid immediate and irreparable harm to a debtor’s estate.

        61.     For the reasons noted above, the Debtors have an immediate postpetition need to

use Cash Collateral, and access the liquidity provided by the DIP Facility. The Debtors cannot

maintain the value of their estates during the pendency of these chapter 11 cases without access to

cash. The Debtors will use cash, among other things, to fund the operation of their business,

including to ensure that vendors continue to manufacture and ship inventory, and to fund the

administration of these chapter 11 cases.        Substantially all of the Debtors’ available cash

constitutes the Prepetition Secured Parties’ Cash Collateral. The Debtors will therefore be unable

to operate their business or otherwise fund these chapter 11 cases without access to Cash Collateral,

and will suffer immediate and irreparable harm to the detriment of all creditors and other parties

in interest. In short, the Debtors’ ability to administer these chapter 11 cases through the use of

Cash Collateral is vital to preserve and maximize the value of the Debtors’ estates.

        62.     The Debtors request that the Court conduct a hearing to consider entry of the

Interim Order authorizing the Debtors, from and after entry of the Interim Order until the Final

Hearing, to receive initial funding under the DIP Facility on the terms and conditions set forth in

the Interim Order. This relief will enable the Debtors to preserve and maximize value and,

therefore, avoid immediate and irreparable harm and prejudice to their estates and all parties in

interest. See Spencer Declaration ¶ 22.

                                     Request for Final Hearing

        63.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing that is as soon as practicable, and in no event after 30 days

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after the Petition Date, and fix the time and date prior to the Final Hearing for parties to file

objections to this Motion.

                       Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       64.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).

                                      Reservation of Rights

       65.     Nothing contained herein is intended or shall be construed as: (a) an admission as

to the amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy Code

or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim, (c) a promise or requirement to pay any particular claim; (d) an

implication or admission that any particular claim is of a type specified or defined in this Motion;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability,

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; or (g) a waiver of any claims or causes of action which may exist against any entity under

the Bankruptcy Code or any other applicable law.

                                              Notice

       1.      The Debtors have provided notice of this Motion to the following parties or their

respective counsel: (a) the office of the U.S. Trustee for the District of Nebraska; (b) the holders

of the 30 largest unsecured claims against the Debtors (on a consolidated basis); (c) the agents

under the Debtors’ prepetition asset-based facility; (d) the agents under the proposed DIP Facility;

(e) the agents under the Debtors’ prepetition term loan facility; (f) the Internal Revenue Service;

(g) the United States Securities and Exchange Commission; (h) the office of the attorneys general

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for the states in which the Debtors operate; (i) the United States Attorney’s Office for the District

of Nebraska; and (j) any party that has requested notice pursuant to Bankruptcy Rule 2002. The

Debtors submit that, in light of the nature of the relief requested, no other or further notice need

be given.

                                        No Prior Request

       2.      No prior request for the relief sought in this Motion has been made to this or any

other court.

                               [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the DIP Orders,

granting the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.

Dated: January 16, 2019            /s/ Michael T. Eversden
 Omaha, Nebraska                   James J. Niemeier (NE Bar No. 18838)
                                   Michael T. Eversden (NE Bar No. 21941)
                                   Lauren R. Goodman (NE Bar No. 24645)
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                                   - and -
                                   James H.M. Sprayregen, P.C.
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                                   Travis M. Bayer (pro hac vice pending)
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                                   Proposed Co-Counsel to the Debtors
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                                     Exhibit A

                               Ratification Agreement
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                                                                                     [Execution]


                    RATIFICATION AND AMENDMENT AGREEMENT


         This RATIFICATION AND AMENDMENT AGREEMENT (as the same may hereafter
be amended, modified, supplemented, extended, renewed, restated or replaced, the “Ratification
Agreement”), dated as of January 16, 2019, is by and among Wells Fargo Bank, National
Association, successor by merger to Wachovia Bank, National Association, a national banking
association (“Wells Fargo”), in its capacity as agent for the Lenders (as hereinafter defined)
pursuant to the Loan Agreement defined below (in such capacity, “Agent”), Wells Fargo, in its
capacity as agent for the Term Loan B Lenders (in such capacity, “Term Loan B Agent” and
collectively with Agent, the “Agents”), Shopko Note Holding, LLC, a Delaware limited liability
company, successor to Spirit Realty L.P., in its capacity as agent for the Term Loan B-1 Lenders
(in such capacity, “Term Loan B-1 Agent”), the parties to the Pre-Petition Loan Agreement as
lenders (individually, each a “Lender” and collectively, “Lenders”), Wells Fargo, in its capacity
as Collateral Agent (in such capacity, “Collateral Agent”), Wells Fargo, in its capacity as
Issuing Bank (in such capacity, “Issuing Bank”), ShopKo Properties, LLC, a Minnesota limited
liability company, as Debtor and Debtor-in-Possession (“Properties”), Penn-Daniels, LLC, a
Delaware limited liability company, as Debtor and Debtor-in-Possession (“Penn”), ShopKo
Stores Operating Co., LLC, a Delaware limited liability company, as Debtor and Debtor-in-
Possession (“ShopKo Operating”), ShopKo Holding Company, LLC, a Wisconsin limited
liability company formerly known as ShopKo Holding Company, Inc. , as Debtor and Debtor-in-
Possession (“ShopKo Holdco”), ShopKo Optical Manufacturing, LLC, a Wisconsin limited
liability company, as Debtor and Debtor-in-Possession (“Optical”), Specialty Retail Shops
Holding Corp., a Delaware corporation formerly known as SKO Group Holding Corp. , as
Debtor and Debtor-in-Possession (“Parent”), ShopKo Institutional Care Services Co., LLC, a
Delaware limited liability company, as Debtor and Debtor-in-Possession (“ShopKo
Institutional”), Retained R/E SPE, LLC, a Delaware limited liability company, as Debtor and
Debtor-in-Possession (“Retained R/E”), Pamida Stores Operating Co., LLC, a Delaware limited
liability company, as Debtor and Debtor-in-Possession (“Pamida Operating”, and together with
Properties, Penn, ShopKo Operating, ShopKo Holdco, Optical, Parent, ShopKo Institutional and
Retained R/E, each individually a “Borrower” and collectively, “Borrowers”), ShopKo
Finance, LLC, a Delaware limited liability company, as Debtor and Debtor-in-Possession
(“ShopKo Finance”), SVS Trucking, LLC, a Minnesota limited liability company, as Debtor
and Debtor-in-Possession (“SVS”), ShopKo Gift Card Co., LLC, a Minnesota limited liability
company, as Debtor and Debtor-in-Possession (“GiftCard”), Pamida Transportation, LLC, a
Nebraska limited liability company, as Debtor and Debtor-in-Possession (“Transportation”),
and Place’s Associates’ Expansion, LLC, a Missouri limited liability company, as Debtor and
Debtor-in-Possession (“Expansion”, and together with ShopKo Finance, SVS, GiftCard and
Transportation, each individually a “Guarantor” and collectively, “Guarantors”).

                                     W I T N E S S E T H:

        WHEREAS, Borrowers and Guarantors (collectively, the “Debtors”) have commenced
cases under Chapter 11 of the Bankruptcy Code (as defined herein) in the United States
Bankruptcy Court for the District of Nebraska and each Borrower and each Guarantor has
retained possession of its assets and is authorized under the Bankruptcy Code to continue the
operation of its businesses as a debtor-in-possession;


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      WHEREAS, prior to the commencement of the Chapter 11 Case (as defined below),
Agent and Lenders made loans and advances and provided other financial or credit
accommodations to Borrowers secured by substantially all assets and properties of Borrowers
and Guarantors as set forth in the Pre-Petition Financing Agreements (as defined below);

        WHEREAS, the Debtors are requesting that the Bankruptcy Court enter a Financing
Order (defined below) pursuant to which Agent and Lenders may make post-petition loans and
advances, and provide other financial accommodations, to Borrowers secured by substantially all
the assets and properties of Borrowers and Guarantor as set forth in the Financing Order and the
Financing Agreements (as defined below);

        WHEREAS, Borrowers and Guarantors have requested that Agent and Lenders make
post-petition loans and advances and provide other financial or credit accommodations to
Borrowers and make certain amendments to the Pre-Petition Loan Agreement (as defined below)
and the other Pre-Petition Financing Agreements, and Agent and Lenders are willing to do so,
subject to the terms and conditions contained herein; and

         WHEREAS, Borrowers and Guarantors desire to reaffirm their obligations to Agent and
Lenders pursuant to the Pre-Petition Financing Agreements and acknowledge their continuing
liabilities to Agent and Lenders thereunder in order to induce Agent and Lenders to make such
post-petition loans and advances, and provide other financial accommodations, to Borrowers
secured by substantially all the assets and properties of Borrowers and Guarantors set forth in the
Financing Order.

        NOW, THEREFORE, in consideration of the foregoing, the mutual covenants and
agreements contained herein and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, Agents, Term Loan B-1 Agent, Collateral Agent,
Issuing Banks, Lenders, Borrowers, and Guarantors mutually covenant, warrant and agree as
follows:

            1.   DEFINITIONS.

               1.1     Additional Definitions. As used herein, the following terms shall have the
respective meanings given to them below and the Pre-Petition Loan Agreement and the other
Pre-Petition Financing Agreements shall be deemed and are hereby amended to include, in
addition and not in limitation, each of the following definitions:

                            “Adequate Protection           Liens”    means     the   “Pre-Petition
Replacement Lien” as defined in the Financing Order.

                               “Bankruptcy Court” means the United States Bankruptcy Court
or the United States District Court for the District of Nebraska.

                               “Bankruptcy Code” means the United States Bankruptcy Code,
being Title 11 of the United States Code as enacted in 1978, as the same has heretofore been or
may hereafter be amended, recodified, modified or supplemented, together with all rules,
regulations and interpretations thereunder or related thereto.

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                            “Bankruptcy Events” means the commencement of the Chapter
11 Cases, the events and conditions leading up to the commencement of the Chapter 11 Cases,
the Store Closing GOB Sales, and the Rx Sale.

                             “Budget” means the thirteen (13) week budget delivered to Agent
in accordance with Section 5.3 of the Ratification Agreement (a summary of such initial Budget
attached to the Ratification Agreement as Exhibit A, in form and substance approved by the
Agent), together with any subsequent or amended budgets thereto delivered to Agent and
Lenders, in form and substance reasonably satisfactory to Agent (each such subsequent budget, a
“Budget”), in accordance with the terms and conditions of the Ratification Agreement.

                             “Carve-Out” shall have the meaning set forth in the Financing
Order.

                             “Chapter 11 Case” or “Chapter 11 Cases” means the cases
under Chapter 11 of the Bankruptcy Code commenced by Debtors which are being jointly
administered under the Bankruptcy Code and are pending in the Bankruptcy Court.

                             “Committee” means any official committee of unsecured creditors
in the Chapter 11 Case pursuant to Section 1102 of the Bankruptcy Code.

                            “Debtors” means, collectively, Borrowers and Guarantors, each as
Debtor and Debtor-in-Possession in the Chapter 11 Case.

                              “DIP Fee Letter” means the Fee Letter, dated as of the
Ratification Closing Date, by and among Borrowers and Agent.

                              “DIP Milestones” has the meaning specified therefor in Section
5.4 of the Ratification Agreement.

                               “Excluded Contracts” has the meaning specified therefor in the
definition of Post-Petition Collateral.

                              “Financing Order” means, as applicable, the Interim Financing
Order, the Permanent Financing Order and such other orders relating thereto or authorizing the
granting of credit by Agent and Lenders to Borrowers on an emergency, interim or permanent
basis pursuant to Section 364 of the Bankruptcy Code as may be issued or entered by the
Bankruptcy Court in the Chapter 11 Case.

                             “Interim Financing Order” means, the order of the Bankruptcy
Court entered in the Chapter 11 Case after an interim hearing, in the form attached hereto as
Exhibit B and/or otherwise in form and substance satisfactory to the Agent, together with all
supplements, modifications, and amendments thereto consented to by the Agent, which, among
other matters but not by way of limitation, authorizing, on an interim basis, the Borrowers to
execute and perform under the terms of the Pre-Petition Financing Agreements, as amended and
supplemented by the terms and conditions of the Ratification Agreement.



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                            “Loan Agreement” means, the Pre-Petition Loan Agreement as
ratified, amended, supplemented and otherwise modified by the Ratification Agreement, as the
same now exists or may hereafter be amended from time to time.

                               “Permanent Financing Order” means, the order of the
Bankruptcy Court entered in the Chapter 11 Case after a final hearing of the Bankruptcy Court,
which order shall be in form and substance satisfactory to the Agent and from which no appeal
or motion to reconsider has been filed, together with all supplements, modifications and
amendments thereto, consented to by the Agent, which among other matters, but not by way of
limitation, authorizes the Borrowers to obtain credit, incur the Post-Petition Obligations, assume
or otherwise “roll-up” all Pre-Petition Obligations, and grant liens therefor and granting super-
priority expense claims to Agent and Lenders with respect to all obligations due Agent and
Lenders, subject to no priority claim or administrative expenses of the Chapter 11 Case or any
other entity (other than the Carve-Out and Pre-Petition Priority Liens).

                                “Petition Date” means the date of the commencement of the
Chapter 11 Case.

                               “Plan of Reorganization” has the meaning specified therefor in
Section 5.4 of the Ratification Agreement.

                               “Post-Petition Collateral” means, collectively, all now existing
and hereafter acquired real and personal property of each Debtor’s estate, wherever located, of
any kind, nature or description, including any such property in which a lien is granted to Agent
or Collateral Agent pursuant to the Financing Agreements, the Financing Order or any other
order entered or issued by the Bankruptcy Court, and shall include, without limitation:

                                (i)      all of the Pre-Petition Collateral;

                                (ii)     all Accounts;

                                (iii)    all general intangibles, including, without limitation, all
Intellectual Property;

                            (iv)     all goods, including, without limitation, Inventory and
Equipment but excluding fixtures (as such term is defined in the UCC);

                                (v)      all Real Property and fixtures;

                                (vi)     all chattel paper, including, without limitation, all tangible
and electronic chattel paper;

                                (vii)    all   instruments,    including,      without   limitation,   all
promissory notes;

                                 (viii) all documents and all credit card sales drafts, credit card
sales slips or charge slips or receipts and other forms of store receipts;


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                               (ix)    all deposit accounts;

                              (x)      all letters of credit, banker’s acceptances and similar
instruments and including all letter-of-credit rights;

                                (xi)     all supporting obligations and all present and future liens,
security interests, rights, remedies, title and interest in, to and in respect of Receivables and other
Collateral, including (A) rights and remedies under or relating to guaranties, contracts of
suretyship, letters of credit and credit and other insurance related to the Collateral, (B) rights of
stoppage in transit, replevin, repossession, reclamation and other rights and remedies of an
unpaid vendor, lienor or secured party, (C) goods described in invoices, documents, contracts or
instruments with respect to, or otherwise representing or evidencing, Receivables or other Post-
Petition Collateral, including returned, repossessed and reclaimed goods, and (D) deposits by and
property of account debtors or other persons securing the obligations of account debtors;

                                (xii) all (A) investment property (including securities, whether
certificated or uncertificated, securities accounts, security entitlements, commodity contracts or
commodity accounts) and (B) monies, credit balances, deposits and other property of each
Debtor now or hereafter held or received by or in transit to any Agent, any Lender or its
Affiliates or at any other depository or other institution from or for the account of each Debtor,
whether for safekeeping, pledge, custody, transmission, collection or otherwise;

                               (xiii) all commercial tort claims, including, without limitation,
those identified in the Information Certificate;

                               (xiv)   to the extent not otherwise described above, all
Receivables;

                               (xv)     all Prescription Files and other Records;

                               (xvi)   all proceeds of any Excluded Contract;

                                (xvii) effective upon entry of a Permanent Financing Order, all
claims, rights, interests, assets and properties recovered by or on behalf of each Borrower and
Guarantor or any trustee of such Borrower or Guarantor (whether in the Chapter 11 Case or any
subsequent case to which any Chapter 11 Case is converted), including, without limitation, all
property recovered as a result of transfers or obligations avoided or actions maintained or taken
pursuant to (among others) Sections 542, 544, 545, 547, 548, 549, 550, 551, 552 and 553 of the
Bankruptcy Code (but not, for the avoidance of doubt, such avoidance actions themselves); and

                              (xviii) all products and proceeds of the foregoing, in any form,
including insurance proceeds and all claims against third parties for loss or damage to or
destruction of or other involuntary conversion of any kind or nature of any or all of the other
Post-Petition Collateral.

Notwithstanding anything herein to the contrary, “Post-Petition Collateral” shall not include any
security interests or liens (i) on any leasehold interest in Real Property that was not previously
encumbered by security interests or liens in favor of Agent or Collateral Agent, for itself and the
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benefit of Secured Parties, as of the Petition Date, but shall instead include all proceeds of such
leasehold interests subject to any valid senior encumbrances; or (ii) any executory contract or
agreement to the extent the contract or agreement does not permit the grant of a lien thereon and
was not previously encumbered by security interest or liens in favor of Agent, for itself and the
benefit of Secured Parties (the items described in clauses (i) and through (ii) above, collectively,
the “Excluded Contracts”).

                                 “Post-Petition Obligations” means all Obligations (as defined in
the Pre-Petition Loan Agreement) of any Debtor arising on and after the Petition Date and
whether arising on or after the conversion or dismissal of the Chapter 11 Case, or before, during
and after the confirmation of any plan of reorganization in the Chapter 11 Case, and whether
arising under or related to this Ratification Agreement, the Loan Agreement, the other Financing
Agreements, a Financing Order, by operation of law or otherwise, and whether incurred by such
Debtor as principal, surety, endorser, guarantor or otherwise and including, without limitation,
all principal, interest, financing charges, letter of credit fees, unused line fees, servicing fees, line
increase fees, debtor-in-possession facility fees, early termination fees, prepayment fees, other
fees, commissions, costs, expenses and attorneys’, accountants’ and consultants’ fees and
expenses incurred in connection with any of the foregoing. For the avoidance of doubt, the Post-
Petition Obligations shall include that portion of the outstanding Pre-Petition Obligations, which
have been “rolled-up” from time to time as provided in the Financing Order.

                                 “Pre-Petition Collateral” means, collectively, (i) all “Collateral”
as such term is defined in the Pre-Petition Loan Agreement as in effect immediately prior to the
Petition Date, (ii) all “Collateral” and “Pledged Property” (and terms of similar import) as such
terms are defined in each of the other Pre-Petition Financing Agreements as in effect
immediately prior to the Petition Date, and (iii) all other security for the Pre-Petition Obligations
as provided in the Pre-Petition Loan Agreement and the other Pre-Petition Financing Agreements
immediately prior to the Petition Date.

                             “Pre-Petition Financing Agreements” means the Financing
Agreements (as defined in the Pre-Petition Loan Agreement), as in effect immediately prior to
the Petition Date.

                             “Pre-Petition Loan Agreement” means the Third Amended and
Restated Loan and Security Agreement, dated February 7, 2012, by and among Borrowers,
Guarantors, Lenders, Agents and others, as amended by Amendment No. 1 to Third Amended
and Restated Loan and Security Agreement, dated as of March 29, 2012, Amendment No. 2 to
Third Amended and Restated Loan and Security Agreement, dated as of December 18, 2012,
Amendment No. 3 to Third Amended and Restated Loan and Security Agreement and Consent,
dated as of March 29, 2013, Amendment No. 4 to Third Amended and Restated Loan and
Security Agreement and Consent, dated as of October 2, 2013, Amendment No. 5 to Third
Amended and Restated Loan and Security Agreement, dated as of February 27, 2014,
Amendment No. 6 to Third Amended and Restated Loan and Security Agreement, dated as of
October 1, 2014, Amendment No. 7 to Third Amended and Restated Loan and Security
Agreement, dated as of June 19, 2015, Amendment No. 8 to Third Amended and Restated Loan
and Security Agreement, dated as of January 16, 2018 and Amendment No. 9 to Third Amended


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and Restated Loan and Security Agreement, dated as of December 13, 2018, as in effect
immediately prior to the Petition Date.

                              “Pre-Petition Obligations” means all Obligations (as such term is
defined in the Pre-Petition Loan Agreement) arising at any time before the Petition Date.

                               “Pre-Petition Priority Liens” means, collectively, the liens
permitted by the Pre-Petition Financing Agreements, to the extent any such permitted liens are
valid, enforceable, properly perfected, non-avoidable and senior in priority to the liens securing
the Pre-Petition Obligations as of the Petition Date (including any that are perfected subsequent
to the Petition Date as permitted by section 546(b) of the Bankruptcy Code).

                               “Professionals” means the Debtors’ and any Committee’s
professionals, retained by either of them by final order of the Bankruptcy Court (which order has
not been reversed, vacated or stayed unless such stay is no longer effective) under Sections 327,
328 or 1103(a) of the Bankruptcy Code.

                             “Ratification Agreement” means the Ratification and
Amendment Agreement, dated as of January 16, 2019, by and among Borrowers, Guarantors,
Agents, Term Loan B-1 Agent, Collateral Agent, Issuing Banks and Lenders, as the same may
hereafter be amended, modified, supplemented, extended, renewed, restated or replaced.

                              “Ratification Closing Date” means the date on which all of the
conditions precedent in Section 9 of the Ratification Agreement have been satisfied (or waived).

                              “Rx Auction” has the meaning specified therefor in Section 5.4 of
the Ratification Agreement.

                              “Rx Sale” has the meaning specified therefor in Section 5.4 of the
Ratification Agreement.

                               “Store Closing GOB Sales” has the meaning specified therefor in
Section 5.4 of the Ratification Agreement.

                               “Store Closing Liquidation Agreement” has the meaning
specified therefor in Section 5.4 of the Ratification Agreement.

               1.2     Amendments to Definitions.

                            Applicable Margin. The definition of “Applicable Margin” in the
Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                       “ ‘Applicable Margin’ shall mean, at any time, as to the Interest Rate for
                       Prime Rate Loans the applicable percentage (on a per annum basis) set
                       forth below:

                      Applicable             Applicable             Applicable

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                 Prime Rate Margin for   Prime Rate Margin for   Prime Rate Margin for
                  Revolving Loans A      Revolving Loans A-1         Term Loans B
                        2.75%                   4.00%                   9.50%



                               Agents and Lenders, etc. All references to the terms “Agent”,
“Term Loan B Agent”, “Term Loan B-1 Agent”, “Collateral Agent”, “Issuing Banks” and
“Lenders” shall include their respective successors and assigns.

                              Borrowers, Guarantors and Debtors. All references to the terms
“Borrowers”, “Guarantors” or “Debtors” in the Financing Agreements shall be deemed and each
such reference is hereby amended to mean and include (as applicable) the Debtors, each as
defined herein, and their successors and assigns (including any trustee or other fiduciary
hereafter appointed as any Debtor’s legal representative, as applicable, or with respect to any
Debtor the property of the estate of such Debtor whether under Chapter 11 of the Bankruptcy
Code or any subsequent Chapter 7 case or cases and its successor upon conclusion of the Chapter
11 Case of such Debtor, as the case may be).

                               Collateral. All references to the term “Collateral” in the Loan
Agreement or the other Financing Agreements, or any other term referring to the security for the
Pre-Petition Obligations, shall be deemed, and each such reference is hereby amended to mean,
collectively, the Pre-Petition Collateral and the Post-Petition Collateral. For the avoidance of
doubt, any reference in the Ratification Agreement or any other Financing Agreement to a lien,
security interest or other encumbrance of Agent shall include, without limitation, any lien,
security interest or other encumbrance of Collateral Agent as an agent of Agent; it being
understood that any lien, security interest or other encumbrance of the Collateral Agent shall be
deemed to be also a lien, security interest or encumbrance of Agent.

                               Debtors. All references to Debtors, including, without limitation,
to the terms “Borrower,” “Borrowers,” “Guarantor” or “Guarantors” in the Loan Agreement or
the other Financing Agreements shall be deemed, and each such reference is hereby amended, to
mean and include the Debtors as defined herein, and their successors and assigns (including any
trustee or other fiduciary hereafter appointed as its legal representative or with respect to the
property of the estate of such Debtor whether under Chapter 11 of the Bankruptcy Code or any
subsequent Chapter 7 case and its successor upon conclusion of the Chapter 11 Case of such
Debtor).

                              Direct Remittance Period. The definition of “Direct Remittance
Period” in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following
substituted therefor:

                      “ ‘Direct Remittance Period’ shall mean the period of all times during the
                      Chapter 11 Cases.”

                            Disqualified Lender. The definition of “Disqualified Lender” in
the Pre-Petition Loan Agreement is hereby amended by deleting the phrase “prior to the date of
Amendment No. 7” and replacing it with “prior to the date of the Ratification Agreement”.

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                             Eligible Prescription Files. The definition of “Eligible Prescription
Files” in the Pre-Petition Loan Agreement is hereby amended by adding the following new
sentence at the end thereof:

                       “Notwithstanding anything to the contrary contained herein or in any of
                      the other Financing Agreements, no Prescription File shall be deemed to
                      be an Eligible Prescription File unless (i) such Prescription File satisfies
                      the eligibility criteria set forth in the definition of Eligible Prescription
                      Files and (ii) either (A) such Prescription File is the subject of a sale
                      agreement, in form and substance acceptable to Agent, or (B) Agent
                      otherwise deems such Prescription File to be acceptable in its sole
                      discretion.”

                                Eligible Transferee. The definition of “Eligible Transferee” in the
Pre-Petition Loan Agreement is hereby amended by (i) deleting the phrase “Sections 10.1(a)(i),
10.1(g), 10.1(h) or 10.1(o)” from clause (e) of such definition and replacing it with “Section
10.1(a)(i)” and (ii) deleting the phrase “unless an Event of Default has occurred and is continuing
at the time such assignment is effected hereunder,” from clause (i) of the proviso to such
definition and replacing it with “unless an Event of Default under Section 10.1(a)(i) has occurred
and is continuing at the time such assignment is effected hereunder,”.

                              Financing Agreements. All references to the term “Financing
Agreements” in the Loan Agreement or the other Financing Agreements shall be deemed, and
each such reference is hereby amended, to include, in addition and not in limitation, this
Ratification Agreement and all of the Pre-Petition Financing Agreements, as ratified, assumed
and adopted by each Borrower and Guarantor pursuant to the terms of the Ratification
Agreement, as amended and supplemented thereby, and the Financing Order, as each of the same
now exists or may hereafter be amended, modified, supplemented, extended, renewed, restated
or replaced.

                           Indebtedness. The definition of “Indebtedness” in the Pre-Petition
Loan Agreement is hereby amended by deleting clause (b) therein and replacing it with the
following:

                       “(b) representing the balance deferred and unpaid of the purchase price of
                      any property or services (except any such balance that constitutes an
                      account payable to a trade creditor (whether or not an Affiliate) created,
                      incurred, assumed or guaranteed by such Person in the ordinary course of
                      business of such Person or during the pendency of the Chapter 11 Case
                      and, in each case, payable in accordance with the Budget);”

                              Information Certificate. The definition of “Information
Certificate” in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the
following substituted therefor:

                      “ ‘Information Certificate’ shall mean the Information Certificate of
                      Borrowers and Guarantors constituting Exhibit C to the Ratification

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                      Agreement containing material information with respect to Borrowers and
                      Guarantors, their respective business and assets provided by or on behalf
                      of Borrowers and Guarantors to the Agent in connection with the
                      preparation of this Agreement and the other Financing Agreements and the
                      financing arrangements provided for herein.”

                            Interest Rate. Clause (a)(vii) of the definition of “Interest Rate” in
the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “(vii) as to Term Loans B-1, a rate equal to fourteen (14.00%) percent per
                      annum.”

                             Letter of Credit Limit. The definition of “Letter of Credit Limit”
in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “ ‘Letter of Credit Limit’ shall mean $50,000,000.”

                              Loan Agreement. All references to the term “Agreement” in the
Pre-Petition Loan Agreement or the term “Loan Agreement” in the other Financing Agreements
shall be deemed, and each such reference is hereby amended, to mean the Loan Agreement (as
defined in the Ratification Agreement), and as ratified, assumed and adopted by each Borrower
and Guarantor pursuant to the terms hereof and the Financing Order.

                                Material Adverse Effect. All references to the term “Material
Adverse Effect,” “material adverse effect” or “material adverse change” in the Loan Agreement,
the Ratification Agreement or the other Financing Agreements shall be deemed, and each such
reference is hereby amended, to add at the end thereof: “provided, that, the Bankruptcy Events
shall not, individually or collectively, constitute a Material Adverse Effect.”

                            Maximum Credit. The definition of “Maximum Credit” in the Pre-
Petition Loan Agreement is hereby deleted in its entirety and the following substituted therefor:

                      “ ‘Maximum Credit’ shall mean the amount of $513,471,687.50.”

                              Obligations. All references to the term “Obligations” in the Loan
Agreement, this Ratification Agreement or the other Financing Agreements shall be deemed, and
each such reference is hereby amended, to mean both the Pre-Petition Obligations and the Post-
Petition Obligations.

                            Renewal Date. The definition of “Renewal Date” in the Pre-
Petition Loan Agreement is hereby deleted in its entirety and the following substituted therefor:

                      “ ‘Renewal Date’ shall mean the earliest of: (a) the date that is three
                      hundred and sixty-five (365) days after the commencement of the Chapter
                      11 Case, (b) thirty (30) days after the entry of the Interim Financing Order
                      if the Permanent Financing Order has not been entered prior to the

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                      expiration of such thirty (30) day period, (c) the substantial consummation
                      (as defined in Section 1101 of the Bankruptcy Code and which for
                      purposes hereof shall be no later than the “effective date”) of the Plan of
                      Reorganization, or (d) the date of confirmation of a plan of liquidation for
                      Borrowers or Guarantors in the Chapter 11 Cases.”

                           Reserves. The definition of “Reserves” in the Pre-Petition Loan
Agreement is hereby amended by adding the following clause at the end thereof:

                      “(d) In addition and not in limitation of the foregoing, Agent may establish
                      Reserves in respect of: (i) the Carve-Out, (ii) the amount of any senior
                      liens or claims in or against the Collateral that have priority over the liens
                      and claims of Agent, and (iii) the amount of priority or administrative
                      expense claims that require payment during the Chapter 11 Cases.”

                             Revolving Loan A Limit. The definition of “Revolving Loan A
Limit” in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following
substituted therefor:

                      “ ‘Revolving Loan A Limit’ shall mean $400,000,000.”

                          Term Loan B Limit. The definition of “Term Loan B Limit” in the
Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “ ‘Term Loan B Limit’ shall mean $49,055,312.50.”

                             Term Loan B-1 Limit. The definition of “Term Loan B-1 Limit”
in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “ ‘Term Loan B-1 Limit’ shall mean $34,416,375.”

                            Term Loan Priority Collateral Proceeds Event. The definition of
“Term Loan Priority Collateral Proceeds Event” in the Pre-Petition Loan Agreement is hereby
amended by adding the following new sentence at the end thereof:

                      “Notwithstanding anything to the contrary contained herein or in any other
                      Financing Agreement, a Term Loan Priority Collateral Proceeds Event
                      shall be deemed to have occurred and be continuing at all times during the
                      Chapter 11 Cases.”

                                 Term Loans B Action Default. The definition of “Term Loans B
Action Default” in the Pre-Petition Loan Agreement is hereby amended by deleting the reference
to “10.1(f), 10.1(g), 10.1(h),”.




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                                Term Loans B-1 Action Default. The definition of “Term Loans
B-1 Action Default” in the Pre-Petition Loan Agreement is hereby amended by deleting the
reference to “10.1(f), 10.1(g), 10.1(h),”.

                               Triggering Event. The definition of “Triggering Event” in the Pre-
Petition Loan Agreement is hereby amended by (i) deleting the phrase “the occurrence and
continuance of an Event of Default under Section 10.1(f), 10.1(g) or 10.1(h) hereof” and
replacing it with “[reserved]” and (ii) adding the following new sentence at the end thereof:

                       “Notwithstanding anything to the contrary contained herein or in any other
                       Financing Agreement, a Triggering Event shall be deemed to have
                       occurred and be continuing at all times during the Chapter 11 Cases.”

                 1.3   Interpretation.

                                For purposes of this Ratification Agreement, unless otherwise
defined or amended herein, including, but not limited to, those terms used or defined in the
recitals hereto, all terms used herein shall have the respective meanings assigned to such terms in
the Pre-Petition Loan Agreement, as amended, supplemented or otherwise modified by this
Ratification Agreement.

                               All references to any term in the singular shall include the plural
and all references to any term in the plural shall include the singular unless the context of such
usage requires otherwise.

                               All terms not specifically defined herein which are defined in the
Uniform Commercial Code, as in effect in the State of New York as of the date hereof, shall
have the meaning set forth therein, except that the term “Lien” or “lien” shall have the meaning
set forth in § 101(37) of the Bankruptcy Code.

            2.   ACKNOWLEDGMENTS.

                2.1    Pre-Petition Obligations.       Each Borrower and Guarantor hereby
acknowledges, confirms and agrees that, as of January 15, 2019, Borrowers are indebted to
Agent and Lenders in respect of all Pre-Petition Obligations in an aggregate principal amount of
not less than $402,699,907.17 consisting of (a) Loans to each Borrower made pursuant to the
Pre-Petition Financing Agreements, together with interest accrued and accruing thereon, and (b)
Letter of Credit Obligations outstanding under the Pre-Petition Loan Agreement together with
interest accrued and accruing thereon, and all costs, expenses, fees (including attorneys’ fees and
legal expenses), plus all other charges now or hereafter owed by Borrowers to Agent and
Lenders, all of which are unconditionally owing by the Borrowers to the Agent and Lenders,
without offset, defense or counterclaim of any kind, nature and description whatsoever.

               2.2     Guaranteed Obligations. Each Guarantor hereby acknowledges, confirms
and agrees that:




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                             all obligations of such Guarantors under the Pre-Petition Financing
Agreements are unconditionally owing by such Guarantor to Agent and Lenders without offset,
defense or counterclaim of any kind, nature and description whatsoever, and

                               the absolute and unconditional guarantee of the payment of the
Pre-Petition Obligations by such Guarantor pursuant to the Pre-Petition Financing Agreements
extends to all Post-Petition Obligations.

                2.3     Acknowledgment of Security Interests. Each Borrower and Guarantor
hereby acknowledges, confirms and agrees that Agent and/or Collateral Agent, for the benefit of
itself and the other Secured Parties, has and shall continue to have (a) valid, enforceable and
perfected first priority and senior security interests in and liens upon all Pre-Petition Collateral
heretofore granted to Agent and/or Collateral Agent pursuant to the Pre-Petition Financing
Agreements as in effect immediately prior to the Petition Date to secure all of the Obligations,
and (b) valid and enforceable first priority and senior security interests in and liens upon all Post-
Petition Collateral granted to Agent and/or Collateral Agent, for the benefit of itself and the
Secured Parties, under the Financing Order or hereunder or under any of the other Financing
Agreements or otherwise granted to or held by Agent and/or Collateral Agent, in each case,
subject only Pre-Petition Priority Liens and any other liens or encumbrances expressly permitted
by the Financing Order that may have priority over the liens in favor of Agent.

               2.4    Binding Effect of Documents. Each Borrower and Guarantor hereby
acknowledges, confirms and agrees that: (a) each of the Pre-Petition Financing Agreements to
which it is a party was duly executed and delivered to Agent, Collateral Agent and Lenders by
such Borrower or Guarantor and each is in full force and effect as of the date hereof, (b) the
agreements and obligations of such Borrower or Guarantor contained in the Pre-Petition
Financing Agreements constitute the legal, valid and binding obligations of such Borrower or
Guarantor enforceable against it in accordance with the terms thereof, and such Borrower or
Guarantor has no valid defense, offset or counterclaim to the enforcement of such obligations,
and (c) Agent, Collateral Agent and Lenders are and shall be entitled to all of the rights,
remedies and benefits provided for in (i), subject to the entry and terms of the Financing Order,
the Financing Agreements and (ii) the Financing Order.

            3.   ADOPTION AND RATIFICATION.

         Each Borrower and Guarantor hereby (a) ratifies, assumes, adopts and agrees to be bound
by all of the Pre-Petition Financing Agreements to which it is a party and (b) agrees to pay all of
the Pre-Petition Obligations in accordance with the terms of such Pre-Petition Financing
Agreements, as supplemented and amended by this Ratification Agreement, and in accordance
with the Financing Order. All of the Pre-Petition Financing Agreements are hereby incorporated
herein by reference and hereby are and shall be deemed adopted and assumed in full by
Borrowers and Guarantors, each as Debtor and Debtor-in-Possession and considered as
agreements between such Borrowers or Guarantors, on the one hand, and Agent, Collateral
Agent and Lenders, on the other hand. Each Borrower and Guarantor party hereto hereby
ratifies, restates, affirms and confirms all of the terms and conditions of the Pre-Petition
Financing Agreements, as amended and supplemented pursuant hereto and the Financing Order,


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and each Borrower and Guarantor, as Debtor and Debtor-in-Possession, agrees to be fully bound
by the terms of the Financing Agreements to which such Borrower or Guarantor is a party.

            4.   GRANT OF SECURITY INTEREST.

        As collateral security for the prompt performance, observance and payment in full of all
of the Obligations (including the Pre-Petition Obligations and the Post-Petition Obligations),
Borrowers and Guarantors, each as Debtor and Debtor-in-Possession, hereby grant, pledge and
assign to the Agent, for the benefit of itself and the other Secured Parties, and also confirm,
reaffirm and restate the prior grant to Agent and/or Collateral Agent, for the benefit of itself and
the other Secured Parties of, continuing senior priority security interests in and liens upon, and
rights of setoff against, all of the Collateral.

            5.   ADDITIONAL REPRESENTATIONS, WARRANTIES AND COVENANTS.

        In addition to the representations, warranties and covenants made by Borrowers and
Guarantors to Agent and Lenders, under the Loan Agreement or the other Financing Agreements
(in each case, for the avoidance of doubt, as amended by or provided in this Ratification
Agreement) each Borrower and Guarantor hereby represents, warrants and covenants to Agent
and Lenders the following (which shall survive the execution and delivery of this Ratification
Agreement), the truth and accuracy of which, or compliance with, to the extent such compliance
does not violate the terms and provisions of the Bankruptcy Code, shall be a continuing
condition precedent to the making of Loans by Agent and Lenders or the issuance of Letters of
Credit under the Financing Agreements:

                 5.1   Financing Order.

                               No Borrower or Guarantor shall seek to have any Financing Order
vacated, modified, reversed on appeal, or vacated or modified by any order of the Bankruptcy
Court (other than with the prior written consent of Agent).

                               On or before the expiration of the Interim Financing Order, the
Bankruptcy Court shall have entered the Permanent Financing Order authorizing the secured
financing under the Financing Agreements on the terms and conditions contemplated herein,
granting to Agent the security interests and liens and super-priority administrative expense claim
status described in Section 5.9 hereof, modifying the automatic stay and containing other
provisions required by Agent and its counsel. Agent, Lenders, Issuing Bank and other Secured
Parties will not provide any loans or other financial accommodations other than those authorized
under the Interim Financing Order unless, on or before the thirtieth day following the date of the
commencement of the Chapter 11 Cases, such Permanent Financing Order shall have been
entered, there shall be no appeal or other contest with respect to either of such orders and the
time to appeal or contest such orders shall have expired.

                             Each Borrower and Guarantor hereby represents and warrants
with, to and in favor of Agent and Lenders that each Financing Order has been duly entered, is
valid, subsisting and continuing (and provides for, among other things, a valid, perfected,
continuing, enforceable, non-avoidable first priority lien on the Collateral of each Borrower and
Guarantor in favor of Agent and/or Collateral Agent, subject to the Carve-Out) and except as
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otherwise expressly consented to by the Agent and the Lenders, has not been vacated, modified,
reversed on appeal, or vacated or modified by any Bankruptcy Judge or District Court Judge and
is not subject to any pending stay and on and after the date any other Financing Order is entered
by the Bankruptcy Court, such other Financing Order shall have been duly entered, valid,
subsisting and continuing and shall not have been vacated, modified, reversed on appeal, or
vacated or modified by any Bankruptcy Judge or District Court Judge and shall not be subject to
any pending stay.

                5.2      Use of Proceeds. All Loans and Letters of Credit provided by Agent or
any Lender to Borrowers pursuant to the Financing Order, the Loan Agreement or otherwise,
shall only be used by Debtors for the working capital and general corporate purposes of
Borrowers, including allowed administrative expenses incurred during the Chapter 11 Cases, all
in accordance with the Budget. Except for claims of Professionals in an amount not to exceed
the Carve-Out (which, for the avoidance of doubt, may not be funded with the Revolving Loans
or Letters of Credit for any purpose provided in paragraph 2.5 of the Interim Financing Order),
no portion of the administrative expenses or priority claims in the Chapter 11 Cases, other than
those identified in the Budget to which Agent has specifically agreed in writing shall be funded
with the Revolving Loans or Letters of Credit and the percentages and categories of permitted
allocations of such claims and expenses shall be subject to approval by Agent. Notwithstanding
the foregoing, proceeds shall not be used by Borrowers or Guarantors to affirmatively commence
or support, or to pay any professional fees incurred in connection with, any adversary
proceeding, motion or other action that seeks to challenge, contest or otherwise seek to impair or
object to the validity, extent, enforceability or priority of Agent’s liens, claims and rights.

               5.3    Budget.

                                Borrowers shall deliver to Agent, in form and substance
satisfactory to Agent, the following, each in form and substance satisfactory to Agent:

                               (i)     on the Petition Date, a 13-week statement of availability,
cash receipts and disbursements for the immediately following consecutive 13 weeks (the
“Initial Budget Period”), set forth on a weekly basis, including the anticipated uses of the
Financing Agreements for such period (the “Budget”, as may be updated, amended or modified
from time to time with the written consent of the Agent); and on or before April 5, 2019 an
amendment to the Budget, in form and substance acceptable to the Agent, updating the Budget to
include the 13-week period immediately following the Initial Budget Period. Subsequent
amendments shall be delivered to the Agent, in form and substance satisfactory to the Agent, two
weeks prior to the final day of the Budget then in effect, updating the Budget to include the
subsequent thirteen (13) week period. Upon approval by the Agent, such budget shall be deemed
to be the Budget for the next thirteen (13) week period;

                              (ii)    commencing on the Wednesday following the second full
week following the Petition Date, a weekly variance/reconciliation report on the Wednesday of
each week setting forth on a weekly basis for the prior week and on a cumulative basis from the
Petition Date through the fourth (4th) full week after the Petition Date and then on a rolling four
(4) week basis at all times thereafter (each of the forgoing, a “Measurement Period”), (i) a
comparison of the actual results to the projected amounts set forth in the Budget during such

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periods for the following line items: (A) total cash receipts, and (B) total disbursements, noting
therein variances from amounts set forth for such periods in the Budget; and (ii) an explanation
for all material variances, in form satisfactory to the Agent and certified by the chief financial
officer of the Company (“DIP Variance Report”); and

                              (iii) a monthly update of financial projections on the 15th day of
each month, setting forth updated projections for each line item of the Budget.

                              Each Debtor acknowledges, confirms and agrees that the following
covenants shall be tested pursuant to the DIP Variance Report for the applicable Measurement
Period ending as of each Saturday, with such testing commencing on the Wednesday following
the first full two (2) weeks ending after the Petition Date: (i) the actual total cash receipts shall
not be less than eighty five percent (85%) of the projected total cash receipts set forth in the
Budget as set forth in line item of the Budget titled “Total Receipts” in respect of such
Measurement Period, and (ii) the actual total cash disbursements shall not exceed by more than
fifteen percent (15%) the projected total cash disbursements as set forth in line item of the
Budget titled “Total Disbursements” in respect of such Measurement Period.

                                Each Debtor hereby confirms, acknowledges and agrees that,
unless waived in writing by Agent, (i) a failure to maintain the deviations in the Budget in an
amount equal to or less than the percentage set forth in Section 5.3(b) hereof shall constitute a
material deviation from the Budget and an additional Event of Default (each, a “Material
Budget Deviation”) and (ii) the failure to deliver any reports with respect to any Budget, in form
and substance satisfactory to Agent, as provided in Section 5.3(a) hereof shall constitute an
Event of Default; provided that failure to maintain such deviations on account of Rx Sales
receipts (which shall be deemed to be a variance in the actual proceeds received from Rx Sales
from the projected proceeds from Rx Sales, as set forth in the line item of the Budget titled
“Proceeds from Rx Asset Sales”, in any given Measurement Period in excess of 15%), shall not
constitute an Event of Default but shall result in the implementation of Sale Milestones (as
defined below) reasonably acceptable to Agent. Notwithstanding any approval by Agent of the
Budget or any subsequent or amended Budget(s), Agent and Lenders will not, and shall not be
required to, provide any Loans or Letters of Credit to any Borrower pursuant to the Budget, but
shall only provide Loans and Letters of Credit in accordance with the terms and conditions set
forth in the Loan Agreement as amended by this Ratification Agreement, the other Financing
Agreements and the Financing Order. Agent and Lenders are relying upon the Borrowers’
delivery of, and compliance with, the Budget in accordance with this Section 5.3 in determining
to enter into the post-petition financing arrangements provided for herein.

                               Notwithstanding any projected amounts set forth in the Budget
relating to the costs and expenses of Agent and the other Secured Parties that are reimbursable by
Borrowers or any other amounts owing by Borrowers to Agent and the Secured Parties
(including, without limitation reasonable attorneys and consulting fees and expenses) in
accordance with the Loan Agreement and the other Financing Agreements, such projections shall
not limit, impair, modify or waive the Debtors’ obligation to pay the actual amounts due to
Agent and/or the other Secured Parties in respect of such costs, expenses and other amounts
owing to Agent and such other Secured Parties in accordance with the Loan Agreement and the
other Financing Agreements and the actual amounts paid in respect of such costs, expenses and

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other amounts other shall not be subject to the variance compliance set forth in Section 5.3(b)
hereof.

               5.4   DIP Milestones. In addition to the continuing representations, warranties
and covenants heretofore and hereafter made by Borrowers and Guarantors to Agent and
Lenders, whether pursuant to the Financing Agreements or otherwise, and not in limitation
thereof, each Borrower and Guarantor represents, warrants and covenants to the following (the
“DIP Milestones”):

       (a)     On or prior to the commencement of the Chapter 11 Cases (“Petition Date”), the
Debtors shall have commenced going out of business sales at the 126 store locations identified
on Schedule 1, attached hereto, on terms and conditions acceptable to Agent;

        (b)     On the Petition Date, the Debtors shall file motions, each in form and substance
satisfactory to the Agent, requesting approval from the Bankruptcy Court:

            (i) to (A) conduct the Debtors’ going out of business sales in accordance with
                Section 363 of the Bankruptcy Code at the 126 store locations identified on
                Schedule 1 attached hereto (as may be amended from time to time with the prior
                written consent of Agent) on terms and conditions acceptable to Agent (the
                “Store Closing GOB Sales”); and (B) to assume Debtors’ prepetition store
                closing liquidation agreement, entered into between Debtors and Gordon
                Brothers (the “Store Closing Liquidation Agreement”), in each case on terms and
                conditions satisfactory to the Agent;

            (ii) of bidding and auction procedures, in form and substance satisfactory to Agent,
                 in connection with the sale or sales of all or substantially all of the Debtors’
                 Pharmacy Inventory and Prescription Files and related assets (the “Rx Bidding
                 Procedures Motion”);

            (iii) of a Disclosure Statement and proposed plan of reorganization pursuant to
                 Chapter 11 of the Bankruptcy Code (the “Plan of Reorganization”), each on terms
                 and conditions satisfactory to Agent (provided that nothing in this clause (iii)
                 shall constitute a vote by Agent or any Lender in favor of the Plan of
                 Reorganization or a commitment by Agent or any Lender to vote in favor of the
                 Plan of Reorganization); and

            (iv) of the senior secured financing under the Financing Agreements on the terms and
                 conditions contemplated by the Loan Agreement, granting to Agent the security
                 interests and liens and super-priority administrative expense claim status
                 described above, modifying the automatic stay and other provisions required by
                 the Agent and its counsel (the “DIP Financing”)

        (c)    On or before the third (3rd) day following the Petition Date, the Bankruptcy Court
shall have entered interim orders, each in form and substance satisfactory to Agent, authorizing
(i) the Store Closing GOB Sales, and the assumption of the Store Closing Liquidation
Agreement, and (ii) the bidding and auction procedures set forth in the Rx Bidding Procedures
Motion (the “Rx Bidding Procedures Order”), and (iii) the DIP Financing, and scheduling a
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hearing to approve the Disclosure Statement;

        (d)     On or before the tenth (10th) day following the Petition Date, the Debtors shall
have conducted an auction (the “Rx Auction”) for the sale or sales of all or substantially all of
the Debtors’ Pharmacy Inventory, Prescription Files and related assets and properties and
selected the winning bid(s) (the “Rx Sale”) and is otherwise in form and substance reasonably
satisfactory to Agent in connection with such Rx Sale;

       (e)     On or before the thirteenth (13th) day following the Petition Date, the Bankruptcy
Court shall have entered a (i) final Rx Bidding Procedures Order, and (ii) a final order approving
the Rx Sale, which order shall be in form and substance acceptable to the Agent;

        (f)     On or before the fourteenth (14th) day following the Petition Date, the Debtors
shall have delivered an amendment to the Budget, in form and substance acceptable to Agent,
solely to reflect adjustments directly arising from the Store Closing Liquidation Agreement.

       (g)      On or before the thirtieth (30th) day following the Petition Date, the Bankruptcy
Court shall have entered final orders, each in form and substance satisfactory to Agent
authorizing (i) the Store Closing GOB Sales, (ii) the assumption of the Store Closing Liquidation
Agreement, and (iii) the DIP Financing.

        (h)    On or before March 1, 2019, the Debtors shall deliver to Agent a business plan for
the Reorganized Debtors in form and substance acceptable to the Agent, including without
limitation any financial projections, assumptions, and calculations reasonably requested by the
Agent.

        (i)    On or before the forty-fifth (45th) day following the Petition Date the Debtors
shall have received court approval to extend the general time period to accept/reject leases from
the permitted 120 day time period to not less than 210 days;

        (j)     If the final Store Closing GOB Sales Order does not allow the Debtors to conduct
going out of business sales for all or substantially all of the Debtors’ remaining assets and
properties, then on or before March 6, 2019, the Debtors shall have selected a “stalking horse”
offer for the sale of all or substantially all of the Debtors’ assets and properties and/or liquidation
of the Debtors’ assets, in form and substance acceptable to Agent;

        (k)     If the final Store Closing GOB Sales Order does not allow the Debtors to conduct
going out of business sales for all or substantially all of the Debtors’ remaining assets and
properties, then on or before March 8, 2019, the Debtors shall have filed in the Bankruptcy Court
a motion (the “Sale Motion”) seeking entry of a final order (the “Bidding Procedures Order”)
approving (A) the stalking horse sale agreement for all or substantially all of the Debtors’
remaining assets (“Stalking Horse APA”) and/or liquidation of the Debtors’ assets, and (B)
bidding and auction procedures (if necessary) in connection with a sale of all or substantially all
remaining assets of each Debtor, pursuant to Section 363 of the Bankruptcy Code, which Sale
Motion (including all deadlines contained therein) shall be reasonably satisfactory to the Agent
(the “363 Sale”);

            (l)   On or before the forty-fifth (45th) day following the Petition Date, the Debtors
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shall have consummated the Rx Sale, pursuant to one or more purchase agreements, in form and
substance acceptable to Agent, entered into among the Debtors and the winning bidder(s) at the
Rx Auction; provided that failure to comply with this milestone shall result in the
commencement of the Sale Milestones (as defined below) and not constitute an Event of Default;

       (m)     The Debtors shall comply with the following milestones (“Plan Milestones”);
provided that failure to comply with these milestones shall result in the commencement of the
Sale Milestones (as defined below) and not constitute an Event of Default:

                  (i) on or before March 14, 2019, Debtors shall deliver to Agent (A) a
                      commitment letter in form and substance reasonably acceptable to Agent
                      from one or more sponsors or other financial institutions reasonably
                      acceptable to Agent (such sponsors or financial institutions referred to
                      herein collectively as the “Sponsor”), reflecting, among other things, such
                      Sponsor’s commitment and financial wherewithal to provide financing
                      sufficient to support the feasibility and confirmation of the Plan, on terms
                      and conditions acceptable to Agent (the “Commitment Letter”) (provided
                      that nothing in this clause (i) shall constitute a vote by Agent or any
                      Lender in favor of the Plan of Reorganization or a commitment by Agent
                      or any Lender to vote in favor of the Plan of Reorganization), or (B) such
                      other financial information and commitments in form and substance
                      acceptable to Agent sufficient to demonstrate that Debtors will have
                      sufficient liquidity and are otherwise likely to consummate the Plan of
                      Reorganization and reorganize, in each case as Agent may determine in its
                      sole discretion;

                  (ii) on or before March 22, 2019, the Debtors shall obtain an order from the
                       Bankruptcy Court approving the Disclosure Statement on terms and
                       conditions reasonably satisfactory to the Agent, and such order is not
                       thereafter vacated, reversed, modified or altered on appeal or by
                       reconsideration without the prior written consent of the Agent;

                  (iii)on or before April 5, 2019, Agent shall have received, in form and
                       substance acceptable to Agent, a proposed order confirming the Plan of
                       Reorganization pursuant to section 1129 of the Bankruptcy Code in form
                       and substance acceptable to Agent (the “Proposed Confirmation Order”),
                       which plan shall include procedures for the orderly wind down and
                       liquidation of the Debtors’ assets and properties in the event the conditions
                       for reorganization are not satisfied (provided that nothing in this clause
                       (iii) shall constitute a vote by Agent or any Lender in favor of the Plan of
                       Reorganization or a commitment by Agent or any Lender to vote in favor
                       of the Plan of Reorganization);

                  (iv) on or before April 12, 2019, the Debtors shall obtain an order from the
                       Bankruptcy Court confirming the Plan of Reorganization pursuant to
                       section 1129 of the Bankruptcy Code in form and substance acceptable to
                       the Agent; and

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                   (v) on or before April 15, 2019, the Effective Date under (and as defined in)
                       the Plan of Reorganization shall occur;

       (n)     If (i) the final Store Closing GOB Sales Order does not allow the Debtors to
conduct going out of business sales for all or substantially all of the Debtors’ remaining assets
and properties, and (ii) Debtors fail to satisfy the Plan Milestone set forth in section (m)(i), then
on or before March 15, 2019, Debtors shall deliver to Agent the Bidding Procedures Order
entered by the Bankruptcy Court in form and substance acceptable to Agent;

        (o)    If (i) Debtors fail to satisfy the Plan Milestone set forth in section (m)(i) above,
and (ii) the Debtors have filed the Sale Motion in accordance with paragraph (k) above, then on
or before March 20, 2019, the Debtors shall have obtained an order from the Bankruptcy Court
approving the 363 Sale in form and substance acceptable to Agent, and providing for, among
other things, the receipt by Agent of all cash proceeds from the 363 Sale to be applied to the
indefeasible payment in full of all Obligations in accordance with Section 6.4 of the Loan
Agreement and Financing Orders (the “363 Sale Order”);

        (p)     Notwithstanding anything to the contrary contained above, if at any time prior to
expiration of the term of the Loan Agreement, (i) an Event of Default occurs and is continuing
under the Loan Agreement without being waived in writing by Agent and, to the extent required
pursuant to the Loan Agreement, by the requisite number of Lenders, (ii) there is a negative
variance in the actual proceeds received from Rx Sales from the projected proceeds from Rx
Sales, as set forth in the line item of the Budget titled “Proceeds from Rx Asset Sales”, in any
given Measurement Period of the Budget in excess of 15% or (iii) Debtors fail to comply with
the Plan Milestones (each of the forgoing, a “Sale Trigger Event”), then Debtors shall comply
with the following milestones (“Sale Milestones”):

                (i) (A) on or before the date that is seven days following the date on which the
Sale Trigger Event occurs, Debtors shall deliver to Agent a new 13-week statement of
availability, cash receipts and disbursements for the immediately following consecutive 13
weeks (“Sale Budget”) in form and substance acceptable to Agent, which upon Agent’s written
acceptance shall be the Budget, and (B) on or before the date that is two days following the date
on which the Sale Trigger Event occurs, the Debtors shall either (i) commence the sale of all or
substantially all of the Debtors’ remaining assets and properties to the extent permitted by the
final Store Closing GOB Sales Order and Store Closing Liquidation Agreement, or (ii) file the
Sale Motion seeking entry of the Bidding Procedures Order in connection with a sale of all or
substantially all remaining assets of each Debtor, pursuant to Section 363 of the Bankruptcy
Code, which Sale Motion (including all deadlines contained therein) shall be satisfactory to the
Agent; and

               (ii) if the final Store Closing GOB Sales Order does not allow the Debtors to
conduct going out of business sales for all or substantially all of the Debtors’ remaining assets
and properties, then:

                                 (A)    on or before the date that is five days following the
date on which the Sale Trigger Event occurs, the Bankruptcy Court shall have entered the
Bidding Procedures Order;

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                                      (B)    on or before the date that is seven days following
the date on which the Sale Trigger Event occurs, the Debtors shall have distributed Bid Packages
(as defined in the Bidding Procedures Order) to each Person meeting the criteria for receipt of a
Bid Package as set forth in the Bidding Procedures Order;

                                      (C)    on or before the date that is ten days following the
date on which the Sale Trigger Event occurs, the Debtors shall have received one or more
qualified bids in form and substance acceptable to Agent;

                                        (D)     on or before the date that is twelve days following
the date on which the Sale Trigger Event occurs, the Debtors shall have conducted an auction for
the sale or sales of all or substantially all of the Debtors’ assets and properties and selected the
winning bid(s) in connection with such 363 Sale;

                                    (E)     on or before the date that is fourteen days following
the date on which Sale Trigger Event occurs, the Bankruptcy Court shall have entered an order
approving the 363 Sale, which order shall be in form and substance acceptable to the Agent and
shall provide for, among other things, the receipt by Agent of all cash proceeds from the 363
Sale to be applied to the indefeasible payment in full of all Obligations in accordance with
Section 6.4 of the Loan Agreement and Financing Orders.

                5.5    Ratification of Deposit Account Control Agreement. To the extent Agent
deems it necessary in its reasonable discretion and promptly upon Agent’s request, Borrowers
and Guarantors shall promptly provide Agent with evidence, in form and substance satisfactory
to Agent, that the Deposit Account Control Agreements (as defined in the Financing Order) and
other deposit account arrangements provided for under Section 6.3 of the Loan Agreement have
been ratified and amended by the parties thereto, or their respective successors in interest to
reflect the commencement of the Chapter 11 Case, that each Borrower and each Guarantor, as
Debtor and Debtor-in-Possession, is the successor in interest to such Borrower or Guarantor, that
the Obligations secured by the Lien relating to each Deposit Account Control Agreement include
both the Pre-Petition Obligations and the Post-Petition Obligations, that the Collateral covered
by each Deposit Account Control Agreement includes both the Pre-Petition Collateral and the
Post-Petition Collateral as provided for in the Ratification Agreement.

               5.6    ERISA. Each Borrower and Guarantor hereby represents and warrants
with, to and in favor of Agent and Lenders that (a) there are no liens, security interests or
encumbrances upon, in or against any assets or properties of any Borrower or Guarantor arising
under ERISA, whether held by the Pension Benefit Guaranty Corporation (the “PBGC”) or the
contributing sponsor of, or a member of the controlled group thereof, any pension benefit plan of
any Borrower or Guarantor and (b) no notice of lien has been filed by the PBGC (or any other
Person) pursuant to ERISA against any assets or properties of any Borrower or Guarantor.

               5.7     Maximum Outstanding Loans and Letters of Credit. Notwithstanding
anything to the contrary contained in the Loan Agreement or the other Financing Agreements,
Agent and Lenders shall have no obligation whatsoever to make any Loan to the Borrowers or
issue any Letters of Credit on behalf of the Borrowers to the extent that, immediately after giving
effect to the making of such Loan or issuance of such Letter of Credit, the then aggregate

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outstanding amount of all Loans and Letter of Credit Obligations would exceed at any time the
Maximum Credit as determined by Agent in its discretion.

               5.8    Financial Advisor.

                               The Debtors shall retain, at all times during which the Obligations
remain outstanding, Berkeley Research Group LLC as its financial advisor (the “Financial
Advisor”), at the sole cost and expense of the Debtors, on terms and conditions acceptable to
Agent. The Financial Advisor shall, in consultation with the Debtors other advisors, (i) negotiate
the terms of debtor in possession financing facilities for Parent and related adequate protection
arrangements in respect of the Debtors’ credit facilities, (ii) negotiate the terms of any plan or
pre- or post-petition asset purchase agreement, and to enter into binding and definitive
agreement(s) on behalf of the Debtors with respect to the foregoing, and (iii) supervise the
structuring and conduct a sale or plan process for the Debtors, including negotiating the terms of
any competing bids. The Debtors hereby irrevocably authorize and direct the Financial Advisor
to consult with Agent and to share with Agent and Lenders, upon reasonable request therefor by
Agent, all financial reports, budgets and any variances from same, other financial information,
operational issues, matters related to the Collateral, all reports prepared or reviewed by the
Financial Advisor, information on the sale and maintenance of the Debtors’ businesses and assets
and such other matters as the Agent may reasonably request; provided that the Financial Advisor
shall not be required to provide copies of any reports (financial or otherwise) that are in “draft”
or “work product” form or privileged. The Debtors agree to provide the Financial Advisor with
complete access to all of the books and records of the Debtors, all of premises of the Debtors and
to all management and employees of the Debtors as and when deemed necessary by the Financial
Advisor.

                              Any amendment, modification or termination of the retention
agreement with the Financial Advisor without the prior written consent of Agent shall constitute
an Event of Default. The Debtors acknowledge and agree that the Debtors shall cause the
Financial Advisor, as further described in clause (a) above, (i) to keep Agent fully informed of
the progress of the business and operations of the Debtors and to respond to any reasonable
inquiries of Agent regarding the maintenance of the Borrower’s businesses and the sale of their
assets and (ii) to communicate and cooperate with Agent and share all information, as reasonably
requested thereby, with Agent regarding the Debtors, and the sale and maintenance of the
Debtors’ businesses and assets.

                              If the Financial Advisor resigns, the Debtors shall immediately
notify Agent in writing and promptly after receipt thereof, provide Agent with a copy of any
notice of resignation from such Financial Advisor. Any replacement or successor Financial
Advisor shall be reasonably acceptable to Agent, shall be retained pursuant to a new retention
agreement on terms and conditions reasonably acceptable to Agent within five (5) Business Days
immediately following the notice of resignation of the resigning Financial Advisor and shall be
approved by the Bankruptcy Court. Failure to comply with the terms and conditions of this
Section shall constitute an Event of Default.

              5.9    Super-Priority Administrative Expense. Each Borrower and Guarantor
hereby represents and warrants with, to and in favor of Agent and Lenders that all amounts

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owing by Borrowers and Guarantors under the Loan Agreement at all times after entry of the
Permanent Financing Order and for all sums advanced by Lenders during the period on and after
the entry of the Interim Financing Order will constitute allowed super-priority administrative
expense claims in the Chapter 11 Cases having priority over all other administrative expenses of
the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, subject only to the
Carve-Out to the extent provided in any Financing Order.

                5.10 Early Termination. Notwithstanding anything to the contrary contained in
this Ratification Agreement, the Loan Agreement or the other Financing Agreements, the parties
hereto acknowledge and agree that, solely for purposes of Sections 3.2(d) and 3.2(e) of the Loan
Agreement, the Events of Default described in Sections 10.1(g) and 10.1(h) of the Pre-Petition
Loan Agreement have occurred and are continuing and survive the execution and effectiveness
of this Ratification Agreement.

            6.   [Reserved].

            7.   AMENDMENTS.

              7.1    Mandatory Prepayments. Section 2.1(d) of the Pre-Petition Loan
Agreement is hereby amended by adding the following sentence at the end thereof:

                        “In addition, in the event that Borrowers fail to meet the DIP Milestones
                        (other than the Plan Milestones), Borrowers shall, upon demand by Agent,
                        which may be made at any time or from time to time, immediately repay
                        Loans and other Obligations to Agent in an amount equal to 100% of the
                        net cash proceeds from asset sales generating during the Chapter 11 Cases,
                        which shall be applied in accordance with Section 6.4 hereof.”

             7.2    Limits and Sublimits. Section 2 of the Pre-Petition Loan Agreement is
hereby amended by adding the following new Section 2.6 at the end of such Section:

                        “2.6 Limit and Sublimit Construction. All limits and sublimits set forth
                        in this Agreement, and any formula or other provision to which a limit or
                        sublimit may apply, shall be determined on an aggregate basis considering
                        together both the Pre-Petition Obligations and the Post-Petition
                        Obligations.”

                 7.3    Elimination of Eurodollar Rate Loans.

                                 Section 3.1(b) of the Pre-Petition Loan Agreement is hereby
deleted in its entirety and the following is substituted therefor “(b) [Reserved].”

                                 Section 3.1(c) of the Pre-Petition Loan Agreement is hereby
deleted in its entirety and the following is substituted therefor “(c) [Reserved].”

                              Notwithstanding anything to the contrary contained in the Loan
Agreement, (i) all Eurodollar Rate Loans shall automatically convert to Prime Rate Loans as of
the Ratification Closing Date without any action taken or required to be taken by any Person, (ii)

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Borrowers shall not request or have any right to receive any Eurodollar Rate Loans from Agent
and Lenders, and Borrowers shall not request or have any right to convert any Prime Rate Loans
to Eurodollar Rate Loans, and (iii) Agent and Lenders shall not have any obligation to make any
Eurodollar Rate Loans to any Borrower or to convert any Prime Rate Loans into Eurodollar Rate
Loans. Notwithstanding anything to the contrary contained herein or in the Loan Agreement, the
reference to the Adjusted Eurodollar Rate in the definition of “Prime Rate” is only with reference
to determining the Prime Rate and any Loan made in reference to such rate shall not constitute a
Eurodollar Rate Loan such that the provisions under Sections 3.3(b), (c) and (d) would have any
application to the Prime Rate Loans.

              7.4    Letter of Credit Fees. Section 3.2(b) of the Pre-Petition Loan Agreement
is hereby amended by deleting each reference to “which are Eurodollar Rate Loans”.

               7.5    Special Provisions Regarding Collateral. Section 5.3 of the Pre-Petition
Loan Agreement is hereby amended by deleting such Section in its entirety and replacing it with
the following “5.3 [Reserved].”

             7.6    Payments. Section 6.4 of the Pre-Petition Loan Agreement is hereby
amended by adding the following new subsection (h) at the end of such Section:

                      “(h) Notwithstanding anything to the contrary contained in this Agreement
                      or any of the other Financing Agreements, Agent shall, to the extent
                      authorized by the Financing Orders, apply any such payments or proceeds
                      first, to the Pre-Petition Obligations in accordance with Section 6.4 hereof
                      until such Pre-Petition Obligations are paid and satisfied in full and
                      second, to the Post-Petition Obligations in accordance with Section 6.4
                      hereof until such Post-Petition Obligations are paid and satisfied in full.”

              7.7    Collection and Administration. Section 6 of the Pre-Petition Loan
Agreement is hereby amended by adding the following new Section 6.13 at the end of such
Section:

                      “6.13 Misapplied Payments. Notwithstanding anything to the contrary
                      contained in this Agreement, if Agent in good faith determines that any
                      amount of proceeds of Term Loan Priority Collateral have been applied to
                      repay Obligations in accordance with Section 6.4(b):

                            (a) Agent may establish a Reserve in an amount equal to such
                      amount of proceeds, and

                              (b) Borrowers shall be deemed to have requested, automatically
                      and without the need for any further action, the borrowing of Revolving
                      Loans A in an amount equal to such amount of proceeds, which Revolving
                      Loans A shall be applied to repay Obligations in accordance with Section
                      6.4(d).”




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               7.8      Collateral Reporting. Section 7.1(a) of the Pre-Petition Loan Agreement
is hereby amended by (i) deleting the “.” at the end of such section and substituting “;” therefor;
and (ii) adding the following new subsections at the end of Section 7.1(a) as follows:

                       “(viii) daily, on each business day during the Chapter 11 Cases, a “roll-
                       forward” of the Inventory (including without limitation Pharmacy
                       Inventory) and Prescription Files;

                       (ix)    no less frequently than weekly, on the Wednesday of each week
                       during the Chapter 11 Cases, a report, in reasonable detail with respect to
                       all Store Closing GOB Sales, Real Property sales, Rx Sales and sales,
                       proposed sales or assignments of other Collateral outside the ordinary
                       course of Debtors’ businesses that have been made during the prior week
                       including but not limited to all sales of the following categories of
                       Collateral: (A) inventory, (B) furniture, fixtures and equipment,(C) real
                       property (including leases) and (D) intellectual property;

                       (x)     upon Agent’s request, monthly reports of the number of employees
                       of Borrower and Guarantors to which any wage, salary or benefit statute
                       or other law may apply as determined by Agent.

                       (xi)    upon Agent’s request, reports on the status of any sales or
                       proposed sales of Collateral outside the ordinary course of Debtors’
                       businesses, including any “going out of business” sales or pharmacy asset
                       sales conducted prior to or during the Chapter 11 Cases.”

               7.9     Inventory Covenants.

                            Section 7.3(c) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                       “(c) other than as a result of the Store Closing GOB Sales and the Rx Sale,
                       and except as permitted under Section 9.2 hereof, each Borrower and
                       Guarantor shall not remove any Inventory from the locations set forth or
                       permitted herein, without the prior written consent of Agent, except for
                       sales of Inventory in the ordinary course of its business and except to
                       move Inventory directly from one location set forth or permitted herein to
                       another such location and except for Inventory shipped from the
                       manufacturer thereof to a Borrower or Guarantor which is in transit to the
                       locations set forth or permitted herein;”

                            Section 7.3(d) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                        “(d) Borrowers shall, deliver or cause to be delivered to Agent written
                       appraisals as to the Inventory in form, scope and methodology acceptable
                       to Agent and by an appraiser acceptable to Agent, addressed to Agent and
                       Lenders and upon which Agent and Lenders are expressly permitted to
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                    rely, (i) one (1) time in any calendar quarter at Borrowers’ expense, (ii)
                    [reserved], (iii) in addition to the appraisals delivered pursuant to clauses
                    (i) and (ii) above, at any time or times as Agent may reasonably request at
                    Borrowers’ expense upon the occurrence and during the continuance of an
                    Event of Default and (iv) in addition to the appraisals delivered pursuant
                    to clauses (i), (ii) and (iii) above, at any additional time or times as Agent
                    may request at the expense of Lenders;”

             7.10   Equipment and Real Property Covenants.

                            Section 7.4(a) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                    “(a)(i) Borrowers shall, deliver or cause to be delivered to Agent written
                    appraisals as to the Eligible Equipment in form, scope and methodology
                    acceptable to Agent and by an appraiser acceptable to Agent, addressed to
                    Agent and Lenders and upon which Agent and Lenders are expressly
                    permitted to rely, (A) no more than one (1) time in any calendar quarter at
                    Borrowers’ expense upon Agent’s request, (B) [reserved], (C) in addition
                    to the appraisals delivered pursuant to clauses (A) and (B) above, at any
                    time or times as Agent may reasonably request at Borrowers’ expense
                    upon the occurrence and during the continuance of an Event of Default
                    and (D) in addition to the appraisals delivered pursuant to clauses (A), (B)
                    and (C) above, at any additional time or times as Agent may request at the
                    expense of Lenders, and (ii) Borrowers shall, deliver or cause to be
                    delivered to Agent written appraisals as to the Eligible Real Property in
                    form, scope and methodology acceptable to Agent and by an appraiser
                    acceptable to Agent, addressed to Agent and Lenders and upon which
                    Agent and Lenders are expressly permitted to rely, (A) no more than one
                    (1) time in any calendar quarter at Borrowers’ expense upon Agent’s
                    request, (B) [reserved], (C) in addition to the appraisals delivered pursuant
                    to clauses (A) and (B) above, at any time or times as Agent may request at
                    Borrowers’ expense upon the occurrence and during the continuance of an
                    Event of Default and (D) in addition to the appraisals delivered pursuant to
                    clauses (A), (B) and (C) above, at any additional time or times as Agent
                    may request at the expense of Lenders;”

                            Section 7.4(e) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                    “(e) other than as a result of the Store Closing GOB Sales, and without
                    limitation upon the rights of Borrowers and Guarantors to dispose of
                    Equipment pursuant to Section 9.7(b) hereof, each Borrower and
                    Guarantor shall not remove any Equipment from the locations set forth or
                    permitted herein, except to the extent necessary to have any Equipment
                    repaired or maintained in the ordinary course of its business or to move
                    Equipment directly from one location set forth or permitted herein to

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                      another such location and except for the movement of motor vehicles used
                      by or for the benefit of Borrowers or Guarantors in the ordinary course of
                      business;”

              7.11 Prescription Files Covenants. Section 7.5(c) of the Pre-Petition Loan
Agreement is hereby amended by deleting such subsection in its entirety and replacing it with the
following:

                      “(c) Borrowers shall, deliver or cause to be delivered to Agent written
                      appraisals as to the Prescription Files in form, scope and methodology
                      acceptable to Agent and by an appraiser acceptable to Agent, addressed to
                      Agent and Lenders and upon which Agent and Lenders are expressly
                      permitted to rely, (i) one (1) time in any calendar quarter at Borrowers’
                      expense, (ii) [reserved], (iii) in addition to the appraisals delivered
                      pursuant to clauses (i) and (ii) above, at any time or times as Agent may
                      reasonably request at Borrowers’ expense upon the occurrence and during
                      the continuance of an Event of Default and (iv) in addition to the
                      appraisals delivered pursuant to clauses (i), (ii) and (iii) above, at any
                      additional time or times as Agent may request at the expense of Lenders;”

             7.12 Access to Premises. Section 7.9 of the Pre-Petition Loan Agreement is
hereby amended by deleting such subsection in its entirety and replacing it with the following:

                      “From time to time as requested by Agent, at the cost and expense of
                      Borrowers, (a) Agent or its designee shall have complete access to all of
                      each Borrower’s and Guarantor’s premises during normal business hours
                      and after reasonable notice to Administrative Borrower, or at any time and
                      without notice to Administrative Borrower if an Event of Default exists or
                      has occurred and is continuing, for the purposes of inspecting, verifying
                      and auditing the Collateral and all of each Borrower’s and Guarantor’s
                      books and records, including the Records (it being agreed that unless an
                      Event of Default shall exist or have occurred and be continuing, Agent
                      shall not conduct more than one (1) field audit of the Collateral and books
                      and records, including the Records of Borrowers and Guarantors, in any
                      calendar quarter at the expense of Borrowers, provided, that, Agent may
                      conduct additional field audits of the Collateral and books and records at
                      the expense of Lenders, and (b) each Borrower and Guarantor shall
                      promptly furnish to Agent such copies of such books and records or
                      extracts therefrom as Agent may request, and any Lender’s designee may
                      use during normal business hours such of any Borrower’s and Guarantor’s
                      personnel, equipment, supplies and premises as may be reasonably
                      necessary for the foregoing and if an Event of Default exists or has
                      occurred and is continuing for the collection of Receivables and
                      realization of other Collateral. Notwithstanding the foregoing, Agent may,
                      at the expense of Borrowers, conduct field audits as Agent may reasonably
                      require at any time upon the occurrence and during the continuance of an
                      Event of Default.”

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               7.13 Existence; Power and Authority. Section 8.1 of the Pre-Petition Loan
Agreement is hereby amended by (i) lower casing the word “The” in the second sentence therein
and inserting immediately prior to such second sentence the following phrase “Subject to any
entry of any required orders of the Bankruptcy Court including, without limitation, the entry of
the Interim Financing Order and the Permanent Financing Order, as applicable,” and (ii) lower
casing the word “This” in the third sentence therein and inserting immediately prior to such third
sentence the following phrase “Subject to the entry of the Interim Financing Order and the
Permanent Financing Order, as applicable,”.

              7.14 Litigation. Section 8.6 of the Pre-Petition Loan Agreement is hereby
amended by lower casing the word “Except” in the first sentence therein and inserting
immediately prior to such first sentence the following phrase “Except for the Bankruptcy Events
and”.

                7.15 Compliance with Other Agreements and Applicable Laws. (i) Section
8.7(a) of the Pre-Petition Loan Agreement is hereby amended by inserting immediately prior to
the first sentence therein the following phrase “Other than as a result of the Bankruptcy Event
(the exercise of remedies as a result of which are stayed under the Bankruptcy Code), the” and
(ii) Section 8.7(b) of the Pre-Petition Loan Agreement is hereby amended by inserting
immediately prior to the first sentence therein the following phrase “Subject to the entry of the
Interim Financing Order and the Permanent Financing Order, as applicable, the”.

             7.16 Solvency. Section 8.12 of the Pre-Petition Loan Agreement is hereby
amended by deleting clause (d) of such Section in its entirety and replacing it with “(d)
[Reserved].”

             7.17 Material Contracts. Section 8.15 of the Pre-Petition Loan Agreement is
hereby amended by deleting such section in its entirety and replacing it with the following:

                      “8.15 Material Contracts. Schedule 8.15 to the Information Certificate
                      sets forth all Material Contracts to which any Borrower or Guarantor is a
                      party or is bound as of the date hereof. Borrowers and Guarantors have
                      delivered true, correct and complete copies of such Material Contracts to
                      Agent on or before the date hereof. Other than the Bankruptcy Events,
                      Borrowers and Guarantors are not in breach or in default in any material
                      respect of or under any Material Contract and have not received any notice
                      of the intention of any other party thereto to terminate any Material
                      Contract, except where such breach, default or termination has not had or
                      could not reasonably be expected to have a Material Adverse Effect or
                      would otherwise be stayed by the filing of the Chapter 11 Case.”

               7.18 Credit Card Agreements. Section 8.16 of the Pre-Petition Loan
Agreement is hereby amended (i) by lower casing the word “No” in the fourth sentence therein
and inserting immediately prior to such fourth sentence the following phrase “Other than the
Bankruptcy Events,” and (ii) by lower casing the word “Each” in the fifth sentence therein and
inserting immediately prior to such fifth sentence the following phrase “Other than the
Bankruptcy Events,”.

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             7.19 Payable Practices. Section 8.17 of the Pre-Petition Agreement is hereby
amended by deleting such section in its entirety and replacing it with the following:

                      “8.17 Payable Practices. Each Borrower and Guarantor has not made any
                      material change in the historical accounts payable practices from those in
                      effect immediately prior to the Ratification Closing Date (it being
                      understood that the issuance of a Letter of Credit for the benefit of a
                      vendor shall not, in and of itself, constitute a material change in the
                      historical payable practices), except (i) as in accordance with the Budget,
                      or (ii) with the written consent of the Agent.”

               7.20 Accuracy and Completeness of Information. Section 8.22 of the Pre-
Petition Loan Agreement is hereby amended by lower casing the word “Since” in the last
sentence therein and inserting immediately prior to such last sentence the following phrase
“Other than the Bankruptcy Events,”.

               7.21 Compliance with Laws, Regulations, Etc. Section 9.3(a) of the Pre-
Petition Loan Agreement is hereby amended by lower casing the word “Each” in the first
sentence therein and inserting immediately prior to such first sentence the following phrase
“Except to the extent non-compliance is permitted under the Bankruptcy Code,”.

                 7.22 Financial Statements and Other Information. Section 9.6(b) of the Pre-
Petition Loan Agreement is hereby amended by deleting such section in its entirety and replacing
it with the following:

                      “(b) Borrowers and Guarantors shall promptly notify Agent and (solely
                      in the case of clause (vii) below) Term Loan B Agent and Term Loan B-1
                      Agent in writing of the details of (i) any loss, damage, investigation,
                      action, suit, proceeding or claim relating to Collateral having a value of
                      more than $4,000,000 or which if adversely determined could reasonably
                      be expected to result in a Material Adverse Effect, other than events
                      arising as a result of the filing of the Chapter 11 Case, the exercise of
                      remedies as a result of which are stayed under the Bankruptcy Code, (ii)
                      any Material Contract being terminated or amended or any new Material
                      Contract entered into (in which event Borrowers and Guarantors shall
                      provide Agent with a copy of such Material Contract), (iii) any order,
                      judgment or decree in excess of $4,000,000 shall have been entered
                      against any Borrower or Guarantor any of its or their properties or assets,
                      (iv) any notification of a material violation of laws or regulations received
                      by any Borrower or Guarantor, (v) any ERISA Event, (vi) the occurrence
                      of any Default or Event of Default, and (vii) the sale or other disposition
                      of any Term Loan Priority Collateral during the continuance of a Term
                      Loan Priority Collateral Proceeds Event.”

               7.23 Financial Statements and Other Information. Section 9.6 of the Pre-
Petition Loan Agreement is hereby amended by adding the following new subsection at the end
of such Section:

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                       “(f) Borrowers and Guarantors shall also provide Agent and Lenders with
                       copies of all financial reports, schedules and other materials and
                       information at any time furnished by or on behalf of any Borrower or
                       Guarantor to the Bankruptcy Court (other than those filed on the docket of
                       the Bankruptcy Court), or the U.S. Trustee, or any material information
                       not previously provided to Agent with respect to the Chapter 11 Case that
                       is provided to any creditors’ committee or such Borrower or Guarantor’s
                       shareholders, substantially concurrently with the delivery thereof to the
                       Bankruptcy Court, creditors’ committee, U.S. Trustee or shareholders, as
                       the case may be.”

               7.24    Sale of Assets, Consolidation, Merger, Dissolution, Etc.

                            Section 9.7(b)(v) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                       “(v) the Store Closing GOB Sales, the Rx Sale and any other sale or
                       disposition of assets of Borrowers or Guarantors in connection with the
                       Chapter 11 Case, in each case, in accordance with this Agreement, the
                       Budget, Financing Orders, and any other order entered by the Bankruptcy
                       Court in form and substance reasonably acceptable to Agent; provided,
                       that, as to any such sale or disposition, Borrowers and Guarantors shall
                       promptly apply all proceeds payable or deliverable to any Borrower or
                       Guarantor in respect of such sale or disposition to the Obligations in
                       accordance with the Loan Agreement ;”

                               Section 9.7(c) of the Pre-Petition Loan Agreement is hereby
amended by (i) inserting immediately prior to the first sentence therein the following phrase
“other than with respect to the Store Closing GOB Sales,”, and (ii) deleting clause (vii) therein in
its entirety.

               7.25    Encumbrances.

                            Section 9.8(m) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(m) [reserved];”.

                              Section 9.8 of the Pre-Petition Loan Agreement is hereby amended
by (i) deleting the period appearing at the end of clause (u) of such definition and replacing it
with a semi-colon, and (ii) adding the following clauses at the end thereof:

                        “(v) all liens existing on the Petition Date that were permitted under the
                       Pre-Petition Loan Agreement to the extent such liens were legal, valid,
                       binding, enforceable and non-avoidable as of the Petition Date (including
                       any that are perfected subsequent to the Petition Date as permitted by
                       section 546(b) of the Bankruptcy Code), and are not otherwise avoided,
                       recharacterized or subordinated after the Petition Date;

                       (w) the Adequate Protection Liens; and
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                       (x) liens on the Collateral in respect of the Carve-Out.”

               7.26 Indebtedness. Notwithstanding anything to the contrary contained in
Section 9.9 of the Loan Agreement or any other provision of the Loan Agreement or any of the
other Financing Agreements, the Borrowers and Guarantors will not, and will not permit any
Subsidiary, after the Ratification Closing Date, to optionally prepay, redeem, defease, purchase,
or otherwise acquire any Indebtedness for borrowed money (other than the Obligations or as
otherwise made in accordance with the Budget) without the prior written consent of the Agent.

               7.27    Loans, Investments, Etc.

                            Section 9.10(d) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(d) [reserved];”.

                            Section 9.10(h) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(h) [reserved];”.

                            Section 9.10(i) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(i) [reserved];”.

                            Section 9.10(j) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(j) [reserved];”.

                            Section 9.10(k) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(k) [reserved];”.

                                Section 9.10 of the Pre-Petition Loan Agreement is hereby
amended by (i) deleting the “and” at the end of clause (m) thereof, (ii) deleting the “.” at the end
of clause (n) thereof and substituting “;” therefor, and (iii) adding the following new subsection
(o) at the end of such Section:

                       “(o) in accordance with an express and separate line item in the Budget
                       entitled “Permitted Investments”.”

               7.28    Dividends and Redemptions.

                            Section 9.11(d) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(d) [reserved];”.

                            Section 9.11(e) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                       “(e) in accordance with an express and separate line item in the Budget
                       entitled “Permitted Distributions”.”

               7.29    Transactions with Affiliates.



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                            Section 9.12(b)(iv) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(iv) [reserved];”.

                            Section 9.12(b)(vi) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(vi) [reserved];”.

                            Section 9.12(b)(vii) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(vii) [reserved];”.

                            Section 9.12(b)(viii) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(viii) [reserved];”.

                            Section 9.12(b)(ix) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(ix) [reserved];”.

                            Section 9.12(b)(x) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(x) [reserved];”.

                            Section 9.12 of the Pre-Petition Loan Agreement is hereby
amended by adding the following new clause at the end thereof:

                       “provided, that, any action otherwise prohibited by this Section 9.12 shall
                       be authorized if such action is in accordance with an express and separate
                       line item in the Budget entitled “Permitted Transactions with Affiliates”.”

              7.30 Credit Card Agreements.       Section 9.13 of the Pre-Petition Loan
Agreement is hereby amended by lower casing the word “Each” in the first sentence therein and
inserting immediately prior to such first sentence the following phrase “Other than the
Bankruptcy Events,”.

              7.31 Costs and Expenses. Section 9.22 of the Pre-Petition Loan Agreement is
hereby amended by (i) deleting the “.” at the end of such section and substituting “;” therefor, (ii)
deleting “and” before clause (h) thereof, and (iii) adding the following new subsection (i) at the
end of such Section:

                       “and (i) the reasonable costs and expenses incurred by Agent (including,
                       without limitation attorneys and consulting fees and expenses) in
                       connection with the Chapter 11 Cases.”

              7.32 Minimum Excess Availability. Section 9.25 of the Pre-Petition Loan
Agreement is hereby amended by deleting such Section in its entirety and replacing it with “9.25
[Reserved].”

             7.33 Events of Default. Section 10.1 of the Pre-Petition Loan Agreement is
hereby amended as follows:

                            Section 10.1(f) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(f) [reserved];”.

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                            Section 10.1(g) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(g) [reserved];”.

                            Section 10.1(h) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(h) [reserved];”.

                             Section 10.1(i) of the Pre-Petition Loan Agreement is hereby
amended by inserting immediately at the beginning thereof the following phrase “other than the
Bankruptcy Events, any of the following shall occur:”.

                             Section 10.1(j) of the Pre-Petition Loan Agreement is hereby
amended and restated as follows:

                     “(j) any Credit Card Issuer or Credit Card Processor shall send notice to
                     any Borrower that it is ceasing to make or suspending payments
                     (excluding, for the avoidance of doubt, any additional reserves or
                     holdbacks put in place as a result of the Bankruptcy Events) to any
                     Borrower or Guarantor of amounts due or to become due to any Borrower
                     or Guarantor or shall cease or suspend such payments, or shall send notice
                     to any Borrower or Guarantor that it is terminating its arrangements with
                     any Borrower or Guarantor or such arrangements shall terminate as a
                     result of any event of default under such arrangements, which continues
                     for more than the applicable cure period, if any, with respect thereto,
                     unless such Borrower or Guarantor shall have entered into arrangements
                     with another Credit Card Issuer or Credit Card Processor, as the case may
                     be, within sixty (60) days after the date of any such notice;”

                             Section 10.1 of the Pre-Petition Loan Agreement is hereby
amended by (i) deleting the word “or” at the end of Section 10.1(p), (ii) replacing the period
appearing at the end of Section 10.1(q) with a semicolon, and (iii) adding the following at the
end of such Section:

                     “(r) the occurrence of any condition or event which permits Agent or
                     Lenders to exercise any of the remedies set forth in the Financing Order,
                     including, without limitation, any “Event of Default” (as defined in any
                     Financing Order);

                     (s) the termination or non-renewal of the Financing Agreements as
                     provided for in any Financing Order;

                     (t) any Loan Party suspends or discontinues all or any material part of its
                     business (other than with respect to the Store Closing GOB Sales as
                     defined in and permitted by the Ratification Agreement), or is enjoined by
                     any court or governmental agency from continuing to conduct all or any
                     material part of its business, or a trustee or examiner with expanded
                     powers is appointed for any Loan Party, or any of their respective
                     properties;

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                    (u) any act, condition or event occurring after the Petition Date that has or
                    could reasonably expect to have a Material Adverse Effect;

                    (v) conversion of the Chapter 11 Cases to Chapter 7 case(s);

                    (w) the dismissal of the Chapter 11 Cases (or any subsequent Chapter 7
                    case) either voluntarily or involuntarily;

                    (x) grant of a lien on or other interest in any property of any Loan Party,
                    other than a lien or encumbrance permitted by the Loan Agreement or any
                    Financing Order (including the Carve-Out), which is superior to or ranks
                    in parity with Agent’s security interest in or lien upon the Collateral;

                    (y) the failure of Borrowers or Guarantors to comply with any Financing
                    Order;

                    (z) any Financing Order is revoked, remanded, vacated, reversed, stayed,
                    rescinded, modified, or amended on appeal;

                    (aa) the failure of Borrowers to comply with any of the DIP Milestones
                    (excluding the Plan Milestones);

                    (bb) appointment of a trustee, examiner or disinterested person with
                    expanded powers relating to the operations or the business of Borrowers
                    or Guarantors in the Chapter 11 Cases;

                    (cc) any administrative expense claim is allowed having priority or
                    ranking in parity with the rights of Agent (excluding the Carve-Out);

                    (dd) any plan of reorganization is confirmed without Agent’s and
                    Required Lender’s consent;

                    (ee) any tested line items (other than proceeds from Rx Sales) set forth in
                    the Budget adversely deviate from the projected amounts set forth for such
                    line items by more than 15% for the applicable Measurement Period;

                    (ff) material adverse change in the assets, or business or prospects of
                    Borrowers and Guarantors (taken as a whole) (it being understood that the
                    commencement of the Chapter 11 Cases, and any defaults under
                    agreements that have no effect under the terms of the Bankruptcy Code as
                    a result of the commencement thereof shall not be deemed a material
                    adverse change).”

             7.34   Remedies.

                            Section 10.2(f) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(f) [Reserved].”


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                            Section 10.2(j) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(j) [Reserved].”

               7.35 Governing Law; Choice of Forum; Service of Process; Jury Trial Waiver.
Sections 11.1(a) and (b) of the Pre-Petition Loan Agreement are hereby amended by deleting
such Sections in their entirety and replacing them with the following:

                     “(a) The validity, interpretation and enforcement of this Agreement and
                     the other Financing Agreements (except as otherwise provided therein)
                     and any dispute arising out of the relationship between the parties hereto,
                     whether in contract, tort, equity or otherwise, shall be governed by (i) the
                     internal laws of the State of New York but excluding any principles of
                     conflicts of law or other rule of law that would cause the application of the
                     law of any jurisdiction other than the laws of the State of New York, and
                     (ii) to the extent applicable, the Bankruptcy Code.

                     (b)     Borrowers, Guarantors, Agents, Collateral Agent, Term Loan B-1
                     Agent, Lenders and Issuing Bank irrevocably consent and submit to the
                     non-exclusive jurisdiction of the Bankruptcy Court, the Supreme Court of
                     New York County, New York and the United States District Court for the
                     Southern District of New York whichever Agent may elect, and waive any
                     objection based on venue or forum non conveniens with respect to any
                     action instituted therein arising under this Agreement or any of the other
                     Financing Agreements or in any way connected with or related or
                     incidental to the dealings of the parties hereto in respect of this Agreement
                     or any of the other Financing Agreements or the transactions related
                     hereto or thereto, in each case whether now existing or hereafter arising,
                     and whether in contract, tort, equity or otherwise, and agree that any
                     dispute with respect to any such matters shall be heard only in the courts
                     described above (except that Agent and Lenders shall have the right to
                     bring any action or proceeding against any Borrower or Guarantor or its or
                     their property in the courts of any other jurisdiction which Agent deems
                     necessary or appropriate in order to realize on the Collateral or to
                     otherwise enforce its rights against any Borrower or Guarantor or its or
                     their property).”

              7.36 Waiver of Notices, etc. Section 11.2 of the Pre-Petition Loan Agreement
is hereby amended by deleting such Section in its entirety and replacing it with the following:

                     “11.2 Waiver of Notices, etc.      Each Borrower and Guarantor hereby
                     expressly waives:

                     (a) demand, presentment, protest and notice of protest and notice of
                     dishonor with respect to any and all instruments and chattel paper,
                     included in or evidencing any of the Obligations or the Collateral, and any
                     and all other demands and notices of any kind or nature whatsoever with
                     respect to the Obligations, the Collateral and this Agreement, except such

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                     as are expressly provided for herein. No notice to or demand on any
                     Borrower or Guarantor which Agent, Collateral Agent or any Lender may
                     elect to give shall entitle such Borrower or Guarantor to any other or
                     further notice or demand in the same, similar or other circumstances; and

                     (b) any right that any Borrower or Guarantor may have to seek authority
                     (i) to use cash collateral of Agent, Lenders, Issuing Bank or any other
                     Secured Party under Section 363 of the Bankruptcy Code, (ii) to obtain
                     post-petition loans or other financial accommodations pursuant to Sections
                     364(c) or (d) of the Bankruptcy Code without the prior written consent of
                     Agent, (iii) to challenge, contest or otherwise seek to impair or object to
                     the validity, extent, enforceability or priority of Agent’s post-petition liens
                     and claims, (iv) to challenge the application of any payments or
                     collections received by Agent, Lenders, Issuing Bank or any other Secured
                     Party to the obligations of Borrowers and Guarantors as provided for
                     herein, (v) to propose or support a plan of reorganization that does not
                     provide for the indefeasible payment in full in cash and satisfaction of all
                     Obligations on the effective date of such plan, (vi) to surcharge the
                     Collateral pursuant to Section 506(c) of the Bankruptcy Code, or (vii) to
                     seek relief under the Bankruptcy Code, including without limitation, under
                     Section 105, to the extent any such relief would in any way restrict or
                     impair the rights and remedies of Agent or any Lender, Issuing Bank or
                     other Secured Party as provided herein, the Financing Agreements or the
                     Financing Orders.”

             7.37 Amendments and Waivers. Section 11.3 of the Pre-Petition Loan
Agreement is hereby amended by adding the following new subsection at the end of such
Section:

                     “(f) Notwithstanding anything to the contrary contained herein or in any
                     other Financing Agreement, amendments, waivers and consents with
                     respect to the provisions of the Financing Agreements relating to the
                     Budget, Financing Orders, Store Closing GOB Sales, Store Closing
                     Liquidation Agreement, the Rx Auction or Rx Sales, any other sale or
                     disposition of the Collateral, any of the DIP Milestones, any bankruptcy
                     Reserves, or clauses (b), (c) or (d) of the definition of Renewal Date shall
                     not require approval of any Secured Party other than the Agent.”

             7.38 Term. Section 14.1 of the Pre-Petition Loan Agreement is hereby
amended by deleting the phrase “June 19, 2020 (the ‘Renewal Date’)” and replacing it with “the
Renewal Date”.

              7.39 Assignments; Participations. Section 14.7(b) of the Pre-Petition Loan
Agreement is hereby amended by deleting the reference to “$20,000,000” and substituting
“$5,000,000” therefor.



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               7.40 Schedule of Commitments. Schedule 1 to the Loan Agreement is hereby
amended by deleting such Schedule in its entirety and replacing it with Schedule 1 in the form
attached hereto as Exhibit D to this Ratification Agreement.

              7.41 Schedule of Existing Letters of Credit. Schedule 1.79 to the Pre-Petition
Loan Agreement is hereby amended by deleting such Schedule in its entirety and replacing it
with Schedule 1.79 in the form attached hereto as Exhibit E to this Ratification Agreement.

              7.42 Schedule of Credit Card Agreements. Schedule 8.16 to the Pre-Petition
Loan Agreement is hereby amended by deleting such Schedule in its entirety and replacing it
with Schedule 8.16 in the form attached hereto as Exhibit F to this Ratification Agreement.

            8.   RELEASE.

                 8.1   Release of Pre-Petition Claims.

                                Upon the earlier of (i) the entry of the Permanent Financing Order
or (ii) the entry of an Order extending the term of the Interim Financing Order beyond thirty (30)
calendar days after the date of the Interim Financing Order, in consideration of the agreements of
Agent, Lenders and each other Secured Party contained herein and the making of any Loans by
Agent and Lenders, each Borrower and Guarantor, for good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, on behalf of itself and its respective
successors, assigns, and other legal representatives, hereby absolutely, unconditionally and
irrevocably releases, remises and forever discharges Agents, Term Loan B-1 Agent, Collateral
Agent, each Lender, each other Secured Party and their respective successors and assigns, and
their present and former shareholders, affiliates, subsidiaries, divisions, predecessors, directors,
officers, attorneys, employees and other representatives (Agents, Term Loan B-1 Agent,
Collateral Agent, each Lender, each other Secured Party and all such other parties being
hereinafter referred to collectively as the “Releasees” and individually as a “Releasee”), of and
from all demands, actions, causes of action, suits, covenants, contracts, controversies,
agreements, promises, sums of money, accounts, bills, reckonings, damages and any and all
other claims, counterclaims, defenses, rights of set-off, demands and liabilities whatsoever
(individually, a “Pre-Petition Released Claim” and collectively, “Pre-Petition Released
Claims”) of every name and nature, known or unknown, suspected or unsuspected, both at law
and in equity, which any Borrower or Guarantor, or any of their respective successors, assigns,
or other legal representatives may now or hereafter own, hold, have or claim to have against the
Releasees or any of them for, upon, or by reason of any nature, cause or thing whatsoever which
arises at any time on or prior to the Ratification Closing Date, including, without limitation, for
or on account of, or in relation to, or in any way in connection with the Pre-Petition Loan
Agreement and the other Financing Agreements, as amended and supplemented through the date
hereof.

                                Upon the earlier of (i) the entry of the Permanent Financing Order
or (ii) the entry of an Order extending the term of the Interim Financing Order beyond thirty (30)
calendar days after the date of the Interim Financing Order, each Borrower and Guarantor, on
behalf of itself and its successors, assigns, and other legal representatives, hereby absolutely,
unconditionally and irrevocably, covenants and agrees with each Releasee that it will not sue (at

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law, in equity, in any regulatory proceeding or otherwise) any Releasee on the basis of any Pre-
Petition Released Claim released, remised and discharged by each Borrower and Guarantor
pursuant to this Section 8.1. If any Borrower or Guarantor violates the foregoing covenant,
Borrowers and Guarantors agree to pay, in addition to such other damages as any Releasee may
sustain as a result of such violation, all attorneys’ fees and costs incurred by any Releasee as a
result of such violation.

                8.2    Release of Post-Petition Claims. Upon the payment in full of all of the
Obligations, in consideration of the agreements of Agents, Term Loan B-1 Agent, Collateral
Agent, Issuing Banks and Lenders contained herein and the making of any Loans by Agent and
Lenders, each Borrower and Guarantor hereby covenants and agrees to execute and deliver in
favor of Agents, Term Loan B-1 Agent, Collateral Agent, Issuing Banks, Lenders and other
Secured Parties a valid and binding termination and release agreement, in form and substance
satisfactory to Agent. If any Borrower or Guarantor violates such covenant, Borrowers and
Guarantors agree to pay, in addition to such other damages as any Releasee may sustain as a
result of such violation, all attorneys’ fees and costs incurred by any Releasee as a result of such
violation.

                 8.3   Releases Generally.

                               Each Borrower and Guarantor understands, acknowledges and
agrees that the releases set forth above in Sections 8.1 and 8.2 hereof may be pleaded as a full
and complete defense and may be used as a basis for an injunction against any action, suit or
other proceeding which may be instituted, prosecuted or attempted in breach of the provisions of
such releases.

                              Each Borrower and Guarantor agrees that no fact, event,
circumstance, evidence or transaction which could now be asserted or which may hereafter be
discovered shall affect in any manner the final and unconditional nature of the releases set forth
in Section 8.1 hereof and, when made, Section 8.2 hereof.

            9.   CONDITIONS PRECEDENT.

        The amendments, representations and warranties, covenants, defaults and all other
agreements and obligations contained in Sections 1 through 8 of this Ratification Agreement
shall only become effective upon the satisfaction (or waiver) of all of the following conditions
precedent (the time of such satisfaction (or waiver) referred to herein as the “Ratification
Closing Date”):

              9.1     as of the Petition Date, the Pre-Petition Financing Agreements shall not
have been terminated;

              9.2     Borrowers and Guarantors shall have commenced a voluntary case under
Chapter 11 of the Bankruptcy Code in the Bankruptcy Court having exclusive jurisdiction over
the Chapter 11 Cases by no later than January 16, 2019;

              9.3      Borrowers and Guarantors shall have complied in full with the notice and
other requirements of the Bankruptcy Code in a manner acceptable to Agent and its counsel, with
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respect to the Interim Financing Order and Agent shall have received such evidence thereof as it
shall reasonably require;

              9.4     no trustee, or other disinterested person with expanded powers pursuant to
Section 1104(c) of the Bankruptcy Code, shall have been appointed or designated with respect to
any Borrower or Guarantor or their respective business, properties or assets and no motion shall
be pending seeking any such relief;

                9.5    all of the first day orders shall have been entered by the Bankruptcy Court
by the third (3rd) day following the Petition Date and shall be in form and substance satisfactory
to Agent;

                9.6     a cash management order approving the cash management arrangements
of Borrowers and Guarantors consistent with the requirements under the Financing Agreements
shall have been entered, in form and substance satisfactory to Agent, and shall be in full force
and effect, and has not been vacated, reversed or modified (except as consented to by Agent) and
is not subject to any pending appeal or stay;

               9.7     the Interim Financing Order as entered by the Bankruptcy Court
authorizing the secured financing under the Financing Agreements and, inter alia, modifying the
automatic stay, authorizing and granting the security interests and liens described herein, and
granting a super-priority administrative expense claim to Agent and other Secured Parties with
respect to all obligations to Agent and other Secured Parties, subject to no priority claim or
administrative expenses of the Chapter 11 Cases or any other entity, and any future proceeding
which may develop out of any such cases, including liquidation in bankruptcy, shall have been
entered within three (3) days after the commencement of the Chapter 11 Cases and be in full
force and effect and not have been vacated, reversed, modified, amended or stayed and not be
subject to a pending appeal or motion or motion for leave to appeal or other proceeding to set
aside any such order or the challenge to the relief provided for in it, except as consented to by
Agent;

                9.8    receipt by Agent of a proposed Plan of Reorganization, on terms and
conditions reasonably satisfactory to Agent, which provides for, among other things, either (i)
the entry by Debtors into an exit financing facility on terms and conditions acceptable to Agent
or (ii) the indefeasible payment in full of all Pre-Petition Obligations owing under the Pre-
Petition Financing Agreements and Post-Petition Obligations owing under the Financing
Agreements on or before the “effective date” of the Plan of Reorganization (provided that
nothing in this Section 9.8 shall constitute a vote by Agent or any Lender in favor of the Plan of
Reorganization or a commitment by Agent or any Lender to vote in favor of the Plan of
Reorganization);

                9.9    receipt by Agent, each in form and substance satisfactory to Agent, of (i)
the initial Budget, (ii) any updates or modifications to the projected financial statements of
Borrowers and Guarantors previously received by Agent, in each case in form and substance
satisfactory to Agent, and (iii) copies of satisfactory interim unaudited financial statements for
each month ended since the last audited financial statements for which financial statements are
available;

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                9.10 Agent’s completion of its due diligence, with results satisfactory to Agent,
which diligence may include receipt by Agent and Lenders of the documentation and other
information that is required by regulatory authorities under applicable “know your customer” and
anti-money-laundering rules and regulations, including, without limitation, the Patriot Act.
Agent shall be satisfied with the corporate and capital structure and management of Borrowers
and Guarantors and with all legal, tax, accounting and other matters relating to Borrowers and
Guarantors. Agent and its counsel will have had the opportunity to conduct customary legal due
diligence (the results of which shall be satisfactory to Agent and its counsel);

                 9.11 no material adverse change in the business, operations, profits, assets or
prospects of Borrowers and Guarantors or the Collateral shall have occurred as of the entry of the
Interim Financing Order (it being understood that the commencement of the Chapter 11 Cases,
and any defaults under agreements that have no effect under the terms of the Bankruptcy Code as
a result of the commencement thereof shall not be deemed a material adverse change);

                9.12 no defaults or events of default on the closing date under any of the
Financing Agreements or on any other debt or any material contract of Borrowers or Guarantors
shall exist (other than any defaults under agreements that have no effect under the terms of the
Bankruptcy Code as a result of the commencement thereof);

               9.13 Agent and Lenders shall have received the payment of all fees required to
be paid under the terms hereof or otherwise under the Financing Agreements, including the DIP
Fee Letter executed and delivered in connection herewith;

               9.14 there shall be no material misstatements in or omissions from the materials
previously furnished to Agent by Borrowers and Guarantors;

               9.15 Agent shall not become aware of any material information or other matter
that is inconsistent in a material and adverse manner with any previous due diligence,
information or matter (including any financial information);

              9.16 the receipt by Agent of this Ratification Agreement, executed and
delivered by Borrowers, Guarantors, Lenders and the other parties hereto;

                9.17 the implementation of the terms of this Ratification Agreement and the
other Financing Agreements, as modified pursuant to this Ratification Agreement, all of which
contains provisions, representations, warranties, covenants and Events of Default, as are
satisfactory to Agent and its counsel;

               9.18 the receipt by Agent of the following documents, agreements, or other
information, in each case, in form and substance satisfactory to Agent and executed and
delivered by the parties thereto:

                              the Information Certificate,

                              the DIP Fee Letter,



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                            an update to the latest Borrowing Base Certificate that Agent has
received from Borrowers that reflects, on a pro forma basis, the changes to the Financing
Agreements evidenced by this Ratification Agreement,

                               the Store Closing Liquidation Agreement,

                               the Rx Bidding Procedures Order, and

                               Store Closing GOB Sale Order;

                 9.19 other than the voluntary commencement of the Chapter 11 Case, the Store
Closing GOB Sales, and the Rx Sale, no material impairment of the priority of Agent’s security
interests in the Collateral shall have occurred from the date of the latest field examinations of
Agent to the Petition Date;

              9.20 Borrowers shall have (i) engaged the Financial Advisor in accordance with
Section 5.8 of the Ratification Agreement, and (ii) have provided the Financial Advisor with
such information as they may reasonably require;

                 9.21 Agent, for the benefit of itself and the other Secured Parties, shall hold
perfected, first priority security interests in and liens upon the Collateral (subject to the liens
permitted under Section 9.8 of the Loan Agreement and the Carve-Out) and Agent shall have
received such evidence thereof as it requires; and

               9.22 no Default or Event of Default shall have occurred or be existing under
any of the Financing Agreements, as modified pursuant hereto, and assumed by Borrowers and
Guarantors.

        For the purpose of determining satisfaction with the conditions specified in this Section 9,
each Lender that has signed and delivered this Agreement shall be deemed to have accepted, and
to be satisfied with, each document or other matter required under this Section 9 unless the
Agent shall have received written notice from such Lender prior to the Ratification Closing Date
specifying its objection thereto.

     10.   ADDITIONAL CONDITIONS PRECEDENT TO ALL LOANS AND LETTERS
OF CREDIT.

        In addition to the satisfaction of the conditions precedent under Section 9 of this
Ratification Agreement with respect to the effectiveness of the noted Sections of this Ratification
Agreement and the making of the initial Loans under the Loan Agreement, and the satisfaction of
the conditions precedent in Section 4.2 of the Loan Agreement with respect to all Loans and
other financial accommodations available to Borrowers (such conditions in Section 4.2 shall
remain applicable to the Loans and be applicable to other financial accommodations available to
Borrowers), the following are conditions to Agent’s and Lenders’ obligation to extend further
loans, advances or other financial accommodations to Borrowers pursuant to the Loan
Agreement:



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               10.1 with respect to further credit after expiration of the Interim Financing
Order, on or before the expiration of the Interim Financing Order, the Bankruptcy Court shall
have entered the Permanent Financing Order. Neither Agent nor any Lender shall provide any
Loans (or other financial accommodations) other than those authorized under the Interim
Financing Order unless, on or before the expiration of the Interim Financing Order, the
Permanent Financing Order shall have been entered, and there shall be no appeal or other contest
with respect to either the Interim Financing Order or the Permanent Financing Order and the
time to appeal to contest such order shall have expired;

              10.2 requests for further credit shall only be for purposes and in amounts in
accordance with the Budget for the week in which such requests are made;

               10.3 subject to the Financing Order, all fees and expenses required to be paid to
the Agent and the Lenders pursuant to the Ratification Agreement and the Loan Agreement, as
amended thereby, shall have been paid or shall be paid concurrently with the making of the
Loans after the Ratification Closing Date; and

                10.4 no Default or Event of Default shall have occurred or be existing under
any of the Financing Agreements, as amended, supplemented or otherwise modified pursuant
this Ratification Agreement and assumed by Borrowers and Guarantor.

            11.   MISCELLANEOUS.

               11.1 Amendments and Waivers. Neither this Ratification Agreement nor any
other instrument or document referred to herein or therein may be changed, waived, discharged
or terminated orally, but only by an instrument in writing signed by the party against whom
enforcement of the change, waiver, discharge or termination is sought. Notwithstanding
anything to the contrary contained herein or in any other Financing Agreement, amendments,
waivers and consents with respect to the provisions of this Ratification Agreement or any other
Financing Agreement relating to the Budget, Store Closing GOB Sales, Store Closing
Liquidation Agreement, the Rx Auction or Rx Sales, any other sale or disposition of the
Collateral, any of the DIP Milestones, any bankruptcy Reserves, or clauses (b), (c) or (d) of the
definition of Renewal Date shall not require the approval of any Secured Party other than the
Agent.

                11.2 Further Assurances. Each Borrower and Guarantor shall, at its expense, at
any time or times duly execute and deliver, or shall use its best efforts to cause to be duly
executed and delivered, such further agreements, instruments and documents, and do or use its
best efforts to cause to be done such further acts as may be reasonably necessary or proper in
Agent’s reasonable opinion to evidence, perfect, maintain and enforce the security interests of
Agent and/or Collateral Agent, and the priority thereof, in the Collateral and to otherwise
effectuate the provisions or purposes of this Ratification Agreement, any of the other Financing
Agreements or the Financing Order. Upon the reasonable request of Agent, at any time and from
time to time, each Borrower and Guarantor shall, at its cost and expense, do, make, execute,
deliver and record, register or file updates to the filings of Agent and Collateral Agent with
respect to the Intellectual Property with the United States Patent and Trademark Office or the
United States Copyright Office, the financing statements, and other instruments, acts, pledges,

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assignments and transfers (or use its best efforts to cause the same to be done) and will deliver to
Agent and Lenders such instruments evidencing items of Collateral as may be reasonably
requested by Agent.

               11.3 Headings. The headings used herein are for convenience only and do not
constitute matters to be considered in interpreting this Ratification Agreement.

                11.4 Counterparts. This Ratification Agreement may be executed in any
number of counterparts, each of which shall be deemed to be an original, but all of which shall
together constitute one and the same agreement. In making proof of this Ratification Agreement,
it shall not be necessary to produce or account for more than one counterpart thereof signed by
each of the parties hereto. Delivery of an executed counterpart of this Ratification Agreement by
telefacsimile or other means of electronic transmission shall have the same force and effect as
delivery of an original executed counterpart of this Ratification Agreement. Any party
delivering an executed counterpart of this Ratification Agreement by telefacsimile or other
means of electronic transmission also shall deliver an original executed counterpart of this
Ratification Agreement, but the failure to deliver an original executed counterpart shall not affect
the validity, enforceability, and binding effect of this Ratification Agreement as to such party or
any other party.

               11.5 Additional Events of Default. The parties hereto acknowledge, confirm
and agree that the failure of any Borrower or Guarantor to comply with any of the covenants,
conditions and agreements contained herein or in any other Financing Agreement shall constitute
an Event of Default under the Financing Agreements.

               11.6 Costs and Expenses. Subject to the terms of the Financing Order,
Borrowers shall pay to Agent on demand all costs and expenses that Agent pays or incurs in
connection with the negotiation, preparation, consummation, administration, enforcement, and
termination of this Ratification Agreement and the other Financing Agreements and the
Financing Order. Subject to the terms of the Financing Order, the foregoing shall not be
construed to limit any other provisions of the Financing Agreements regarding costs and
expenses to be paid by Borrowers. Subject to the terms of the Financing Order, all sums
provided for in this Section 11.6 shall be part of the Obligations, shall be payable on demand,
and shall accrue interest after demand for payment thereof at the highest rate of interest then
payable under the Financing Agreements. Agent is hereby irrevocably authorized to charge any
amounts payable hereunder directly to any of the account(s) maintained by Agent with respect to
any Borrower or Guarantor.

                11.7 Effectiveness. This Ratification Agreement shall become effective upon
the satisfaction of the conditions precedent set forth in Section 9 hereof, and the entry of the
Interim Financing Order.

                11.8 Patriot Act. Each Lender subject to the Act hereby notifies Borrowers and
Guarantors that pursuant to the requirements of the Act, it is required to obtain, verify and record
information that identifies each person or corporation who opens an account and/or enters into a
business relationship with it, which information includes the name and address of Borrowers and
Guarantors and other information that will allow such Lender to identify such person in

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accordance with the Act. Borrowers and Guarantors are hereby advised that this commitment is
subject to satisfactory results of such verification.



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       IN WITNESS WHEREOF, the parties hereto have caused this Ratification Agreement to
be duly executed as of the day and year first above written.



                                              BORROWERS

                                              SHOPKO PROPERTIES, LLC
                                              PENN-DANIELS, LLC
                                              SHOPKO OPTICAL MANUFACTURING, LLC
                                              RETAINED R/E SPE, LLC

                                              By:    ______________________________
                                              Name:
                                              Title:


                                              SHOPKO STORES OPERATING CO., LLC
                                              SPECIALTY RETAIL SHOPS HOLDING CORP.,
                                               formerly known as SKO Group Holding Corp.
                                              SHOPKO HOLDING COMPANY, LLC, formerly
                                               known as ShopKo Holding Company, Inc.
                                              SHOPKO INSTITUTIONAL CARE SERVICES
                                              CO., LLC

                                              By:    ______________________________
                                              Name:
                                              Title:


                                              PAMIDA STORES OPERATING CO., LLC

                                              By:    ______________________________
                                              Name:
                                              Title:




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                                            GUARANTORS

                                            SHOPKO FINANCE, LLC

                                            By:    ______________________________
                                            Name:
                                            Title:


                                            SVS TRUCKING, LLC
                                            SHOPKO GIFT CARD CO., LLC,
                                             formerly known as ShopKo Ventures-Duluth, LLC

                                            By:    ______________________________
                                            Name:
                                            Title:


                                            PAMIDA TRANSPORTATION, LLC

                                            By:    ______________________________
                                            Name:
                                            Title:


                                            PLACE’S ASSOCIATES’ EXPANSION, LLC

                                            By:     Pamida Stores Operating Co., LLC,
                                                    its Sole Member and Manager

                                            By:    ______________________________
                                            Name:
                                            Title:




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                                            AGENTS

                                            WELLS FARGO BANK, NATIONAL
                                            ASSOCIATION,
                                            successor by merger to Wachovia Bank,
                                            National Association, as Agent, Term Loan B
                                            Agent, Collateral Agent and Issuing Bank

                                            By:
                                            Name:
                                            Title:




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                                            TERM LOAN B-1 AGENT

                                            SHOPKO NOTE HOLDING, LLC,
                                            as Term Loan B-1 Agent

                                            By:
                                            Name:
                                            Title:




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                                     LENDERS

                                     WELLS FARGO BANK, NATIONAL
                                     ASSOCIATION


                                     By:
                                     Name:
                                     Title:




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                                     TD BANK, N.A.


                                     By:
                                     Name:
                                     Title:




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                                     CITIZENS BUSINESS CAPITAL, a division of
                                     Citizens Asset Finance, Inc.


                                     By:
                                     Name:
                                     Title:




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                                     BANK OF AMERICA, N.A.


                                     By:
                                     Name:
                                     Title:




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                                     PNC BANK, NATIONAL ASSOCIATION


                                     By:
                                     Name:
                                     Title:




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                                     CIT BANK, N.A.


                                     By:
                                     Name:
                                     Title:




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                                     JPMORGAN CHASE BANK, N.A.


                                     By:
                                     Name:
                                     Title:




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                                     U.S. BANK NATIONAL ASSOCIATION


                                     By:
                                     Name:
                                     Title:




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                                     GORDON BROTHERS FINANCE COMPANY,
                                     LLC


                                     By:
                                     Name:
                                     Title:




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                                     BANK OF MONTREAL


                                     By:
                                     Name:
                                     Title:




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                                     SHOPKO NOTE HOLDING, LLC


                                     By:
                                     Name:
                                     Title:




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                              EXHIBIT A
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT

                             SUMMARY BUDGET

                                 (see attached)




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                              EXHIBIT B
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT

                        Form of Interim Financing Order

                                 (see attached)




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                              EXHIBIT C
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT

                             Information Certificate

                                  (see attached)




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                                                    EXHIBIT D
                                                        to
                                     RATIFICATION AND AMENDMENT AGREEMENT

                                                              Schedule 1

                                                          Commitments


                               Revolving Loan A   Revolving Loan A-1       Term Loan B      Term Loan B-1          Total
Wells Fargo Bank, National
Association                     $83,882,583.17      $9,305,479.45          $23,005,250.00         -          $116,193,312.62
PNC Bank, National
Association                     $41,643,835.62      $3,123,287.67          $7,104,562.50          -          $51,871,685.79
CIT Bank, N.A.                  $13,142,857.14      $4,000,000.00          $2,029,875.00          -          $19,172,732.14
Bank of America, N.A.           $72,571,428.57      $6,000,000.00                -                -          $78,571,428.57
Citizens Business Capital, a
division of Citizens Asset
Finance, Inc.                   $35,616,438.35      $2,671,232.88                -                -          $38,287,671.23
Bank of Montreal                $67,428,571.43      $4,900,000.00                -                -          $72,328,571.43
TD Bank, N.A.                   $28,571,428.57            -                      -                -          $28,571,428.57
JPMorgan Chase Bank, N.A.       $37,142,857.14            -                      -                -          $37,142,857.14
US Bank National Association    $20,000,000.00            -                      -                -          $20,000,000.00
Gordon Brothers Finance
Company, LLC                          -                   -                $16,915,625.00         -          $16,915,625.00
Shopko Note Holding, LLC              -                   -                      -          $34,416,375.00   $34,416,375.00

            TOTAL              $400,000,000.00      $30,000,000.00         $49,055,312.50   $34,416,375.00   $513,471,687.50




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                              EXHIBIT E
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT


                                  Schedule 1.79

                            Existing Letters of Credit

                                  (see attached)




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                              EXHIBIT F
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT


                                 Schedule 8.16

                            Credit Card Agreements

                                 (see attached)




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                             SCHEDULE 1
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT


                            Store Closing GOB Sales

                                 (see attached)




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